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                                        CASE NO. 21-2051
                                      ____________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                   ____________________

             JUSTIN ADKINS; JUSTIN BLAKE; EDWIN GLOWACKI; ERIC
               JORDAN; KEVIN PALMER; DENNIS SARGENT; TRAVIS
           THORNSBERRY; MICHAEL WILLIAMS; JOHN BAKER; JAMES
           BLAIN; DEVERY BROWN; JAMES DEAL; JONATHAN JEFFERS;
        ROBERT MOSTELLER; MICHAEL L. POTTER; MICHAEL D. POTTER;
            JESSEE WALLACE; TIMOTHY WITT; JOHN BILLS; MICHAEL
        CLARK; RANDALL CRAYCRAFT; JOHN FRASURE; SAMMY MADDIX;
          JAMES STINNETT; TODD THAYER; MICHAEL CAMPBELL; TONY
            ABDON; THE ESTATE OF CHAD LITTLE; BRANDON ADKINS;
         JACQUELINE MARSHALL; HOMER MAYNARD; SCOTT MORRISON;
         JEREMY NAPIER; SHAWN PATTERSON; MATTHEW WOODS; JOHN
               CARPENTER; QUINCY CHRISTIAN; GREGORY HAMM;
          ETHAN MULLINS; MICHAEL OWENS; JONATHAN ROWE; DANNY
         STEWART; LLOYD WILLIAMS; DAVID MANIS; JOSHUA FERGUSON;
        ERIC SPEAKS; DONALD STEPHENS; JASON BARKER; CHAD DOWDY;
             JERRY FLOCKER; GROVER KELLEY; CHRISTOPHER CLAY
         STILTNER; DENNIS HUTCHINSON; JOSHUA HALL; ZACH POTTER;
          DEANNA LANHAM; SAMUEL PRESTON; BOBBY AKERS; GERALD
                                   BARBER,

                                              Plaintiffs – Appellants

                                                               v.

         CSX TRANSPORTATION, INCORPORATED; CRAIG S. HELIGMAN,
         M.D.; GUS THOELE; CURT SHOGREN; MILTON STORM; DELANDO
         JONES; TOM DEANGELO; SHAWN LUSK; ELIZABETH CREEDON;
                          KENNETH RAY EMERSON
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                                               Defendants – Appellees
                                     ____________________

                         Appeal from the United States District Court
                          for the Southern District of West Virginia
                                   ____________________

                                       JOINT APPENDIX
                                        VOLUME 1 OF 6
                                     ____________________


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                                                                                                 APPEAL,LC−A
                                   United States District Court
                          Southern District of West Virginia (Huntington)
                           CIVIL DOCKET FOR CASE #: 3:18−cv−00321

        Baker et al v. CSX Transportation, Inc. et al                  Date Filed: 02/15/2018
        Assigned to: Judge Robert C. Chambers                          Date Terminated: 08/23/2021
        Cause: 28:1331(a) Fed. Question: Real Property                 Jury Demand: Plaintiff
                                                                       Nature of Suit: 791 Labor: E.R.I.S.A.
                                                                       Jurisdiction: Federal Question
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        Plaintiff
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        Plaintiff
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        Plaintiff
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        Plaintiff
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        Plaintiff
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        Plaintiff
        James Blain                       represented by Charles Kiel Garella
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        Plaintiff
        Devery Brown                      represented by Charles Kiel Garella
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USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 13 of 536



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USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022      Pg: 15 of 536



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        Plaintiff
        Michael L. Potter                 represented by Charles Kiel Garella
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USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 16 of 536



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        Plaintiff
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        Plaintiff
        Jessee Wallace                    represented by Charles Kiel Garella
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                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Timothy Witt                      represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                                           USCA4    13
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                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Bobby Akers                       represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    14
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 19 of 536




                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Gerald Barber                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        John Bills                        represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                                           USCA4    15
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                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Michael Clark                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                                            USCA4   16
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                                                            ATTORNEY TO BE NOTICED

        Plaintiff
        Randall Craycraft                    represented by Charles Kiel Garella
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Gregory G. Paul
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Jeffrey R. Dingwall
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            John Patrick L. Stephens
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Kenneth R. Reed
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Mark F. Underwood
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

        Plaintiff
        John Frasure                         represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                              (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Gregory G. Paul
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Jeffrey R. Dingwall
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            PRO HAC VICE
                                                                               USCA4   17
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 22 of 536



                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Joshua Hall                       represented by Charles Kiel Garella
        TERMINATED: 03/24/2021                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
                                                                           USCA4    18
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        Sammy Maddix                      represented by Charles Kiel Garella
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Zack Potter                       represented by Charles Kiel Garella
        TERMINATED: 12/02/2020                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                                           USCA4    19
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                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        James Stinnett                    represented by Charles Kiel Garella
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Todd Thayer                       represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                                            USCA4   20
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                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Deanna Lanham                     represented by Charles Kiel Garella
        TERMINATED: 03/08/2021                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                                           USCA4    21
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 26 of 536



                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Michael Campbell                  represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Tony Abdon                        represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                                            USCA4   22
USCA4 Appeal: 21-2051      Doc: 32-1   Filed: 07/30/2022     Pg: 27 of 536



                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jeffrey R. Dingwall
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           John Patrick L. Stephens
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Kenneth R. Reed
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Mark F. Underwood
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

        Plaintiff
        The Estate of Chad Little           represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                             (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Gregory G. Paul
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jeffrey R. Dingwall
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           John Patrick L. Stephens
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Kenneth R. Reed
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                                             USCA4    23
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 28 of 536



                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Chad Little                       represented by Charles Kiel Garella
        TERMINATED: 01/13/2020                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Brandon Adkins                    represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                                           USCA4    24
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                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Jacqueline Marshall               represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    25
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        Plaintiff
        Homer Maynard                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Scott Morrison                    represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    26
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 31 of 536



                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Jeremy Napier                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Shawn Patterson                   represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                                           USCA4    27
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                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Matthew Woods                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    28
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        Plaintiff
        John Carpenter                    represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Quincy Christian                  represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    29
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                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Gregory Hamm                      represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Ethan Mullins                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                                            USCA4   30
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                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Michael Owens                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    31
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                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Jonathan Rowe                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Danny Stewart                     represented by Charles Kiel Garella
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                                           USCA4    32
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                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Lloyd Williams                    represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                                            USCA4   33
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                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        David Manis                       represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Joshua Ferguson                   represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4    34
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                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Eric Speaks                       represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                                            USCA4   35
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                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Donald Stephens                   represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Jason Barker                      represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                                            USCA4   36
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                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        John Patrick L. Stephens
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kenneth R. Reed
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Mark F. Underwood
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

        Plaintiff
        Chad Dowdy                       represented by Charles Kiel Garella
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Gregory G. Paul
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Jeffrey R. Dingwall
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        John Patrick L. Stephens
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Kenneth R. Reed
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Mark F. Underwood
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

        Plaintiff
                                                                          USCA4    37
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 42 of 536



        Jerry Flocker                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Grover Kelley                     represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                                           USCA4    38
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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Kenneth R. Reed
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Mark F. Underwood
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

        Plaintiff
        Christopher Clay Stiltner           represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                             (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Gregory G. Paul
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Jeffrey R. Dingwall
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           John Patrick L. Stephens
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Kenneth R. Reed
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Mark F. Underwood
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

        Plaintiff
        Clay Stiltner                       represented by Charles Kiel Garella
        TERMINATED: 01/13/2020                             (See above for address)
                                                           LEAD ATTORNEY
                                                           PRO HAC VICE
                                                                              USCA4   39
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 44 of 536



                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Mark F. Underwood
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Plaintiff
        Dennis Hutchinson                 represented by Charles Kiel Garella
        TERMINATED: 07/11/2022                           (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory G. Paul
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Jeffrey R. Dingwall
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         John Patrick L. Stephens
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Kenneth R. Reed
                                                                           USCA4    40
USCA4 Appeal: 21-2051      Doc: 32-1   Filed: 07/30/2022     Pg: 45 of 536



                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Mark F. Underwood
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


        V.
        Defendant
        CSX Transportation, Inc.            represented by Davis Michael Walsh
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                                                           804−775−7791
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                                                           Megan Basham Davis
                                                           NELSON MULLINS RILEY &
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                                                           949 Third Avenue
                                                                             USCA4       41
USCA4 Appeal: 21-2051    Doc: 32-1   Filed: 07/30/2022     Pg: 46 of 536



                                                         Huntington, WV 25701
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                                                         Email: nathan.hamons@nelsonmullins.com
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                                                         ATTORNEY TO BE NOTICED

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                                                         Anna Christina Majestro
                                                         NELSON MULLINS RILEY &
                                                         SCARBOROUGH
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                                                         Charlotte, NC 28202
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                                                         Fax: 704−377−4814
                                                         Email: anna.majestro@nelsonmullins.com
                                                         TERMINATED: 09/11/2019

                                                         Michael Drury Frazier
                                                         NELSON MULLINS RILEY &
                                                         SCARBOROUGH
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                                                         Huntington, WV 25719−1856
                                                         304−526−3517
                                                         Fax: 304−526−3599
                                                         Email: dru.frazier@frazierandoxley.com
                                                         TERMINATED: 09/11/2019

                                                         Thomas M. Hancock
                                                         BOWLES RICE
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                                                         304−526−3515
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                                                         TERMINATED: 09/11/2019

        Defendant
        CSX Corporation                   represented by Megan Basham Davis
        TERMINATED: 06/11/2020                           (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                                           USCA4        42
USCA4 Appeal: 21-2051       Doc: 32-1   Filed: 07/30/2022     Pg: 47 of 536



                                                            Melissa Foster Bird
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Anna Christina Majestro
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Michael Drury Frazier
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Thomas M. Hancock
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

        Defendant
        Craig S. Heligman                    represented by Megan Basham Davis
        M.D.                                                (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Melissa Foster Bird
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Anna Christina Majestro
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Michael Drury Frazier
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Thomas M. Hancock
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

        Defendant
        Gus Thoele                           represented by Megan Basham Davis
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Melissa Foster Bird
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                                              USCA4   43
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                                                        Anna Christina Majestro
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

                                                        Michael Drury Frazier
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

                                                        Thomas M. Hancock
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

        Defendant
        Curt Shogren                     represented by Megan Basham Davis
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Melissa Foster Bird
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Anna Christina Majestro
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

                                                        Michael Drury Frazier
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

                                                        Thomas M. Hancock
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

        Defendant
        Milton Storm                     represented by Megan Basham Davis
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Melissa Foster Bird
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Anna Christina Majestro
                                                        (See above for address)
                                                        TERMINATED: 09/11/2019

                                                        Michael Drury Frazier
                                                                          USCA4   44
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                                                         (See above for address)
                                                         TERMINATED: 09/11/2019

                                                         Thomas M. Hancock
                                                         (See above for address)
                                                         TERMINATED: 09/11/2019

        Defendant
        Dillon Doug Jones                 represented by Melissa Foster Bird
        TERMINATED: 09/21/2018                           (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

        Defendant
        Delando Jones                     represented by Megan Basham Davis
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Melissa Foster Bird
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Anna Christina Majestro
                                                         (See above for address)
                                                         TERMINATED: 09/11/2019

                                                         Michael Drury Frazier
                                                         (See above for address)
                                                         TERMINATED: 09/11/2019

                                                         Thomas M. Hancock
                                                         (See above for address)
                                                         TERMINATED: 09/11/2019

        Defendant
        Tom DeAngelo                      represented by Megan Basham Davis
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Melissa Foster Bird
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Anna Christina Majestro
                                                         (See above for address)
                                                         TERMINATED: 09/11/2019
                                                                           USCA4   45
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                                                            Michael Drury Frazier
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Thomas M. Hancock
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

        Defendant
        Shawn Lusk                           represented by Megan Basham Davis
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Melissa Foster Bird
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Anna Christina Majestro
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Michael Drury Frazier
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Thomas M. Hancock
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

        Defendant
        Elizabeth Creedon                    represented by Megan Basham Davis
        and                                                 (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Melissa Foster Bird
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Anna Christina Majestro
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Michael Drury Frazier
                                                            (See above for address)
                                                            TERMINATED: 09/11/2019

                                                            Thomas M. Hancock
                                                                              USCA4   46
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                                                                    (See above for address)
                                                                    TERMINATED: 09/11/2019

        Defendant
        Kenneth Ray Emerson                         represented by Megan Basham Davis
                                                                   (See above for address)
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                    Melissa Foster Bird
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Anna Christina Majestro
                                                                    (See above for address)
                                                                    TERMINATED: 09/11/2019

                                                                    Michael Drury Frazier
                                                                    (See above for address)
                                                                    TERMINATED: 09/11/2019

                                                                    Thomas M. Hancock
                                                                    (See above for address)
                                                                    TERMINATED: 09/11/2019


         Date Filed     #   Page Docket Text
         02/15/2018     1        COMPLAINT. Filing Fee $400.00. Receipt # 0425−6252343. (Attachment: #
                                 1 Civil Cover Sheet) (jsa) (Entered: 02/16/2018)
         02/15/2018              CASE assigned to Judge Robert C. Chambers. (klc) (Entered: 02/16/2018)
         02/16/2018     2        STANDING ORDER IN RE: ASSIGNMENT AND REFERRAL OF CIVIL
                                 ACTIONS AND MATTERS TO MAGISTRATE JUDGES ENTERED
                                 JANUARY 4, 2016. Discovery referred to Magistrate Judge Eifert. (cc: attys;
                                 any unrepresented party) (jsa)
         02/22/2018     3        STATEMENT OF VISITING ATTORNEY from C. Kiel Garella on behalf of
                                 Plaintiffs. Local counsel: Mark F. Underwood. Fee $50.00. Receipt #
                                 0425−6260989. (Underwood, Mark)
         02/22/2018     4        STATEMENT OF VISITING ATTORNEY from Jeff R. Dingwall on behalf
                                 of Plaintiffs. Local counsel: Mark F. Underwood. Fee $50.00. Receipt #
                                 0425−6261093. (Underwood, Mark)
         04/15/2018              IMPORTANT NOTICE: The United States District Court for the Southern
                                 District of West Virginia (WVSD) will be upgrading its current CM/ECF
                                 system to the Next Generation of CM/ECF (NextGen CM/ECF) on Monday,
                                 June 11, 2018. Complete information regarding the WVSD NextGen
                                 CM/ECF implementation can be found at h
                                 ttp://www.wvsd.uscourts.gov/nextgen−information. Currently, many attorneys
                                 within a firm may share a single PACER account. This will no longer be
                                                                                       USCA4        47
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                                 allowed with the new WVSD NextGen CM/ECF system because each attorney
                                 must have an individual upgraded PACER account that will be linked to their
                                 e−filing account. Shared PACER accounts cannot be used by WVSD e−filing
                                 attorneys once the WVSD NextGen CM/ECF system is implemented.
                                 Preparing for NextGen CM/ECF is a two−step process. Step one is to upgrade
                                 your PACER account, and step two is to link your upgraded PACER account
                                 to the WVSD e−filing account in the upgraded NextGen CM/ECF system.
                                 This notice only addresses the first step because the second step can't be
                                 completed until on or after June 11, 2018. The first step is to check and see if
                                 your PACER account is an "Upgraded" PACER account. Many PACER
                                 accounts have already been upgraded. If any of the following is true, you have
                                 an upgraded PACER account and no action is required until after the WVSD
                                 NextGen CM/ECF upgrade on June 11, 2018: 1) You have an upgraded
                                 PACER account for another NextGen court; or, 2) Your PACER account was
                                 created after August 10, 2014. If none of these are true, you must upgrade your
                                 legacy PACER account before you will be able to link your PACER account
                                 to your current WVSD CM/ECF account for your new NextGen CM/ECF
                                 account. Additional notices will be sent at a later date on how to handle the
                                 second step in this process. If you still have questions please contact the
                                 PACER Service Center at 800−676−6856 or the WVSD Clerk's Office
                                 CM/ECF Help Desk at (304)−347−3111. (mwk) (ADI)
         05/14/2018     5        SUMMONS SUBMITTED by Michael Williams, Chad Little, Bobby Akers,
                                 Sammy Maddix, Edwin Glowacki, Samuel Preston, Justin Adkins, Danny
                                 Stewart, Gerald Barber, Michael Clark, Travis Thornsberry, Quincy Christian,
                                 Donald Stephens, Michael Potter, Chad Dowdy, Grover Kelley, James
                                 Stinnett, John Frasure, Joshua Ferguson, Eric Speaks, Jason Barker, Gregory
                                 Hamm, Clay Stiltner, John Carpenter, Michael Campbell, David Manis, Zack
                                 Potter, Dennis Sargent, James Blain, Randall Craycraft, Dennis Hutchinson,
                                 John Bills, Ethan Mullins, Jerry Flocker, Joshua Hall, Kevin Palmer, Jonathan
                                 Jeffers, Matthew Woods, Robert Mosteller, John Baker, Jeremy Napier, Todd
                                 Thayer, Jessee Wallace for CSX Corporation, CSX Transportation, Inc.,
                                 Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S.
                                 Heligman, Dillon Doug Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus
                                 Thoele, re: 1 Complaint. (Attachments: # 1 Summons CSX Transportation, # 2
                                 Summons CSX Corp., # 3 Summons Heligman, # 4 Summons Thoele, # 5
                                 Summons Shogren, # 6 Summons Storm, # 7 Summons Jones, # 8 Summons
                                 Deangelo, # 9 Summons Lusk, # 10 Summons Creedon, # 11 Summons
                                 Emerson)(Paul, Gregory)
         05/16/2018     6        INCORRECT ENTRY; IMAGE REMOVED. (Modified on 5/17/2018 to
                                 remove amended complaint incorrectly filed as notice) (ts).
         05/16/2018     7        NOTICE OF LAWSUIT AND REQUEST FOR WAIVER OF SERVICE OF
                                 SUMMONS (Form 1A) by Michael Williams, Chad Little, Bobby Akers,
                                 Sammy Maddix, Edwin Glowacki, Samuel Preston, Justin Adkins, Danny
                                 Stewart, Gerald Barber, Michael Clark, Travis Thornsberry, Quincy Christian,
                                 Donald Stephens, Michael Potter, Chad Dowdy, Grover Kelley, James
                                 Stinnett, John Frasure, Joshua Ferguson, Eric Speaks, Jason Barker, Gregory
                                 Hamm, Clay Stiltner, John Carpenter, Michael Campbell, David Manis, Zack
                                 Potter, Dennis Sargent, James Blain, Randall Craycraft, Dennis Hutchinson,
                                 John Bills, Ethan Mullins, Jerry Flocker, Joshua Hall, Kevin Palmer, Jonathan
                                 Jeffers, Matthew Woods, Robert Mosteller, John Baker, Jeremy Napier, Todd
                                                                                         USCA4         48
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                                 Thayer, Jessee Wallace for All Defendants, with proposed Waiver of Service
                                 of Summons Form (Form 1B). (Paul, Gregory)
         05/16/2018     8        AMENDED COMPLAINT by Michael Williams, Chad Little, Bobby Akers,
                                 Sammy Maddix, Edwin Glowacki, Samuel Preston, Justin Adkins, Danny
                                 Stewart, Gerald Barber, Michael Clark, Travis Thornsberry, Quincy Christian,
                                 Donald Stephens, Michael Potter, Chad Dowdy, Grover Kelley, James
                                 Stinnett, John Frasure, Joshua Ferguson, Eric Speaks, Jason Barker, Gregory
                                 Hamm, Clay Stiltner, John Carpenter, Michael Campbell, David Manis, Zack
                                 Potter, Dennis Sargent, James Blain, Randall Craycraft, Dennis Hutchinson,
                                 John Bills, Ethan Mullins, Jerry Flocker, Joshua Hall, Kevin Palmer, Jonathan
                                 Jeffers, Matthew Woods, Robert Mosteller, John Baker, Jeremy Napier, Todd
                                 Thayer, Jessee Wallace against CSX Corporation, CSX Transportation, Inc.,
                                 Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S.
                                 Heligman, Dillon Doug Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus
                                 Thoele. (ts) (Entered: 05/17/2018)
         05/17/2018              NOTICE OF DOCKET CORRECTION re: #6 Notice of Amended Complaint.
                                 ERROR: Amended Complaint filed as notice. CORRECTION: Amended
                                 Complaint refiled using Amended Complaint event. (ts)
         05/17/2018              IMPORTANT NOTICE: The United States District Court for the Southern
                                 District of West Virginia (WVSD) will be upgrading its current CM/ECF
                                 system to the Next Generation of CM/ECF (NextGen CM/ECF) on Monday,
                                 June 11, 2018. Complete information regarding the WVSD NextGen
                                 CM/ECF implementation can be found at h
                                 ttp://www.wvsd.uscourts.gov/nextgen−information. Preparing for NextGen
                                 CM/ECF is a two−step process. Step one was to upgrade your PACER
                                 account. Each attorney should have their own individual upgraded PACER
                                 account at this time. Step two will be to link your upgraded PACER account to
                                 your WVSD e−filing account in the new NextGen CM/ECF system on or after
                                 June 11, 2018. Please log in to the WVSD CM/ECF system at http://ecf.wv
                                 sd.uscourts.gov before June 7, 2018 to make sure you know your current
                                 WVSD e−filing login and password. Do not rely on your username and
                                 password being saved in your web browser, because that method will not work
                                 with the NextGen upgrade. If you do not know your login or password or have
                                 any additional questions please call the WVSD Clerk's Office CM/ECF Help
                                 Desk at (304)−347−3111. (Kinder2, Mike) (ADI)
         06/07/2018              IMPORTANT NOTICE: The United States District Court for the Southern
                                 District of West Virginia (WVSD) will be upgrading its current CM/ECF
                                 system to the Next Generation of CM/ECF (NextGen CM/ECF) on Monday,
                                 June 11, 2018. The WVSD CM/ECF system will be unavailable from
                                 12:00pm (noon) on Friday, June 8, 2018 until 6:00am on Monday, June 11,
                                 2018. Preparing for NextGen CM/ECF is a two−step process. Step one was to
                                 upgrade your PACER account. Each attorney should have their own individual
                                 upgraded PACER account at this time. Step two will be to link your upgraded
                                 PACER account to your WVSD e−filing account in the new NextGen
                                 CM/ECF system on or after June 11, 2018. Instructions for linking your
                                 account can be found at http://www.wvsd.
                                 uscourts.gov/pdfs/NextGen/WVSD_Link_PACER_to_CM−ECF.pdf. If you
                                 have any additional questions please call the WVSD Clerk's Office CM/ECF
                                 Help Desk at (304)−347−3111. (mwk) (ADI)
                                                                                        USCA4        49
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         06/28/2018      9        PRAECIPE FOR SUMMONS by Michael Williams, Chad Little, Bobby
                                  Akers, Sammy Maddix, Edwin Glowacki, Samuel Preston, Justin Adkins,
                                  Danny Stewart, Gerald Barber, Michael Clark, Travis Thornsberry, Quincy
                                  Christian, Donald Stephens, Michael Potter, Chad Dowdy, Grover Kelley,
                                  James Stinnett, John Frasure, Joshua Ferguson, Eric Speaks, Jason Barker,
                                  Gregory Hamm, Clay Stiltner, John Carpenter, Michael Campbell, David
                                  Manis, Zack Potter, Dennis Sargent, James Blain, Randall Craycraft, Dennis
                                  Hutchinson, John Bills, Ethan Mullins, Jerry Flocker, Joshua Hall, Kevin
                                  Palmer, Jonathan Jeffers, Matthew Woods, Robert Mosteller, John Baker,
                                  Jeremy Napier, Todd Thayer, Jessee Wallace for All Defendants, re: 8
                                  Amended Complaint. (Attachments: # 1 Summons CSX Transportation, # 2
                                  Summons Corporation, # 3 Summons Heligman, # 4 Summons Those, # 5
                                  Summons Shogren, # 6 Summons Storm, # 7 Summons Jones, # 8 Summons
                                  Deangelo, # 9 Summons Lusk, # 10 Summons Creedon, # 11 Summons
                                  Emerson)(Paul, Gregory) (Modified on 6/29/2018 to remove link to #1
                                  complaint) (mkw).
         06/29/2018     10        ELECTRONIC SUMMONS ISSUED as to CSX Corporation, CSX
                                  Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                  Emerson, Craig S. Heligman, Dillon Doug Jones, Shawn Lusk, Curt Shogren,
                                  Milton Storm, Gus Thoele, re: 8 Amended Complaint. Summons returnable 21
                                  days. Instructions to Counsel: This is your electronic summons. Please print as
                                  many copies of the Summons and Complaint as are necessary to effectuate
                                  service under Fed. R. Civ. P. 4. See Proof of Service page of this Summons
                                  form for filing a return of service if required by Fed. R. Civ. P. 4(l).
                                  (Attachments: # 1 Summons for CSX Corporation, # 2 Summons for Elizabeth
                                  Creedon, # 3 Summons for Tom Deangelo, # 4 Summons for Kenneth
                                  Emerson, # 5 Summons for Craig Heligman, MD, # 6 Summons for Dillon
                                  Jones, # 7 Summons for Shawn Lusk, # 8 Summons for Curt Shogren, # 9
                                  Summons for Milton Storm, # 10 Summons for Gus Thoele) (hkl)
         07/05/2018     11        MOTION by CSX Corporation, CSX Transportation, Inc., Elizabeth Creedon,
                                  Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Dillon Doug
                                  Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele to Dismiss 1
                                  Complaint, 8 Amended Complaint for Failure to Timely Serve (Bird, Melissa)
         07/12/2018     12        MOTION by Plaintiffs for Leave to File Amended Complaint (Attachments: #
                                  1 Exhibit A − Second Amended Complaint, # 2 Proposed Order)(Dingwall,
                                  Jeffrey)
         07/17/2018     13        SUMMONS RETURNED EXECUTED by Personal Service for CSX
                                  Corporation. CSX Corporation served on 7/5/2018, answer due 7/26/2018.
                                  Summons served on Donna Moch, Senior Corporate Operations Manager, CT
                                  Corporation System. (Paul, Gregory)
         07/17/2018     14        SUMMONS RETURNED EXECUTED by Personal Service for CSX
                                  Transportation, Inc.. CSX Transportation, Inc. served on 7/5/2018, answer due
                                  7/26/2018. Summons served on Donna Moch, Senior Corporate Operations
                                  Manager, CT Corporation System. (Paul, Gregory)
         07/18/2018     15        RESPONSE by Plaintiffs in opposition to 11 MOTION by CSX Corporation,
                                  CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                  Emerson, Craig S. Heligman, Dillon Doug Jones, Shawn Lusk, Curt Shogren,
                                  Milton Storm, Gus Thoele to Dismiss 1 Complaint, 8 Amended Complaint
                                                                                          USCA4        50
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                                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Paul, Gregory)
         07/20/2018     16        REPLY by Plaintiffs to 15 Response In Opposition. (Bird, Melissa) (Modified
                                  on 7/20/2018 to remove link to #11 motion) (ts).
         08/16/2018     17        MEMORANDUM OPINION AND ORDER granting Plaintiffs' 12 Motion for
                                  Leave to File; denying Defendants' 11 Motion to Dismiss for Failure to Timely
                                  Serve; directing Plaintiffs to effect service upon any defendants who have not
                                  yet been served and to file proof of such service no later than 9/14/2018.
                                  Signed by Judge Robert C. Chambers on 8/16/2018. (cc: counsel of record;
                                  any unrepresented parties) (jsa) (Modified on 8/16/2018 to add link to #11
                                  motion) (mkw).
         08/16/2018     18        SECOND AMENDED COMPLAINT by Michael Williams, Chad Little,
                                  Sammy Maddix, Edwin Glowacki, Danny Stewart, Gerald Barber, Travis
                                  Thornsberry, Donald Stephens, John Frasure, Gregory Hamm, Clay Stiltner,
                                  Tony Abdon, John Carpenter, David Manis, Zack Potter, Jonathan Rowe,
                                  Randall Craycraft, John Bills, Ethan Mullins, Deanna Lanham, Shawn
                                  Patterson, Jerry Flocker, Joshua Hall, Kevin Palmer, Matthew Woods, Robert
                                  Mosteller, Jacqueline Marshall, Jessee Wallace, Lloyd Williams, Bobby
                                  Akers, Samuel Preston, James Deal, Justin Adkins, Timothy Witt, Justin
                                  Blake, Michael Clark, Quincy Christian, Devery Brown, Chad Dowdy, Eric
                                  Jordan, Grover Kelley, Homer Maynard, James Stinnett, Joshua Ferguson,
                                  Eric Speaks, Jason Barker, Michael Campbell, James Blain, Dennis Sargent,
                                  Dennis Hutchinson, Michael Owens, Jonathan Jeffers, John Baker, Brandon
                                  Adkins, Jeremy Napier, Todd Thayer, Michael L. Potter, Michael D. Potter
                                  against CSX Corporation, CSX Transportation, Inc., Elizabeth Creedon, Tom
                                  DeAngelo, Kenneth Ray Emerson, Shawn Lusk, Craig S. Heligman, Dillon
                                  Doug Jones, Curt Shogren, Milton Storm, Gus Thoele. (jsa) (Modified on
                                  9/28/2018 to remove party filer) (mkw).
         08/30/2018     19        MOTION by CSX Corporation to Dismiss With Prejudice re: 18 Second
                                  Amended Complaint. (Attachments: # 1 Exhibit A, # 2 Civil Cover
                                  Sheet)(Bird, Melissa)
         08/30/2018     20        MEMORANDUM by CSX Corporation in support of 19 MOTION by CSX
                                  Corporation to Dismiss With Prejudice re: 18 Second Amended Complaint
                                  (Bird, Melissa)
         08/30/2018     21        DISCLOSURE STATEMENT PURSUANT TO RULE 7.1, Federal Rules of
                                  Civil Procedure, by Defendant CSX Corporation (Bird, Melissa)
         08/30/2018     22        ANSWER TO 18 Second Amended Complaint by CSX Transportation, Inc.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         08/30/2018     23        DISCLOSURE STATEMENT PURSUANT TO RULE 7.1, Federal Rules of
                                  Civil Procedure, by Defendant CSX Transportation, Inc. (Bird, Melissa)
         09/13/2018     24        NOTICE OF LAWSUIT AND REQUEST FOR WAIVER OF SERVICE OF
                                  SUMMONS (Form 1A) by Michael Williams, Chad Little, Sammy Maddix,
                                  Edwin Glowacki, Danny Stewart, Gerald Barber, Travis Thornsberry, Donald
                                  Stephens, Michael Potter, Michael L. Potter, John Frasure, Gregory Hamm,
                                  Clay Stiltner, Tony Abdon, John Carpenter, David Manis, Zack Potter,
                                  Jonathan Rowe, Randall Craycraft, John Bills, Ethan Mullins, Deanna
                                  Lanham, Shawn Patterson, Jerry Flocker, Joshua Hall, Kevin Palmer, Matthew
                                                                                         USCA4        51
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                                  Woods, Robert Mosteller, Michael D. Potter, Jacqueline Marshall, Jessee
                                  Wallace, Lloyd Williams, Bobby Akers, Scott Morrison, Samuel Preston,
                                  James Deal, Justin Adkins, Timothy Witt, Justin Blake, Michael Clark, Quincy
                                  Christian, Devery Brown, Chad Dowdy, Eric Jordan, Grover Kelley, Homer
                                  Maynard, James Stinnett, Joshua Ferguson, Eric Speaks, Jason Barker,
                                  Michael Campbell, James Blain, Dennis Sargent, Dennis Hutchinson, Michael
                                  Owens, Jonathan Jeffers, John Baker, Brandon Adkins, Jeremy Napier, Todd
                                  Thayer for Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig
                                  S. Heligman, Dillon Doug Jones, Shawn Lusk, Curt Shogren, Milton Storm,
                                  Gus Thoele, with proposed WAIVER OF SERVICE OF SUMMONS FORM
                                  (Form 1B). (Paul, Gregory)
         09/13/2018     25        RESPONSE by Plaintiffs in opposition to 19 MOTION by CSX Corporation
                                  to Dismiss With Prejudice re: 18 Second Amended Complaint (Attachments: #
                                  1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Paul, Gregory)
         09/20/2018     26        UNOPPOSED MOTION by Plaintiffs to Amend the Caption (Attachment: # #
                                  2 Proposed Order)(Paul, Gregory) (Modified on 9/21/2018 to remove
                                  attachment #1, memorandum of law, and refile as entry #29)(ts).
         09/20/2018     27        REPLY MEMORANDUM by CSX Corporation to 19 MOTION by CSX
                                  Corporation to Dismiss With Prejudice re: 18 Second Amended Complaint.
                                  (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Bird, Melissa)
         09/20/2018     29        MEMORANDUM OF LAW in support of 26 UNOPPOSED MOTION by
                                  Plaintiffs to Amend the Caption. (ts) (Entered: 09/21/2018)
         09/21/2018     28        ORDER granting Plaintiffs' 26 MOTION to Amend the Caption; directing that
                                  Delando Jones shall be named as a proper Defendant in this action. Signed by
                                  Judge Robert C. Chambers on 9/21/2018. (cc: counsel of record; any
                                  unrepresented parties) (jsa)
         09/21/2018               NOTICE OF DOCKET CORRECTION re: 26 Unopposed Motion by
                                  Plaintiffs to Amend the Caption. ERROR: Memorandum of Law attached to
                                  motion. CORRECTION: Memorandum of Law removed and refiled
                                  separately. (ts)
         09/28/2018     30        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Elizabeth Creedon waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     31        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Tom DeAngelo waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     32        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Kenneth Ray Emerson waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     33        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Craig S. Heligman waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     34        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Delando Jones waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
                                                                                        USCA4        52
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         09/28/2018     35        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Curt Shogren waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     36        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Milton Storm waiver mailed on 8/30/2018, answer due
                                  10/29/2018. (Bird, Melissa)
         09/28/2018     37        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Gus Thoele waiver mailed on 8/30/2018, answer due 10/29/2018.
                                  (Bird, Melissa)
         09/28/2018     38        WAIVER OF SERVICE EXECUTED. Waiver signed by Melissa Foster Bird
                                  on 9/28/18. Shawn Lusk waiver mailed on 8/30/2018, answer due 10/29/2018.
                                  (Bird, Melissa) (Modified on 9/28/2018 to add answer deadline) (mkw).
         10/29/2018     39        ANSWER TO 18 Second Amended Complaint by Craig S. Heligman.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     40        ANSWER TO 18 Second Amended Complaint by Curt Shogren (Attachment:
                                  # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     41        ANSWER TO 18 Second Amended Complaint by Gus Thoele. (Attachment: #
                                  1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     42        ANSWER TO 18 Second Amended Complaint by Milton Storm. (Attachment:
                                  # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     43        ANSWER TO 18 Second Amended Complaint by Delando Jones.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     44        ANSWER TO 18 Second Amended Complaint by Tom DeAngelo.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     45        ANSWER TO 18 Second Amended Complaint by Shawn Lusk. (Attachment:
                                  # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     46        ANSWER TO 18 Second Amended Complaint by Elizabeth Creedon.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         10/29/2018     47        ANSWER TO 18 Second Amended Complaint by Kenneth Ray Emerson.
                                  (Attachment: # 1 Civil Cover Sheet)(Bird, Melissa)
         07/30/2019     48        MEMORANDUM OPINION AND ORDER denying Defendant CSX
                                  Corporation's 19 MOTION to Dismiss. Signed by Judge Robert C. Chambers
                                  on 7/30/2019. (cc: counsel of record; any unrepresented parties) (hkl)
         08/05/2019     49        ORDER AND NOTICE: Rule 26(f) Meeting 8/26/2019. Last day to file report
                                  of Rule 26(f) Meeting 9/3/2019. Scheduling/status Conference at 11:30 AM on
                                  9/9/2019 in Huntington. Entry of Scheduling Order 9/16/2019. Last Day to
                                  make Rule 26(a)(1) disclosures 9/23/2019. Signed by Judge Robert C.
                                  Chambers on 8/5/2019. (cc: counsel of record; any unrepresented parties) (jsa)
         08/13/2019     50        ANSWER TO 18 Second Amended Complaint by CSX Corporation.(Bird,
                                  Melissa)
         09/03/2019     51
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                                  RULE 26(f) REPORT OF PLANNING MEETING by Plaintiffs and
                                  Defendants. (Bird, Melissa) (Modified on 9/4/2019 to add party filers) (ts).
         09/06/2019     52        ORDER canceling the 9/9/2019 Scheduling Conference. Signed by Judge
                                  Robert C. Chambers on 9/6/2019. (cc: counsel of record; any unrepresented
                                  parties) (hkl)
         09/10/2019     53        SCHEDULING ORDER: Joinder of Parties, amended pleadings due by
                                  12/6/2019. Discovery requests to be completed by 10/9/2020 and all
                                  depositions by 11/23/2020. Plaintiffs' merits discovery as to CSX Corporation
                                  for a 120−day period ending on 1/8/2020. After 1/8/2020, Plaintiffs may begin
                                  merits discovery as to CSX Corporation. Expert Witness List by parties
                                  bearing the burden of proof due by 9/24/2020, by party not bearing burden of
                                  proof due by 10/23/2020, and to solely contradict or rebut evidence due by
                                  11/9/2020. Dispositive Motions except those filed under Rule 12(b) due by
                                  12/14/2020, any response shall be filed within 14 days of the filing of the
                                  motion, with replies due within 7 days of the filing of the response. Settlement
                                  Meeting and Rule 26(a)(3) disclosures by 3/1/2021. Plaintiffs' portion of
                                  proposed Pretrial Order to defendants due by 3/8/2021, Proposed Integrated
                                  Pretrial Order due by 3/15/2021. Pretrial Conference set for 3/22/2021 at 10:00
                                  AM in Huntington before Judge Robert C. Chambers. Proposed Jury Charges
                                  due by 3/30/2021. Final Settlement Conference at 9:30 AM on 4/5/2021 in
                                  Huntington. Trial set for 4/6/2021 at 8:30 AM in Huntington before Judge
                                  Robert C. Chambers. Status Conference at 11:00 AM on 3/9/2020 in
                                  Huntington; all lead counsel must attend in person. Signed by Judge Robert C.
                                  Chambers on 9/10/2019. (cc: counsel of record; any unrepresented parties)
                                  (hkl)
         09/11/2019     54        NOTICE OF WITHDRAWAL of Thomas Hancock, Michael Frazier and
                                  Anna Majestro as Counsel by CSX Corporation, CSX Transportation, Inc.,
                                  Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S.
                                  Heligman, Delando Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus
                                  Thoele (Bird, Melissa)
         09/23/2019     55        CERTIFICATE OF SERVICE by Delando Jones for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     56        CERTIFICATE OF SERVICE by Milton Storm for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     57        CERTIFICATE OF SERVICE by Tom DeAngelo for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     58        CERTIFICATE OF SERVICE by Kenneth Ray Emerson for Rule 26(a)(1)
                                  Initial Disclosures. (Bird, Melissa)
         09/23/2019     59        CERTIFICATE OF SERVICE by Elizabeth Creedon for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     60        CERTIFICATE OF SERVICE by Shawn Lusk for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     61        CERTIFICATE OF SERVICE by Curt Shogren for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     62
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                                  CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Rule 26(a)(1)
                                  Initial Disclosures. (Bird, Melissa)
         09/23/2019     63        CERTIFICATE OF SERVICE by Craig S. Heligman for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     64        CERTIFICATE OF SERVICE by Gus Thoele for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/23/2019     65        CERTIFICATE OF SERVICE by CSX Corporation for Rule 26(a)(1) Initial
                                  Disclosures. (Bird, Melissa)
         09/30/2019     66        CERTIFICATE OF SERVICE by Plaintiffs for Rule 26(a)(1) Initial
                                  Disclosures. (Dingwall, Jeffrey)
         11/27/2019     67        CERTIFICATE/NOTICE OF SERVICE by Plaintiffs for Interrogatories and
                                  Requests for Production of Documents. (Paul, Gregory)
         11/27/2019     68        CERTIFICATE/NOTICE OF SERVICE by Plaintiffs for Requests for
                                  Admissions. (Paul, Gregory)
         11/27/2019     69        CERTIFICATE/NOTICE OF SERVICE by Plaintiffs for Notice of 30(b)(6)
                                  Deposition and Request for Production of Documents. (Paul, Gregory)
         12/06/2019     70        MOTION by Plaintiffs for Leave to File Third Amended Complaint with
                                  proposed document attached (Attachments: # 1 Exhibit 1: Third Amended
                                  Complaint, # 2 Proposed Order)(Paul, Gregory)
         12/08/2019     71        MOTION by CSX Corporation, CSX Transportation, Inc., Elizabeth Creedon,
                                  Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                  Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele for Protective Order
                                  (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Bird, Melissa)
         12/08/2019               MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 71 MOTION by
                                  CSX Corporation, CSX Transportation, Inc., Elizabeth Creedon, Tom
                                  DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                  Lusk, Curt Shogren, Milton Storm, Gus Thoele for Protective Order. (ts)
                                  (Entered: 12/09/2019)
         12/10/2019     72        ORDER directing that Plaintiffs shall file their response to Defendants' 71
                                  MOTION for Protective Order by 12/13/2019; Defendants' reply due by
                                  12/17/2019; Telephonic Motion Hearing set for 12/19/2019 at 3:00 PM in
                                  Huntington before Magistrate Judge Cheryl A. Eifert. Signed by Magistrate
                                  Judge Cheryl A. Eifert on 12/10/2019. (cc: counsel of record; any
                                  unrepresented parties) (jsa)
         12/13/2019     73        RESPONSE by Plaintiffs in opposition to 71 MOTION by CSX Corporation,
                                  CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                  Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt Shogren,
                                  Milton Storm, Gus Thoele for Protective Order (Attachments: # 1 Declaration
                                  of Jeff R. Dingwall, # 2 Exhibit A−Notice of Deposition, # 3 Exhibit B−CSX
                                  Corporation Initial Disclosures)(Dingwall, Jeffrey) (Modified on 12/15/2019
                                  to remove terminated party filers) (ts).
         12/17/2019     74        REPLY by CSX Corporation, CSX Transportation, Inc., Elizabeth Creedon,
                                  Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                                                                         USCA4        55
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                                  Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele to 73 Response in
                                  Opposition. (Bird, Melissa) (Modified on 12/17/2019 to correct link to #73
                                  response in opposition) (ts).
         12/19/2019     75        TELEPHONIC MOTION HEARING held by Magistrate Judge Cheryl A.
                                  Eifert on 12/19/2019 re: 71 MOTION by CSX Corporation, CSX
                                  Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                  Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt Shogren,
                                  Milton Storm, Gus Thoele for Protective Order. Court Reporter: CourtSmart.
                                  (mkw)
         12/20/2019     76        RESPONSE by CSX Corporation, CSX Transportation, Inc., Elizabeth
                                  Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando
                                  Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in opposition to
                                  70 MOTION by Plaintiffs for Leave to File Third Amended Complaint (Bird,
                                  Melissa)
         12/23/2019     77        ORDER granting in part and denying in part Defendants' 71 MOTION for
                                  Protective Order; directing Defendant to provide Plaintiff with documents,
                                  either requested in discovery or identified in disclosures, which are relevant to
                                  the areas of inquiry set forth in the Notice of Rule 30(b)(6) Deposition no later
                                  than Monday, 12/23/2019, as more fully set forth herein. Signed by Magistrate
                                  Judge Cheryl A. Eifert on 12/23/2019. (cc: counsel of record) (jsa)
         12/27/2019     78        CERTIFICATE OF SERVICE by Elizabeth Creedon for Answers and
                                  Responses to Plaintiffs' First Set of Interrogatories and Requests for
                                  Production of Documents. (Bird, Melissa)
         12/27/2019     79        CERTIFICATE OF SERVICE by Tom DeAngelo for Answers and Responses
                                  to Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     80        CERTIFICATE OF SERVICE by Craig S. Heligman for Answers and
                                  Responses to Plaintiffs' First Set of Interrogatories and Requests for
                                  Production of Documents. (Bird, Melissa)
         12/27/2019     81        CERTIFICATE OF SERVICE by Tom DeAngelo for Answers and Responses
                                  to Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     82        CERTIFICATE OF SERVICE by Gus Thoele for Answers and Responses to
                                  Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     83        CERTIFICATE OF SERVICE by Curt Shogren for Answers and Responses to
                                  Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     84        CERTIFICATE OF SERVICE by Milton Storm for Answers and Responses to
                                  Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     85        CERTIFICATE OF SERVICE by Shawn Lusk for Answers and Responses to
                                  Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
                                                                                           USCA4         56
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         12/27/2019     86        CERTIFICATE OF SERVICE by Delando Jones for Answers and Responses
                                  to Plaintiffs' First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         12/27/2019     87        CERTIFICATE OF SERVICE by Kenneth Ray Emerson for Answers and
                                  Responses to Plaintiffs' First Set of Interrogatories and Requests for
                                  Production of Documents. (Bird, Melissa)
         12/27/2019     88        CERTIFICATE OF SERVICE by CSX Corporation for Answers and
                                  Responses to Plaintiffs' First Set of Interrogatories and Requests for
                                  Production of Documents. (Bird, Melissa)
         12/27/2019     89        CERTIFICATE OF SERVICE by CSX Corporation for Responses to
                                  Plaintiffs' Requests for Admissions. (Bird, Melissa)
         12/27/2019     90        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Answers and
                                  Responses to Plaintiffs' First Set of Interrogatories and Requests for
                                  Production of Documents. (Bird, Melissa)
         01/07/2020     91        TELEPHONE CONFERENCE held by Magistrate Judge Cheryl A. Eifert on
                                  1/7/2020; Court Reporter: CourtSmart. (hkl)
         01/13/2020     92        MEMORANDUM OPINION AND ORDER granting Plaintiffs' 70 MOTION
                                  for Leave to File Third Amended Complaint, per the conditions set forth in
                                  this Order. Signed by Judge Robert C. Chambers on 1/13/2020. (cc: counsel of
                                  record; any unrepresented parties) (jsa)
         01/13/2020     93        THIRD AMENDED COMPLAINT by Michael Williams, Sammy Maddix,
                                  Edwin Glowacki, Danny Stewart, Gerald Barber, Travis Thornsberry, Donald
                                  Stephens, Michael L. Potter, John Frasure, Gregory Hamm, Tony Abdon, John
                                  Carpenter, David Manis, Zack Potter, Jonathan Rowe, Randall Craycraft, John
                                  Bills, Ethan Mullins, Deanna Lanham, Shawn Patterson, Jerry Flocker, Joshua
                                  Hall, Kevin Palmer, Matthew Woods, Robert Mosteller, Michael D. Potter,
                                  Jacqueline Marshall, Jessee Wallace, Lloyd Williams, Bobby Akers, Scott
                                  Morrison, Samuel Preston, James Deal, Justin Adkins, Timothy Witt, Justin
                                  Blake, Michael Clark, Quincy Christian, Devery Brown, Chad Dowdy, Eric
                                  Jordan, Grover Kelley, Homer Maynard, James Stinnett, Joshua Ferguson,
                                  Eric Speaks, Jason Barker, Michael Campbell, James Blain, Dennis Sargent,
                                  Dennis Hutchinson, Michael Owens, Jonathan Jeffers, John Baker, Brandon
                                  Adkins, Jeremy Napier, Todd Thayer, The Estate of Chad Little, Christopher
                                  Clay Stiltner against CSX Corporation, CSX Transportation, Inc., Elizabeth
                                  Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando
                                  Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele. (jsa)
         01/27/2020     94        CONSOLIDATED ANSWER TO 93 Third Amended Complaint by CSX
                                  Corporation, CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                  Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                  Shogren, Milton Storm, Gus Thoele.(Bird, Melissa)
         03/09/2020     95        ORDER directing a second Status Conference to be held on 5/5/2020 at 1:30
                                  PM in Huntington before Judge Robert C. Chambers. Signed by Judge Robert
                                  C. Chambers on 3/9/2020. (cc: counsel of record; any unrepresented parties)
                                  (hkl)
         03/09/2020     96
                                                                                          USCA4            57
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                                  STATUS CONFERENCE held by Judge Robert C. Chambers on 3/9/2020;
                                  Court Reporter: Kathy Swinhart. (trj)
         03/24/2020     97        ORDER pursuant to the COVID−19 pandemic, the Status Conference
                                  currently set in this matter for 5/5/2020 at 1:30 p.m., will be conducted
                                  telephonically; the Court will contact the parties at a later date with conference
                                  call instructions. Signed by Judge Robert C. Chambers on 3/24/2020. (cc:
                                  attys; any unrepresented parties) (mkw)
         04/01/2020     98        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents. (Bird, Melissa)
         04/01/2020     99        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Adkins B −
                                  CSXT's First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         04/01/2020   100         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Adkins J −
                                  CSXT's First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         04/01/2020   101         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Akers B −
                                  CSXT's First Set of Interrogatories and Requests for Production of
                                  Documents. (Bird, Melissa)
         04/01/2020   102         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSXT's First
                                  Set of Interrogatories and Requests for Production of Documents to Plaintiff
                                  John Baker. (Bird, Melissa)
         04/01/2020   103         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff Gerald
                                  Barber. (Bird, Melissa)
         04/01/2020   104         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff Jason
                                  Barker. (Bird, Melissa)
         04/01/2020   105         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff John
                                  Bills. (Bird, Melissa)
         04/01/2020   106         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff James
                                  Blain. (Bird, Melissa)
         04/01/2020   107         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff Justin
                                  Blake. (Bird, Melissa)
         04/01/2020   108         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff Devery
                                  Brown. (Bird, Melissa)
         04/01/2020   109         CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                  Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                  Campbell. (Bird, Melissa)
         04/01/2020   110
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                                 CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff John
                                 Carpenter. (Bird, Melissa)
         04/01/2020   111        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Quincy
                                 Christian. (Bird, Melissa)
         04/01/2020   112        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                 Clark. (Bird, Melissa)
         04/01/2020   113        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Randall
                                 Craycraft. (Bird, Melissa)
         04/01/2020   114        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff James
                                 Deal. (Bird, Melissa)
         04/01/2020   115        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Chad
                                 Dowdy. (Bird, Melissa)
         04/01/2020   116        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Joshua
                                 Ferguson. (Bird, Melissa)
         04/01/2020   117        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Jerry
                                 Flocker. (Bird, Melissa)
         04/01/2020   118        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff John
                                 Frasure. (Bird, Melissa)
         04/01/2020   119        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Edwin
                                 Glowacki. (Bird, Melissa)
         04/01/2020   120        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Joshua
                                 Hall. (Bird, Melissa)
         04/01/2020   121        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Gregory
                                 Hamm. (Bird, Melissa)
         04/01/2020   122        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Dennis
                                 Hutchinson. (Bird, Melissa)
         04/01/2020   123        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff
                                 Jonathan Jeffers. (Bird, Melissa)
         04/01/2020   124
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                                 CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Eric
                                 Jordan. (Bird, Melissa)
         04/01/2020   125        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Grover
                                 Kelley. (Bird, Melissa)
         04/01/2020   126        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Deanna
                                 Lanham. (Bird, Melissa)
         04/01/2020   127        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Estate
                                 of Chad Little. (Bird, Melissa)
         04/01/2020   128        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Sammy
                                 Maddix. (Bird, Melissa)
         04/01/2020   129        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff David
                                 Manis. (Bird, Melissa)
         04/01/2020   130        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff
                                 Jacqueline Marshall. (Bird, Melissa)
         04/01/2020   131        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Homer
                                 Maynard. (Bird, Melissa)
         04/01/2020   132        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Scott
                                 Morrison. (Bird, Melissa)
         04/01/2020   133        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Robert
                                 Mosteller. (Bird, Melissa)
         04/01/2020   134        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Ethan
                                 Mullins. (Bird, Melissa)
         04/01/2020   135        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Jeremy
                                 Napier. (Bird, Melissa)
         04/01/2020   136        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                 Owens. (Bird, Melissa)
         04/01/2020   137        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Kevin
                                 Palmer. (Bird, Melissa)
         04/01/2020   138
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                                 CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Shawn
                                 Patterson. (Bird, Melissa)
         04/01/2020   139        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                 D. Potter. (Bird, Melissa)
         04/01/2020   140        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                 L. Potter. (Bird, Melissa)
         04/01/2020   141        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Zack
                                 Potter. (Bird, Melissa)
         04/01/2020   142        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Samuel
                                 Preston. (Bird, Melissa)
         04/01/2020   143        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff
                                 Jonathan Rowe. (Bird, Melissa)
         04/01/2020   144        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Dennis
                                 Sargent. (Bird, Melissa)
         04/01/2020   145        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Eric
                                 Speaks. (Bird, Melissa)
         04/01/2020   146        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Donald
                                 Stephens. (Bird, Melissa)
         04/01/2020   147        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Danny
                                 Stewart. (Bird, Melissa)
         04/01/2020   148        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff
                                 Christopher Clay Stiltner. (Bird, Melissa)
         04/01/2020   149        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff James
                                 Stinnett. (Bird, Melissa)
         04/01/2020   150        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Todd
                                 Thayer. (Bird, Melissa)
         04/01/2020   151        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Travis
                                 Thornsberry. (Bird, Melissa)
         04/01/2020   152
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                                 CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Jesse
                                 Wallace. (Bird, Melissa)
         04/01/2020   153        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Lloyd
                                 Williams. (Bird, Melissa)
         04/01/2020   154        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Michael
                                 D. Williams. (Bird, Melissa)
         04/01/2020   155        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff Timothy
                                 Witt. (Bird, Melissa)
         04/01/2020   156        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for First Set of
                                 Interrogatories and Requests for Production of Documents to Plaintiff
                                 Matthew Woods. (Bird, Melissa)
         04/29/2020   157        ORDER directing the parties to submit an agenda for the 5/5/2020 telephonic
                                 status conference no later than 12:00 p.m. on 5/4/2020, by emailing the same
                                 to terry_justice@wvsd.uscourts.gov. Signed by Judge Robert C. Chambers on
                                 4/29/2020. (cc: counsel of record; any unrepresented parties) (jsa)
         05/04/2020   158        RENEWED MOTION by CSX Corporation to Dismiss Without Prejudice re:
                                 19 MOTION to Dismiss With Prejudice re: 18 Second Amended Complaint
                                 (Attachments: # 1 Exhibit A Part 1 − Austin Sup. Declaration, # 2 Exhibit A
                                 Part 2 − Austin Sup. Declaration, # 3 Exhibit A Part 3 − Austin Sup.
                                 Declaration, # 4 Exhibit A Part 4 − Austin Sup. Declaration, # 5 Exhibit A
                                 Part 5 − Austin Sup. Declaration, # 6 Exhibit B − A. Williams Deposition
                                 Transcript Excerpts and Errata Sheet, # 7 Exhibit C − A. Williams
                                 Declaration, # 8 Exhibit D − Stephanie Noel Declaration)(Bird, Melissa)
                                 (Modified on 5/5/2020 to remove link to #20 memorandum) (ts).
         05/04/2020   159        MEMORANDUM OF LAW by CSX Corporation in support of 158
                                 RENEWED MOTION by CSX Corporation to Dismiss Without Prejudice re:
                                 19 MOTION to Dismiss With Prejudice re: 18 Second Amended Complaint.
                                 (Bird, Melissa)
         05/04/2020   160        UNOPPOSED MOTION by CSX Corporation to file Under Seal and
                                 Incorporated Memorandum of Law (Attachments: # 1 Exhibit B, # 2 Exhibit
                                 C, # 3 Exhibit D, # 4 Exhibit 5)(Bird, Melissa) (Modified on 5/5/2020 to
                                 convert to a motion to file under seal) (ts).
         05/05/2020   161        TELEPHONIC STATUS CONFERENCE held by Judge Robert C. Chambers
                                 on 5/5/2020; Court Reporter: Kathy Swinhart. (trj)
         05/05/2020   162        ORDER granting the 160 UNOPPOSED MOTION by CSX Corporation to
                                 file Under Seal and directing that the designated exhibits be filed under seal;
                                 scheduling a Status Conference for 6/17/2020 at 9:30 AM in Huntington
                                 before Judge Robert C. Chambers; the parties will submit a joint letter
                                 addressing the conference agenda at least seven days prior to the conference.
                                 Signed by Judge Robert C. Chambers on 5/5/2020. (cc: counsel of record; any
                                 unrepresented parties) (jsa)
                                                                                         USCA4         62
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         05/05/2020   163        SEALED EXHIBITS filed by CSX Corporation in support of their 158
                                 RENEWED MOTION to Dismiss 18 Second Amended Complaint; filed under
                                 seal pursuant to the 162 Order. (Attachments: # 1 Exhibit C, # 2 Exhibit D, # 3
                                 Exhibit 5) (jsa)
         05/18/2020   164        SEALED MATERIALS filed by Plaintiffs pursuant to Court Order:
                                 Opposition to Renewed Motion to Dismiss (Attachments: # 1 Exhibit A, # 2
                                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Paul, Gregory)
         05/26/2020   165        SEALED MATERIALS filed by CSX Corporation pursuant to Court Order:
                                 Reply in Support of CSXC's Renewed Motion to Dismiss (Bird, Melissa)
         06/11/2020   166        MEMORANDUM OPINION AND ORDER granting CSX Corporation's 158
                                 RENEWED MOTION to Dismiss for Lack of Personal Jurisdiction;
                                 dismissing CSX Corporation as a party to this suit. Signed by Judge Robert C.
                                 Chambers on 6/11/2020. (cc: counsel of record; any unrepresented parties)
                                 (hkl)
         06/17/2020   167        ORDER directing the plaintiffs to answer the defendants' written discovery
                                 requests with any responsive materials they currently have by 6/19/2020; the
                                 plaintiffs will then submit the rest of their responses to the defendants' written
                                 discovery requests by 6/26/2020; the defendants will send any supplemental
                                 discovery responses to the plaintiffs by 6/30/2020; scheduling another status
                                 conference for 9/14/2020 at 9:30 AM in Huntington before Judge Robert C.
                                 Chambers; whether this conference will be in−person or telephonic will be
                                 decided at a later date based on the parties' proposed agenda. Signed by Judge
                                 Robert C. Chambers on 6/17/2020. (cc: counsel of record; any unrepresented
                                 parties) (jsa)
         06/17/2020   168        TELEPHONIC STATUS CONFERENCE held by Judge Robert C. Chambers
                                 on 6/17/2020; Court Reporter: not reported. (trj)
         06/23/2020   169        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Dillon Doug Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele for Entry of Protective
                                 Order. (Attachments: # 1 Exhibit 1 − 26f Report of Parties' Meeting, # 2
                                 Exhibit 2 − Protective Order)(Bird, Melissa)
         06/23/2020              MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 169 MOTION
                                 by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth
                                 Ray Emerson, Craig S. Heligman, Delando Jones, Dillon Doug Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele for Entry of Protective Order.
                                 (mkw) (Entered: 06/24/2020)
         06/30/2020   170        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Privilege and
                                 Redaction Log and Supplemental Answers and Responses to Plaintiffs' First
                                 Set of Interrogatories and Requests for Production of Documents (Bird,
                                 Melissa)
         07/07/2020   171        PROTECTIVE ORDER setting forth the terms for the handling of confidential
                                 documents. Signed by Magistrate Judge Cheryl A. Eifert on 7/7/2020. (cc:
                                 counsel of record; any unrepresented party) (jsa)
         07/17/2020   172        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Brandon Adkins
                                 on July 31, 2020 at 9:00 a.m. (Bird, Melissa)
                                                                                            USCA4         63
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         07/17/2020   173        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Justin Adkins on
                                 July 27, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   174        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jason Barker on
                                 July 31, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   175        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Justin Blake on
                                 July 27, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   176        NOTICE OF DEPOSITION by CSX Transportation, Inc. of John Carpenter on
                                 July 27, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   177        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Quincy Christian
                                 on July 27, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   178        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Chad Dowdy on
                                 July 31, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   179        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Edwin Glowacki
                                 on July 28, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   180        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Gregory Hamm
                                 on July 28, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   181        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Eric Jordan on
                                 July 28, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   182        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Ethan Mullins on
                                 July 28, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   183        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael Owens
                                 on July 29, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   184        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Kevin Palmer on
                                 July 29, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   185        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Samuel Preston
                                 on July 29, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   186        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jonathan Rowe on
                                 July 29, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   187        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Dennis Sargent on
                                 July 30, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   188        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Danny Stewart on
                                 July 30, 2020 at 9:00 a.m. (Bird, Melissa)
         07/17/2020   189        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Travis
                                 Thornsberry on July 30, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   190        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Lloyd Williams
                                 on July 30, 2020 at 2:00 p.m. (Bird, Melissa)
         07/17/2020   191        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael Williams
                                 on July 31, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   192        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Tony Abdon on
                                                                                   USCA4      64
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                                 August 3, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   193        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Bobby Akers on
                                 August 5, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   194        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Gerald Barber on
                                 August 5, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   195        NOTICE OF DEPOSITION by CSX Transportation, Inc. of John Bills on
                                 August 6, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   196        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael Clark on
                                 August 6, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   197        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Randall Craycraft
                                 on August 6, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   198        NOTICE OF DEPOSITION by CSX Transportation, Inc. of John Frasure on
                                 August 6, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   199        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Joshua Hall on
                                 August 7, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   200        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Dennis
                                 Hutchinson on August 7, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   201        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Grover Kelley on
                                 August 3, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   202        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Sammy Maddix
                                 on August 7, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   203        NOTICE OF DEPOSITION by CSX Transportation, Inc. of David Manis on
                                 August 7, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   204        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jacqueline
                                 Marshall on August 3, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   205        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Homer Maynard
                                 on August 4, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   206        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jeremy Napier on
                                 August 4, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   207        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Shawn Patterson
                                 on August 4, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   208        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Zack Potter on
                                 August 3, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   209        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Eric Speaks on
                                 August 4, 2020 at 2:00 p.m. (Bird, Melissa)
         07/21/2020   210        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Donald Stephens
                                 on August 5, 2020 at 9:00 a.m. (Bird, Melissa)
         07/21/2020   211        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Clay Stiltner on
                                 August 5, 2020 at 9:00 a.m. (Bird, Melissa)
                                                                                       USCA4   65
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         07/25/2020   212        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Joshua Ferguson
                                 on August 3, 2020 at 9:00 a.m. (Bird, Melissa)
         07/25/2020   213        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Jason Barker on July 27, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   214        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of John Carpenter on July 31, 2020 at 9:00 a.m. (Bird, Melissa)
         07/25/2020   215        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Quincy Christian on July 31 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   216        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Chad Dowdy on July 29, 2020 at 9:00 a.m. (Bird, Melissa)
         07/25/2020   217        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Michael Owens on July 29, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   218        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Kevin Palmer on July 29, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   219        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Jonathan Rowe on July 27, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   220        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Eric Speaks on August 5, 2020 at 9:00 a.m. (Bird, Melissa)
         07/25/2020   221        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Danny Stewart on July 30, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   222        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Clay Stiltner on August 4, 2020 at 2:00 p.m. (Bird, Melissa)
         07/25/2020   223        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Travis Thornsberry on July 31, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   224        NOTICE OF DEPOSITION by CSX Transportation, Inc. of John Baker on
                                 August 10, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   225        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Gerald Barber on July 30, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   226        NOTICE OF DEPOSITION by CSX Transportation, Inc. of James Blain on
                                 August 10, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   227        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Devery Brown on
                                 August 10, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   228        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael
                                 Campbell on August 13, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   229        NOTICE OF DEPOSITION by CSX Transportation, Inc. of James Deal on
                                 August 10, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   230        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jerry Flocker on
                                 August 7, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   231        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                                                                   USCA4       66
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                                 of Joshua Hall on July 29, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   232        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jonathan Jeffers
                                 on August 11, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   233        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Brandi Little,
                                 Administrator of the Estate of Chad Little on August 14, 2020 at 2:00 p.m.
                                 (Bird, Melissa)
         07/27/2020   234        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Scott Morrison on
                                 August 11, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   235        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Robert Mosteller
                                 on August 11, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   236        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael D. Potter
                                 on August 12, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   237        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Michael L. Potter
                                 on August 12, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   238        NOTICE OF DEPOSITION by CSX Transportation, Inc. of James Stinnett on
                                 August 11, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   239        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Todd Thayer on
                                 August 12, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   240        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jesse Wallace on
                                 August 12, 2020 at 2:00 p.m. (Bird, Melissa)
         07/27/2020   241        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Timothy Witt on
                                 August 13, 2020 at 9:00 a.m. (Bird, Melissa)
         07/27/2020   242        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Matthew Woods
                                 on August 14, 2020 at 9:00 a.m. (Bird, Melissa)
         07/31/2020   243        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Samuel Preston on August 3, 2020 at 2:00 p.m. (Bird, Melissa)
         08/03/2020   244        SECOND AMENDED NOTICE OF DEPOSITION by CSX Transportation,
                                 Inc. of Chad Dowdy on August 6, 2020 at 2:00 p.m. (Bird, Melissa)
         08/03/2020   245        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Jerry Flocker on August 14, 2020 at 9:00 a.m. (Bird, Melissa)
         08/03/2020   246        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Ethan Mullins on August 7, 2020 at 9:00 a.m. (Bird, Melissa)
         08/07/2020   247        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of John Bills on August 12, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   248        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of James Blain on August 10, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   249        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of James Deal on August 10, 2020 at 9:00 a.m. (Bird, Melissa)
         08/07/2020   250        AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jerry
                                                                                         USCA4       67
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                                 Flocker on August 7, 2020 at 9:00 a.m. (Bird, Melissa)
         08/07/2020   251        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of John Frasure on August 13, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   252        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Sammy Maddix on August 13, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   253        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Michael L. Potter on August 11, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   254        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Jesse Wallace on August 13, 2020 at 9:00 a.m. (Bird, Melissa)
         08/07/2020   255        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Michael Williams on August 12, 2020 at 2:00 p.m. (Bird, Melissa)
         08/07/2020   256        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Timothy Witt on August 14, 2020 at 9:00 a.m. (Bird, Melissa)
         08/07/2020   257        SECOND AMENDED NOTICE OF DEPOSITION by CSX Transportation,
                                 Inc. of Jerry Flocker on August 14, 2020 at 2:00 p.m. (Bird, Melissa)
         08/14/2020   258        SECOND AMENDED NOTICE OF DEPOSITION by CSX Transportation,
                                 Inc. of Joshua Hall on August 20, 2020 at 9:00 a.m. (Bird, Melissa)
         08/14/2020   259        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Grover Kelley on August 20, 2020 at 2:00 p.m. (Bird, Melissa)
         08/14/2020   260        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Estate of Chad Little on August 20,2020 at 9:00 a.m. (Bird, Melissa)
         08/14/2020   261        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Zack Potter on August 20, 2020 at 2:00 p.m. (Bird, Melissa)
         08/14/2020   262        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of James Stinnett on August 21, 2020 at 9:00 a.m. (Bird, Melissa)
         08/14/2020   263        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Lloyd Williams on August 21, 2020 at 9:00 a.m. (Bird, Melissa)
         08/20/2020   264        AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc. of
                                 Grover Kelley on August 25, 2020 at 2:00 p.m. (Bird, Melissa)
         08/20/2020   265        MOTION by CSX Transportation, Inc. for Leave to File Under Seal
                                 Documents Containing Confidential Trade Information. (Attachments: # 1
                                 Exhibit 1 − Election Form, # 2 Exhibit 2 − Settlement Agreement)(Bird,
                                 Melissa)
         08/20/2020   266        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment of Plaintiff
                                 Deanna Lanham (Bird, Melissa) (Modified on 8/20/2020 to remove terminated
                                 party filer) (ts).
         08/20/2020   267        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, ,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 266
                                                                                          USCA4   68
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                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment of Plaintiff
                                 Deanna Lanham (Bird, Melissa) (Modified on 8/20/2020 to remove terminated
                                 party filer) (ts).
         08/24/2020   268        ORDER granting Defendants' 265 MOTION by CSX Transportation, Inc. for
                                 Leave to File Under Seal; directing that Exhibits 1 and 2 to Defendants' 266
                                 MOTION for Summary Judgment be filed under seal. Signed by Judge Robert
                                 C. Chambers on 8/24/2020. (cc: counsel of record; any unrepresented parties)
                                 (jsa)
         08/24/2020   269        EXHIBITS 1 AND 2 in support of Defendants' 266 MOTION for Summary
                                 Judgment of Plaintiff Deanna Lanham; filed under seal pursuant to the 268
                                 Order. (Attachment: # 1 Exhibit 2) (jsa)
         09/01/2020   270        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Lloyd Williams on September 10, 2020 at 2:00 p.m. (Bird, Melissa)
         09/02/2020   271        STIPULATION EXTENDING TIME for Plaintiff to file an opposition to 266
                                 MOTION by Defendants for Summary Judgment to 09−17−2020 by All
                                 Parties (Dingwall, Jeffrey)
         09/02/2020   272        ORDER granting the parties' 271 Stipulated Motion to Extend Deadline for
                                 Plaintiff Deanna Lanham to Respond to Defendant's 266 MOTION for
                                 Summary Judgment; Plaintiff Lanham's response is now due by 9/17/2020.
                                 Signed by Judge Robert C. Chambers on 9/2/2020. (cc: counsel of record; any
                                 unrepresented parties) (jsa)
         09/08/2020   273        CERTIFICATE OF SERVICE by Plaintiffs for Discovery Requests to
                                 Defendants. (Dingwall, Jeffrey)
         09/14/2020   274        TELEPHONIC STATUS CONFERENCE held by Judge Robert C. Chambers
                                 on 9/14/2020; Court Reporter: not reported. (trj)
         09/17/2020   275        OPPOSITION by Deanna Lanham to 266 MOTION by CSX Transportation,
                                 Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S.
                                 Heligman, Delando Jones, Dillon Doug Jones, Shawn Lusk, Curt Shogren,
                                 Milton Storm, Gus Thoele for Summary Judgment (Attachments: # 1 Exhibit
                                 A, # 2 Exhibit B, # 3 Exhibit C)(Dingwall, Jeffrey)
         09/24/2020   276        SECOND AMENDED NOTICE OF DEPOSITION by CSX Transportation,
                                 Inc. of Brandi Little on October 2, 2020 at 2:00 p.m. (Bird, Melissa)
         09/24/2020   277        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Matthew Woods on October 2, 2020 at 2:00 p.m. (Bird, Melissa)
         09/24/2020   278        REPLY by CSX Transportation, Inc. to 275 Brief In Opposition. (Attachment:
                                 # 1 Exhibit 1)(Bird, Melissa) (Modified on 9/25/2020 to remove links to
                                 ##266, 267, 268, 269) (ts).
         09/24/2020   279        MOTION by CSX Transportation, Inc. for Sanctions as to Plaintiff Zack
                                 Potter (Attachments: # 1 Exhibit A − NOD, # 2 Exhibit B − Amended NOD, #
                                 3 Exhibit C − Emails)(Bird, Melissa)
         09/24/2020   280
                                                                                       USCA4        69
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                                 MEMORANDUM OF LAW by CSX Transportation, Inc. in support of 279
                                 MOTION by CSX Transportation, Inc. for Sanctions as to Plaintiff Zack
                                 Potter (Bird, Melissa)
         09/24/2020              MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 279 MOTION
                                 by CSX Transportation, Inc. for Sanctions as to Plaintiff Zack Potter (ts)
                                 (Entered: 09/25/2020)
         09/29/2020   281        AMENDED SCHEDULING ORDER directing as follows: Discovery requests
                                 to be completed by 3/8/2021 and all depositions by 4/22/2021. Expert Witness
                                 List by parties bearing the burden of proof due by 2/22/2021, by party not
                                 bearing burden of proof due by 3/22/2021, and to solely contradict or rebut
                                 evidence due by 4/8/2021. Dispositive Motions except those filed under Rule
                                 12(b) due by 5/13/2021; any response shall be filed by 5/27/2021, with replies
                                 due by 6/3/2021. Case Management Conference set for 6/14/2021 at 1:30 p.m.
                                 Settlement Meeting and Rule 26(a)(3) disclosures by 7/29/2021. Plaintiffs'
                                 portion of proposed Pretrial Order to defendants due by 8/5/2021; Proposed
                                 Integrated Pretrial Order due by 8/12/2021. Pretrial Conference set for
                                 8/30/2021 at 1:30 PM in Huntington before Judge Robert C. Chambers.
                                 Proposed Jury Charges due by 8/27/2021. Final Settlement Conference at 9:30
                                 AM on 9/20/2021 in Huntington. Trial set for 9/21/2021 at 8:30 AM in
                                 Huntington before Judge Robert C. Chambers. Signed by Judge Robert C.
                                 Chambers on 9/29/2020. (cc: counsel of record; any unrepresented parties)
                                 (jsa)
         10/08/2020   282        STIPULATED MOTION TO EXTEND DEADLINE FOR PLAINTIFF
                                 ZACK POTTER TO RESPOND TO DEFENDANT'S MOTION FOR
                                 SANCTIONS, re: Defendants' 279 MOTION for Sanctions as to Plaintiff Zack
                                 Potter to 10/15/2020 by all plaintiffs and all defendants; the parties stipulate to
                                 a 7−day extension for Plaintiff Zack Potter to file his opposition and request to
                                 10/15/2020. (Dingwall, Jeffrey) (Modified on 10/8/2020 to add party filers and
                                 convert event to a stipulated motion) (mkw).
         10/08/2020              MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 282
                                 STIPULATED MOTION by the parties to Extend Deadline for Plaintiff Zack
                                 Potter to Respond to Defendant's Motion for Sanctions. (mkw)
         10/08/2020   283        ORDER granting the parties' 282 STIPULATED MOTION to Extend
                                 Deadline for Plaintiff Zack Potter to Respond to Defendant's 279 Motion for
                                 Sanctions; Plaintiff Zack Potter shall have through and including 10/15/2020
                                 in which to file a Response to Defendant CSX Transportation, Inc.'s Motion
                                 for Sanctions. Signed by Magistrate Judge Cheryl A. Eifert on 10/8/2020. (cc:
                                 counsel of record) (hkl)
         10/12/2020   284        STIPULATED MOTION by all plaintiffs and all defendants to Dismiss the 93
                                 THIRD AMENDED COMPLAINT With Prejudice of Plaintiff Zack Potter
                                 and further request that Defendants' 279 MOTION for Sanctions as to Plaintiff
                                 Zack Potter be denied as moot. (Dingwall, Jeffrey) (Modified on 10/13/2020
                                 to add party filers and to add link to #93 third amended complaint and #279
                                 motion) (mkw).
         10/16/2020   285        ORDER denying as moot 279 MOTION by CSX Transportation, Inc. for
                                 Sanctions as to Plaintiff Zack Potter. Signed by Magistrate Judge Cheryl A.
                                 Eifert on 10/16/2020. (cc: counsel of record) (mkw)
                                                                                           USCA4         70
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         11/04/2020   286        THIRD AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Brandi Little as Administrator of the Estate of Chad Little on November 17,
                                 2020 at 2:00 p.m. via remote video teleconferencing. (Bird, Melissa)
         11/12/2020   287        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSXT's
                                 Omnibus Answers to Plaintiffs' Second Set of Interrogatories. (Bird, Melissa)
         11/12/2020   288        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSXT's
                                 Omnibus Responses to Plaintiffs' Second Set of Requests for Production of
                                 Documents. (Bird, Melissa)
         11/30/2020   289        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSX
                                 Transportation, Inc.'s Answers to Plaintiffs' Second Set of Interrogatories.
                                 (Attachment: # 1 Exhibit A − List of Plaintiffs served)(Bird, Melissa)
         11/30/2020   290        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSX
                                 Transportation, Inc.'s Responses to Plaintiffs' Second Set Requests for
                                 Admissions. (Attachment: # 1 Exhibit A − List of Plaintiffs served)(Bird,
                                 Melissa)
         11/30/2020   291        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for CSX
                                 Transportation, Inc.'s Responses to Plaintiffs' Second Set Requests for
                                 Production of Documents. (Attachment: # 1 Exhibit A − List of Plaintiffs
                                 served)(Bird, Melissa)
         12/02/2020   292        ORDER granting the parties' 284 STIPULATED MOTION to Dismiss the 93
                                 THIRD AMENDED COMPLAINT With Prejudice of Plaintiff Zack Potter;
                                 dismissing with prejudice the 93 Third Amended Complaint of Plaintiff Zack
                                 Potter, pursuant to Rule 41 of the Federal Rule of Civil Procedure; further
                                 denying as moot Defendant's 279 MOTION for Sanctions. Signed by Judge
                                 Robert C. Chambers on 12/2/2020. (cc: counsel of record; any unrepresented
                                 parties) (jsa)
         12/02/2020   293        TRANSMITTED CERTIFIED COPY of 292 Order to counsel of record. (jsa)
         12/02/2020   294        CERTIFICATE OF SERVICE by Craig S. Heligman for Heligman's Answers
                                 to Plaintiffs' First Set of Interrogatories. (Attachment: # 1 Exhibit A − List of
                                 Plaintiffs)(Bird, Melissa)
         12/02/2020   295        CERTIFICATE OF SERVICE by Craig S. Heligman for Heligman's
                                 Responses to Plaintiffs' First Set of Requests for Admissions. (Attachment: # 1
                                 Exhibit A − List of Plaintiffs)(Bird, Melissa)
         12/02/2020   296        CERTIFICATE OF SERVICE by Craig S. Heligman for Heligman's
                                 Responses to Plaintiffs' First Set of Requests for Production of Documents.
                                 (Attachment: # 1 Exhibit A − List of Plaintiffs)(Bird, Melissa)
         12/02/2020   297        CERTIFICATE OF SERVICE by Curt Shogren for Curt Shogren's Answers to
                                 Plaintiffs' First Set of Interrogatories. (Attachment: # 1 Exhibit A − List of
                                 Plaintiffs)(Bird, Melissa)
         12/02/2020   298        CERTIFICATE OF SERVICE by Curt Shogren for Curt Shogren's Responses
                                 to Plaintiffs' First Set of Requests for Admission. (Attachment: # 1 Exhibit A
                                 − List of Plaintiffs)(Bird, Melissa)
         12/02/2020   299
                                                                                           USCA4         71
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                                 CERTIFICATE OF SERVICE by Curt Shogren for Curt Shogren's Responses
                                 to Plaintiffs' First Set of Requests for Production. (Attachment: # 1 Exhibit A
                                 − List of Plaintiffs)(Bird, Melissa)
         12/02/2020   300        CERTIFICATE OF SERVICE by Elizabeth Creedon for Creedon's Responses
                                 to Plaintiff Matthew Wood's First Set of Requests for Admissions. (Bird,
                                 Melissa)
         12/02/2020   301        CERTIFICATE OF SERVICE by Tom DeAngelo for Tom DeAngelo's
                                 Responses to Plaintiffs Matthew Woods' and Tony Abdon's First Set of
                                 Requests for Admissions. (Bird, Melissa)
         12/02/2020   302        CORRECTED CERTIFICATE OF SERVICE by Tom DeAngelo for Tom
                                 DeAngelo's Responses to Plaintiff's Estate of Chad Little and Tony Abdon's
                                 First Set of Requests for Admissions. (Bird, Melissa)
         12/02/2020   303        CERTIFICATE OF SERVICE by Kenneth Ray Emerson for Kenneth Ray
                                 Emerson's Responses to Plaintiff Matthew Wood's First Set of Requests for
                                 Admission. (Bird, Melissa)
         12/02/2020   304        CERTIFICATE OF SERVICE by Delando Jones for Delando Jones'
                                 Responses to Plaintiff Michael Campbell's First Set of Requests for
                                 Admission. (Bird, Melissa)
         12/02/2020   305        CERTIFICATE OF SERVICE by Shawn Lusk for Shawn Lusk's Responses to
                                 Plaintiffs Estate of Chad Little and Tony Abdon's First Set of Requests for
                                 Admissions. (Bird, Melissa)
         12/02/2020   306        CERTIFICATE OF SERVICE by Milton Storm for Milton Storm's Responses
                                 to Plaintiff Michael Campbell's First Set of Requests for Admissions. (Bird,
                                 Melissa)
         12/02/2020   307        CERTIFICATE OF SERVICE by Craig S. Heligman for Craig S. Heligman's
                                 Omnibus Supplemental Response to Plaintiffs' First Set of Requests for
                                 Production of Documents. (Attachment: # 1 Exhibit A − List of
                                 Plaintiffs)(Bird, Melissa)
         12/02/2020   308        CERTIFICATE OF SERVICE by Curt Shogren for Curt Shogren's Omnibus
                                 Supplemental Response to Plaintiffs' First Set of Requests for Production of
                                 Documents. (Attachment: # 1 Exhibit A − List of Plaintiffs)(Bird, Melissa)
         12/02/2020   309        CERTIFICATE OF SERVICE by Gus Thoele for Gus Thoele's Responses to
                                 Plaintiffs' First Set of Requests for Admissions. (Attachment: # 1 Exhibit A −
                                 List of Plaintiffs)(Bird, Melissa)
         12/04/2020   310        CERTIFICATE OF SERVICE by Delando Jones for Answers to Plaintiff
                                 Michael Campbell's First Set of Interrogatories. (Bird, Melissa)
         12/04/2020   311        CERTIFICATE OF SERVICE by Delando Jones for Responses to Plaintiff
                                 Michael Campbell's First Set of Requests for Production of Documents. (Bird,
                                 Melissa)
         12/04/2020   312        CERTIFICATE OF SERVICE by Milton Storm for Answers to Plaintiff
                                 Michael Campbell's First Set of Interrogatories. (Bird, Melissa)
         12/04/2020   313        CERTIFICATE OF SERVICE by Milton Storm for Responses to Plaintiff
                                 Michael Campbell's First Set of Requests for Production of Documents. (Bird,
                                                                                         USCA4         72
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                                 Melissa)
         01/08/2021   314        AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION AND REQUEST
                                 FOR PRODUCTION OF DOCUMENTS by Tony Abdon, Brandon Adkins,
                                 Justin Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John
                                 Bills, James Blain, Justin Blake, Devery Brown, Michael Campbell, John
                                 Carpenter, Quincy Christian, Michael Clark, Randall Craycraft, James Deal,
                                 Chad Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of 30(b)(6) designee(s) on January 27, 2021 at 10:00 a.m. (Paul, Gregory)
         01/08/2021   315        NOTICE OF DEPOSITION by Tony Abdon, Brandon Adkins, Justin Adkins,
                                 Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James
                                 Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of Craig Heligman on February 8, 2021 at 10:00 a.m. (Paul, Gregory)
         01/08/2021   316        NOTICE OF DEPOSITION by Tony Abdon, Brandon Adkins, Justin Adkins,
                                 Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James
                                 Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of Curt Shogren on March 8, 2021 at 2:00 p.m. (Paul, Gregory)
         01/08/2021   317        NOTICE OF DEPOSITION by Tony Abdon, Brandon Adkins, Justin Adkins,
                                 Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James
                                                                                       USCA4        73
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                                 Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of Gus Thoele on March 8, 2021 at 10:00 a.m. (Paul, Gregory)
         02/01/2021   318        MOTION by CSX Transportation, Inc. to Depose Incarcerated Person, James
                                 Stinnett. (Bird, Melissa)
         02/01/2021              MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 318 MOTION
                                 by CSX Transportation, Inc. to Depose Incarcerated Person, James Stinnett.
                                 (mkw) (Entered: 02/02/2021)
         02/03/2021   319        ORDER granting Defendant CSX Transportation, Inc.'s 318 MOTION to
                                 Depose Incarcerated Person, Plaintiff James Stinnett; Defendant shall be
                                 responsible for making the arrangements with the Carter County Detention
                                 Center. Signed by Magistrate Judge Cheryl A. Eifert on 2/3/2021. (cc: counsel
                                 of record; any unrepresented party; CCDC Warden) (jsa)
         02/08/2021   320        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Privilege Log
                                 and Responses to Plaintiffs' Amended Notice of 30(b)(6) Requests for
                                 Production of Documents. (Bird, Melissa)
         02/10/2021   321        SECOND AMENDED NOTICE OF DEPOSITION by CSX Transportation,
                                 Inc. of James Stinnett on March 2, 2021 at 12:00 p.m. (Bird, Melissa)
         03/01/2021   322        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Sanctions as to Plaintiff Joshua Hall.
                                 (Attachments: # 1 Exhibit Ex. A NOD Joshua Hall, # 2 Exhibit Ex. B First
                                 Amended NOD, # 3 Exhibit Ex. C Second Amended NOD, # 4 Exhibit Ex. D
                                 Emails to Opposing Counsel, # 5 Exhibit Ex. E LtF Greg Paul re voluntary
                                 dismissal)(Bird, Melissa)
         03/01/2021   323        MEMORANDUM OF LAW n support of 322 MOTION by CSX
                                 Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                 Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt Shogren,
                                 Milton Storm, Gus Thoele for Sanctions as to Plaintiff Joshua Hall. (Bird,
                                 Melissa)
         03/08/2021   324        ORDER granting Defendants' 266 MOTION for Summary Judgment as to the
                                 claims of Plaintiff Deanna Lanham; dismissing Plaintiff Deanna Lanham from
                                 this case. Signed by Judge Robert C. Chambers on 3/8/2021. (cc: counsel of
                                 record; any unrepresented parties) (hkl)
         03/08/2021   325        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                                                                         USCA4        74
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                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Third Set of Interrogatories, Requests for Productions of Documents and
                                 Requests for Admissions. (Paul, Gregory)
         03/09/2021   326        ORDER rescheduling the Pretrial Conference for 9/7/2021 at 1:30 PM in
                                 Huntington before Judge Robert C. Chambers. Signed by Judge Robert C.
                                 Chambers on 3/9/2021. (cc: counsel of record; any unrepresented parties) (hkl)
         03/22/2021   327        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Rule 26(a)(2) Expert Testimony Disclosures. (Paul, Gregory)
         03/23/2021   328        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of 30(b)(6) Deposition and Request for
                                 Production of Documents. (Paul, Gregory)
         03/23/2021   329
                                                                                        USCA4        75
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                                 CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of Deposition of Craig S. Heligman. (Paul,
                                 Gregory)
         03/23/2021   330        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of Deposition of Curt Shogren. (Paul, Gregory)
         03/23/2021   331        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of Deposition of Gus Thoele. (Paul, Gregory)
         03/23/2021   332        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                                                                       USCA4        76
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                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Milton Storm. (Paul, Gregory)
         03/23/2021   333        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Dillon Doug Jones. (Paul, Gregory)
         03/23/2021   334        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Tom DeAngelo. (Paul, Gregory)
         03/23/2021   335        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
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                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Shawn Lusk. (Paul, Gregory)
         03/23/2021   336        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Elizabeth Creedon. (Paul, Gregory)
         03/23/2021   337        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Billy Bullock. (Paul, Gregory)
         03/23/2021   338        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                                                                       USCA4        78
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                                 for Plaintiffs' Notice of Deposition of Jolanda Johnson. (Paul, Gregory)
         03/23/2021   339        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Penny Dreher. (Paul, Gregory)
         03/23/2021   340        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Kendall Quentin. (Paul, Gregory)
         03/23/2021   341        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Kelly Caudell. (Paul, Gregory)
         03/23/2021   342        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
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                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Bryan Rhode. (Paul, Gregory)
         03/23/2021   343        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Ann Reinke. (Paul, Gregory)
         03/23/2021   344        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of Cheryl Shumway. (Paul, Gregory)
         03/24/2021   345        ORDER granting Defendants' 322 MOTION for Sanctions as to Plaintiff
                                 Joshua Hall; Plaintiff Hall's claims are DISMISSED WITH PREJUDICE.
                                 Signed by Judge Robert C. Chambers on 3/24/2021. (cc: counsel of record;
                                 any unrepresented parties) (jsa)
         04/06/2021   346        CERTIFICATE OF SERVICE by Gus Thoele for Answers to Plaintiffs' First
                                 Set of Interrogatories. (Attachment: # 1 Exhibit List of 52 Plaintiffs
                                 Served)(Bird, Melissa)
                                                                                       USCA4        80
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         04/06/2021   347        CERTIFICATE OF SERVICE by Gus Thoele for Responses to Plaintiffs' First
                                 Set of Requests for Production of Documents. (Attachment: # 1 Exhibit A −
                                 List of 52 Plaintiffs)(Bird, Melissa)
         04/07/2021   348        STIPULATION OF EXTENSION OF TIME TO RESPOND TO
                                 DISCOVERY by Plaintiffs and Defendants; the parties stipulate and agree that
                                 the deadline for Defendant, CSX Transportation, Inc. to respond to Plaintiffs'
                                 Third Set of Interrogatories, Requests for Production of Documents, and
                                 Requests for Admissions is to April 9, 2021. (Bird, Melissa) (Modified on
                                 4/7/2021 to add party filers) (mkw).
         04/07/2021   349        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover
                                 Kelley, Chad Little, Sammy Maddix, David Manis, Jacqueline Marshall,
                                 Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy
                                 Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael Potter,
                                 Michael L. Potter, Michael D. Potter, Samuel Preston, Jonathan Rowe, Dennis
                                 Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher Clay
                                 Stiltner, Clay Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little,
                                 Travis Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams,
                                 Timothy Witt, Matthew Woods for Supplemental Responses to CSX
                                 Transportation, Inc.'s First Set of Interrogatories and Requests for Production
                                 of Documents. (Dingwall, Jeffrey)
         04/09/2021   350        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Responses to
                                 Plaintiffs' Third Set of Interrogatories, Requests for Production of Documents,
                                 and Requests for Admissions. (Bird, Melissa)
         04/21/2021   351        CERTIFICATE OF SERVICE by CSX Transportation, Inc., Elizabeth
                                 Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando
                                 Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele for Rule
                                 26(a)(2) Expert Testimony Disclosures. (Bird, Melissa)
         04/27/2021   352        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Amended
                                 Privilege Log and First Supplemental Responses to Plaintiffs' Amended Notice
                                 of 30(b)(6) Requests for Production of Documents. (Bird, Melissa)
         05/05/2021   353        NOTICE OF DEPOSITION by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Dillon Doug Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele of
                                 Daniel J. Carey, D.C. on May 19, 2021 at 9:00 a.m. (Bird, Melissa)
         05/05/2021   354        RETURN OF SERVICE ON SUBPOENA for Daniel J. Carey, D.C. (Bird,
                                 Melissa)
         05/10/2021   355        ORDER scheduling a telephone conference to discuss the status of discovery,
                                 the upcoming dispositive motion deadline, and other outstanding matters for
                                 5/17/2021 at 10:30 AM in Huntington before Judge Robert C. Chambers.
                                 Signed by Judge Robert C. Chambers on 5/10/2021. (cc: attys; any
                                 unrepresented parties) (mkw)
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         05/11/2021   356        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele to File Under Seal Documents Identified
                                 As Confidential Pursuant to Parties' 171 Protective Order. (Attachments: # 1
                                 Exhibit MSJ 2 Part 1 − Certificates of Ongoing Illness or Injury, # 2 Exhibit
                                 MSJ 2 Part 2 − Certificates of Ongoing Illness or Injury, # 3 Exhibit MSJ 8 −
                                 07.14.2017 letter, # 4 Exhibit MSJ 9 − 07.21. 2017 letter, # 5 Exhibit MSJ 10
                                 − 07.28.2017 letter, # 6 Exhibit MSJ 11 − Abdon deposition, # 7 Exhibit MSJ
                                 12 − Adkins, B deposition, # 8 Exhibit MSJ 13 − Adkins, J deposition, # 9
                                 Exhibit MSJ 14 − Akers deposition, # 10 Exhibit MSJ 15 − Baker deposition,
                                 # 11 Exhibit MSJ 16 − Barber deposition, # 12 Exhibit MSJ 17 − Barker
                                 deposition, # 13 Exhibit MSJ 18 − Bills deposition, # 14 Exhibit MSJ 19 −
                                 Blain deposition, # 15 Exhibit MSJ 20 − Blake deposition, # 16 Exhibit MSJ
                                 21 − Brown deposition, # 17 Exhibit MSJ 22 − Campbell deposition, # 18
                                 Exhibit MSJ 23 − Carpenter deposition, # 19 Exhibit MSJ 24 − Christian
                                 deposition, # 20 Exhibit MSJ 25 − Clark deposition, # 21 Exhibit MSJ 26 −
                                 Craycraft deposition, # 22 Exhibit MSJ 27 − Deal deposition, # 23 Exhibit
                                 MSJ 28 − Dowdy deposition, # 24 Exhibit MSJ 29 − Ferguson deposition, #
                                 25 Exhibit MSJ 30 − Flocker deposition, # 26 Exhibit MSJ 31 − Frasure
                                 deposition, # 27 Exhibit MSJ 32 − Glowacki deposition, # 28 Exhibit MSJ 33
                                 − Hamm deposition, # 29 Exhibit MSJ 34 − Hutchinson deposition, # 30
                                 Exhibit MSJ 35 − Jeffers deposition, # 31 Exhibit MSJ 36 − Jordan deposition,
                                 # 32 Exhibit MSJ 37 − Kelley deposition, # 33 Exhibit MSJ 38 − Little
                                 deposition, # 34 Exhibit MSJ 39 − Maddix deposition, # 35 Exhibit MSJ 40 −
                                 Manis deposition, # 36 Exhibit MSJ 41 − Marshall deposition, # 37 Exhibit
                                 MSJ 42 − Maynard deposition, # 38 Exhibit MSJ 43 − Morrison deposition, #
                                 39 Exhibit MSJ 44 − Mosteller deposition, # 40 Exhibit MSJ 45 − Mullins
                                 deposition, # 41 Exhibit MSJ 46 − Napier deposition, # 42 Exhibit MSJ 47 −
                                 Owens deposition, # 43 Exhibit MSJ 48 − Palmer deposition, # 44 Exhibit
                                 MSJ 49 − Patterson deposition, # 45 Exhibit MSJ 50 − Potter, MD deposition,
                                 # 46 Exhibit MSJ 51 − Potter, ML deposition, # 47 Exhibit MSJ 52 − Preston
                                 deposition, # 48 Exhibit MSJ 53 − Rowe deposition, # 49 Exhibit MSJ 54 −
                                 Sargent deposition, # 50 Exhibit MSJ 55 − Speaks deposition, # 51 Exhibit
                                 MSJ 56 − Stephens deposition, # 52 Exhibit MSJ 57 − Stewart deposition, #
                                 53 Exhibit MSJ 58 − Stiltner deposition, # 54 Exhibit MSJ 59 − Stinnett
                                 deposition, # 55 Exhibit MSJ 60 − Thayer deposition, # 56 Exhibit MSJ 61 −
                                 Thornsberry deposition, # 57 Exhibit MSJ 62 − Wallace deposition, # 58
                                 Exhibit MSJ 63 − Williams, L deposition, # 59 Exhibit MSJ 64 − Williams, M
                                 deposition, # 60 Exhibit MSJ 65 − Witt deposition, # 61 Exhibit MSJ 66 −
                                 Woods deposition, # 62 Exhibit MSJ 67 − Abdon hearing, # 63 Exhibit MSJ
                                 68 − Adkins, B hearing, # 64 Exhibit MSJ 69 − Adkins, J hearing, # 65
                                 Exhibit MSJ 70 − Akers hearing, # 66 Exhibit MSJ 71 − Baker hearing, # 67
                                 Exhibit MSJ 72 − Barber hearing, # 68 Exhibit MSJ 73 − Barker hearing, # 69
                                 Exhibit MSJ 74 − Bills hearing, # 70 Exhibit MSJ 75 − Blain hearing, # 71
                                 Exhibit MSJ 76 − Blake hearing, # 72 Exhibit MSJ 77 − Brown hearing, # 73
                                 Exhibit MSJ 78 − Campbell hearing, # 74 Exhibit MSJ 79 − Carpenter
                                 hearing, # 75 Exhibit MSJ 80 − Christian hearing, # 76 Exhibit MSJ 81 −
                                 Clark hearing, # 77 Exhibit MSJ 82 − Craycraft hearing, # 78 Exhibit MSJ 83
                                 − Deal hearing, # 79 Exhibit MSJ 84 − Dowdy hearing, # 80 Exhibit MSJ 85 −
                                 Ferguson hearing, # 81 Exhibit MSJ 86 − Flocker hearing, # 82 Exhibit MSJ
                                 87 − Frasure hearing, # 83 Exhibit MSJ 88 − Glowacki hearing, # 84 Exhibit
                                 MSJ 89 − Hamm hearing, # 85 Exhibit MSJ 90 − Hutchinson hearing, # 86
                                                                                       USCA4        82
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                                 Exhibit MSJ 91 − Jeffers hearing, # 87 Exhibit MSJ 92 − Jordan hearing, # 88
                                 Exhibit MSJ 93 − Kelley hearing, # 89 Exhibit MSJ 94 − Little hearing, # 90
                                 Exhibit MSJ 95 − Maddix hearing, # 91 Exhibit MSJ 96 − Manis hearing, # 92
                                 Exhibit MSJ 97 − Marshall hearing, # 93 Exhibit MSJ 98 − Maynard hearing,
                                 # 94 Exhibit MSJ 99 − Morrison hearing, # 95 Exhibit MSJ 100 − Mosteller
                                 hearing, # 96 Exhibit MSJ 101 − Mullins hearing, # 97 Exhibit MSJ 102 −
                                 Napier hearing, # 98 Exhibit MSJ 103 − Owens hearing, # 99 Exhibit MSJ 104
                                 − Palmer hearing, # 100 Exhibit MSJ 105 − Patterson hearing, # 101 Exhibit
                                 MSJ 106 − Potter, MD hearing, # 102 Exhibit MSJ 107 − Potter, ML hearing,
                                 # 103 Exhibit MSJ 108 − Preston hearing, # 104 Exhibit MSJ 109 − Rowe
                                 hearing, # 105 Exhibit MSJ 110 − Sargent hearing, # 106 Exhibit MSJ 111 −
                                 Speaks hearing, # 107 Exhibit MSJ 112 − Stephens hearing, # 108 Exhibit
                                 MSJ 113 − Stewart hearing, # 109 Exhibit MSJ 114 − Stiltner hearing, # 110
                                 Exhibit MSJ 115 − Stinnett hearing, # 111 Exhibit MSJ 116 − Thayer hearing,
                                 # 112 Exhibit MSJ 117 − Thornsberry hearing, # 113 Exhibit MSJ 118 −
                                 Wallace hearing, # 114 Exhibit MSJ 119 − Williams, LK hearing, # 115
                                 Exhibit MSJ 120 − Williams, MD hearing, # 116 Exhibit MSJ 121 − Witt
                                 hearing, # 117 Exhibit MSJ 122 − Woods hearing, # 118 Exhibit MSJ 124 −
                                 Representative Set of Exhibits to Investigative Hearing Transcript, # 119
                                 Exhibit MSJ 172 − Chiropractors' Letters to Union Representatives)(Bird,
                                 Melissa) (Modified on 5/11/2021 to add link to #171 protective order) (mkw).
         05/12/2021   357        ORDER granting Defendants' 356 MOTION to File Under Seal Documents
                                 Identified As Confidential Pursuant to Parties' 171 Protective Order; directing
                                 the Clerk's Office to file the documents attached to the Motion under seal.
                                 Signed by Judge Robert C. Chambers on 5/12/2021. (cc: counsel of record;
                                 any unrepresented parties) (jsa)
         05/12/2021   358        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Supplemental
                                 Responses to Plaintiffs' Amended Notice of 30(b)(6) Requests for Production
                                 of Documents. (Bird, Melissa)
         05/13/2021   359        MOTION by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods to Seal
                                 Confidential Exhibits Filed in support of their 368 MOTION for Partial
                                 Summary Judgment. (Attachments: # 1 Proposed Order)(Paul, Gregory)
                                 (Modified on 5/14/2021 to add link to #368 motion) (mkw).
         05/13/2021   360        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment. (Attachments: #
                                                                                         USCA4         83
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                                 1 Exhibit MSJ 1 − Charge Letters, # 2 Exhibit MSJ 3 − Heligman Letters to
                                 Plaintiffs, # 3 Exhibit MSJ 4 − OSHA Objections, # 4 Exhibit MSJ 5 Part 1 −
                                 OSHA Findings, # 5 Exhibit MSJ 5 Part 2 − OSHA Findings, # 6 Exhibit MSJ
                                 6 − PLB Decisions, # 7 Exhibit MSJ 7 − Termination Letters, # 8 Exhibit MSJ
                                 123 − Confidentiality Letters, # 9 Exhibit MSJ 125 − Abdon OSHA
                                 Complaint, # 10 Exhibit MSJ 126 − Adkins, B OSHA Complaint, # 11 Exhibit
                                 MSJ 127 − Adkins, J OSHA Complaint, # 12 Exhibit MSJ 128 − Akers OSHA
                                 Complaint, # 13 Exhibit MSJ 129 − Baker OSHA Complaint, # 14 Exhibit
                                 MSJ 130 − Barber OSHA Complaint, # 15 Exhibit MSJ 131 − Baker OSHA
                                 Complaint, # 16 Exhibit MSJ 132 − Bills OSHA Complaint, # 17 Exhibit MSJ
                                 133 − Blain OSHA Complaint, # 18 Exhibit MSJ 134 − Blake OSHA
                                 Complaint, # 19 Exhibit MSJ 135 − Brown OSHA Complaint, # 20 Exhibit
                                 MSJ 136 − Carpenter OSHA Complaint, # 21 Exhibit MSJ 137 − Clark OSHA
                                 Complaint, # 22 Exhibit MSJ 138 − Craycraft OSHA Complaint, # 23 Exhibit
                                 MSJ 139 − Deal OSHA Complaint, # 24 Exhibit MSJ 140 − Dowdy OSHA
                                 Complaint, # 25 Exhibit MSJ 141 − Ferguson OSHA Complaint, # 26 Exhibit
                                 MSJ 142 − Flocker OSHA Complaint, # 27 Exhibit MSJ 143 − Frasure OSHA
                                 Complaint, # 28 Exhibit MSJ 144 − Hutchinson OSHA Complaint, # 29
                                 Exhibit MSJ 145 − Jeffers OSHA Complaint, # 30 Exhibit MSJ 146 − Jordan
                                 OSHA Complaint, # 31 Exhibit MSJ 147 − Kelley OSHA Complaint, # 32
                                 Exhibit MSJ 148 − Little OSHA Complaint, # 33 Exhibit MSJ 149 − Maddix
                                 OSHA Complaint, # 34 Exhibit MSJ 150 − Manis OSHA Complaint, # 35
                                 Exhibit MSJ 151 − Marshall OSHA Complaint, # 36 Exhibit MSJ 152 −
                                 Maynard OSHA Complaint, # 37 Exhibit MSJ 153 − Morrison OSHA
                                 Complaint, # 38 Exhibit MSJ 154 − Mosteller OSHA Complaint, # 39 Exhibit
                                 MSJ 155 − Mullins OSHA Complaint, # 40 Exhibit MSJ 156 − Napier OSHA
                                 Complaint, # 41 Exhibit MSJ 157 − Owens OSHA Complaint, # 42 Exhibit
                                 MSJ 158 − Palmer OSHA Complaint, # 43 Exhibit MSJ 159 − Patterson
                                 OSHA Complaint, # 44 Exhibit MSJ 160 − Preston OSHA Complaint, # 45
                                 Exhibit MSJ 161 − Rowe OSHA Complaint, # 46 Exhibit MSJ 162 − Sargent
                                 OSHA Complaint, # 47 Exhibit MSJ 163 − Speaks OSHA Complaint, # 48
                                 Exhibit MSJ 164 − Stephens OSHA Complaint, # 49 Exhibit MSJ 165 −
                                 Stewart OSHA Complaint, # 50 Exhibit MSJ 166 − Stiltner OSHA Complaint,
                                 # 51 Exhibit MSJ 167 − Stinnett OSHA Complaint, # 52 Exhibit MSJ 168 −
                                 Thayer OSHA Complaint, # 53 Exhibit MSJ 169 − Thornsberry OSHA
                                 Complaint, # 54 Exhibit MSJ 170 − Wallace OSHA Complaint, # 55 Exhibit
                                 MSJ 171 − Witt OSHA Complaint, # 56 Exhibit MSJ 173 − Collective
                                 Bargaining Agreements − Clerical Part 1, # 57 Exhibit MSJ 174 − Collective
                                 Bargaining Agreements − Clerical Part 2, # 58 Exhibit MSJ 175 − Collective
                                 Bargaining Agreements − Engineering, # 59 Exhibit MSJ 176 − Collective
                                 Bargaining Agreements − Mechanical CBA BRC, # 60 Exhibit MSJ 177 −
                                 Collective Bargaining Agreements − Mechanical CBA IBB, # 61 Exhibit MSJ
                                 178 − Demonstrative Exhibit 1 − Defamation (identifying the alleged
                                 defamatory statement), # 62 Exhibit MSJ 179 − Demonstrative Exhibit 2 −
                                 Defamation (identifying the alleged injury), # 63 Exhibit MSJ 180 −
                                 Demonstrative Exhibit 3 − Invasion of Privacy, # 64 Exhibit MSJ 181 −
                                 Demonstrative Exhibit 4 − Tortious Interference, # 65 Exhibit MSJ 182 −
                                 Demonstrative Exhibit 5 − In. Inf. of Emotional Distress, # 66 Exhibit MSJ
                                 183 − Demonstrative Exhibit 6 − Int. Inf. of Emotional Distress, # 67 Exhibit
                                 MSJ 184 − Demonstrative Exhibit 7 − FRSA)(Bird, Melissa)
         05/13/2021   361
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                                 MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment as to Plaintiffs'
                                 Defamaton Claim. (Bird, Melissa)
         05/13/2021   362        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment on Plaintiffs'
                                 Claim for Wrongful Discharge and Plaintiffs' Claims Under ERISA, The
                                 Rehabilitation Act and The West Virginia Human Rights Act. (Bird, Melissa)
         05/13/2021   363        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment (Bird, Melissa)
         05/13/2021   364        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment as to Plaintiffs'
                                 Claim Under the FRSA. (Bird, Melissa)
         05/13/2021   365        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment as to Plaintiffs'
                                 Intentional Infliction of Emotional Distress Claim. (Bird, Melissa)
         05/13/2021   366        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment Regarding
                                 Invasion of Privacy. (Bird, Melissa)
         05/13/2021   367        MEMORANDUM OF LAW by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele in support of 360
                                 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Summary Judgment as to Plaintiffs'
                                                                                     USCA4        85
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                                 Tortious Interference Claim. (Bird, Melissa)
         05/13/2021   368        MOTION by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods for Partial
                                 Summary Judgment. (Attachments: # 1 Exhibit, # 2 Proposed Order)(Paul,
                                 Gregory)
         05/13/2021   369        BRIEF by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers, John
                                 Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin Blake,
                                 Devery Brown, Michael Campbell, John Carpenter, Quincy Christian, Michael
                                 Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry
                                 Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis
                                 Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham,
                                 Chad Little, Sammy Maddix, David Manis, Jacqueline Marshall, Homer
                                 Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier,
                                 Michael Owens, Kevin Palmer, Shawn Patterson, Michael Potter, Michael L.
                                 Potter, Michael D. Potter, Zack Potter, Samuel Preston, Jonathan Rowe,
                                 Dennis Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher
                                 Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer, The Estate of Chad
                                 Little, Travis Thornsberry, Jessee Wallace, Lloyd Williams, Michael
                                 Williams, Timothy Witt, Matthew Woods in support of Plaintiffs' 368
                                 MOTION for Partial Summary Judgment. (Paul, Gregory) (mkw).
         05/13/2021   370        EXHIBITS in Support of Defendants' 360 MOTION for Summary Judgment;
                                 filed under seal pursuant to the 357 Order. (Attachments: # 1 Exhibit 2 part 2,
                                 # 2 Exhibit 8, # 3 Exhibit 9, # 4 Exhibit 10, # 5 Exhibit 11, # 6 Exhibit 12, # 7
                                 Exhibit 13, # 8 Exhibit 14, # 9 Exhibit 15, # 10 Exhibit 16, # 11 Exhibit 17, #
                                 12 Exhibit 18, # 13 Exhibit 19, # 14 Exhibit 20, # 15 Exhibit 21, # 16 Exhibit
                                 22, # 17 Exhibit 23, # 18 Exhibit 24, # 19 Exhibit 25, # 20 Exhibit 26, # 21
                                 Exhibit 27, # 22 Exhibit 28, # 23 Exhibit 29, # 24 Exhibit 30, # 25 Exhibit 31,
                                 # 26 Exhibit 32, # 27 Exhibit 33, # 28 Exhibit 34, # 29 Exhibit 35, # 30
                                 Exhibit 36, # 31 Exhibit 37, # 32 Exhibit 38, # 33 Exhibit 39, # 34 Exhibit 40,
                                 # 35 Exhibit 41, # 36 Exhibit 42, # 37 Exhibit 43, # 38 Exhibit 44, # 39
                                 Exhibit 45, # 40 Exhibit 46, # 41 Exhibit 47, # 42 Exhibit 48, # 43 Exhibit 49,
                                 # 44 Exhibit 50, # 45 Exhibit 51, # 46 Exhibit 52, # 47 Exhibit 53, # 48
                                 Exhibit 54, # 49 Exhibit 55, # 50 Exhibit 56, # 51 Exhibit 57, # 52 Exhibit 58,
                                 # 53 Exhibit 59, # 54 Exhibit 60, # 55 Exhibit 61, # 56 Exhibit 62, # 57
                                 Exhibit 63, # 58 Exhibit 64, # 59 Exhibit 65, # 60 Exhibit 66, # 61 Exhibit 67,
                                 # 62 Exhibit 68, # 63 Exhibit 69, # 64 Exhibit 70, # 65 Exhibit 71, # 66
                                 Exhibit 72, # 67 Exhibit 73, # 68 Exhibit 74, # 69 Exhibit 75, # 70 Exhibit 76,
                                 # 71 Exhibit 77, # 72 Exhibit 78, # 73 Exhibit 79, # 74 Exhibit 80, # 75
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                                 Exhibit 81, # 76 Exhibit 82, # 77 Exhibit 83, # 78 Exhibit 84, # 79 Exhibit 85,
                                 # 80 Exhibit 86, # 81 Exhibit 87, # 82 Exhibit 88, # 83 Exhibit 89, # 84
                                 Exhibit 90, # 85 Exhibit 91, # 86 Exhibit 92, # 87 Exhibit 93, # 88 Exhibit 94,
                                 # 89 Exhibit 95, # 90 Exhibit 96, # 91 Exhibit 97, # 92 Exhibit 98, # 93
                                 Exhibit 99, # 94 Exhibit 100, # 95 Exhibit 101, # 96 Exhibit 102, # 97 Exhibit
                                 103, # 98 Exhibit 104, # 99 Exhibit 105, # 100 Exhibit 106, # 101 Exhibit 107,
                                 # 102 Exhibit 108, # 103 Exhibit 109, # 104 Exhibit 110, # 105 Exhibit 111, #
                                 106 Exhibit 112, # 107 Exhibit 113, # 108 Exhibit 114, # 109 Exhibit 115, #
                                 110 Exhibit 116, # 111 Exhibit 117, # 112 Exhibit 118, # 113 Exhibit 119, #
                                 114 Exhibit 120, # 115 Exhibit 121, # 116 Exhibit 122, # 117 Exhibit 124, #
                                 118 Exhibit 172) (jsa) (Entered: 05/14/2021)
         05/17/2021   371        TELEPHONIC CONFERENCE held by Judge Robert C. Chambers on
                                 5/17/2021; Court Reporter: Kathy Swinhart. (trj)
         05/17/2021   372        ORDER granting Plaintiffs' 359 MOTION for Leave to File Documents Under
                                 Seal. Signed by Judge Robert C. Chambers on 5/17/2021. (cc: counsel of
                                 record; any unrepresented parties) (hkl)
         05/17/2021   373        ORDER extending Plaintiffs' deadline to respond to Defendants' 360
                                 MOTION for Summary Judgment by 14 days; Response due by 6/10/2021;
                                 Granting Plaintiffs' request for leave to supplement their 368 MOTION for
                                 Partial Summary Judgment by the end of the week; extending Defendants'
                                 deadline to respond to Plaintiffs' motion for partial summary judgment 14 days
                                 from the time Plaintiffs file their supplement; the Court expects the parties to
                                 meet and confer about any outstanding discovery issues and report to the Court
                                 by this Friday, May 21, 2021. Signed by Judge Robert C. Chambers on
                                 5/17/2021. (cc: attys; any unrepresented parties) (mkw)
         05/19/2021   374        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Shannon M.
                                 Johnson, D.C. on May 21, 2021 at 9:00 a.m. (Bird, Melissa)
         05/20/2021   375        FIRST AMENDED NOTICE OF DEPOSITION by CSX Transportation, Inc.
                                 of Daniel J. Carey, D.C. on May 27, 2021 at 9:00 a.m. (Bird, Melissa)
         05/20/2021   376        RETURN OF SERVICE ON SUBPOENA for Shannon M. Johnson, D.C.
                                 (Bird, Melissa)
         05/21/2021   377        SUPPLEMENTAL DEPOSITION TESTIMONY OF JOLANDA JOHNSON
                                 by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers, John Baker,
                                 Gerald Barber, Jason Barker, John Bills, James Blain, Justin Blake, Devery
                                 Brown, Michael Campbell, John Carpenter, Quincy Christian, Michael Clark,
                                 Randall Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker,
                                 John Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis
                                 Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham,
                                 Chad Little, Sammy Maddix, David Manis, Jacqueline Marshall, Homer
                                 Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier,
                                 Michael Owens, Kevin Palmer, Shawn Patterson, Michael Potter, Michael L.
                                 Potter, Michael D. Potter, Zack Potter, Samuel Preston, Jonathan Rowe,
                                 Dennis Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher
                                 Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer, The Estate of Chad
                                 Little, Travis Thornsberry, Jessee Wallace, Lloyd Williams, Michael
                                 Williams, Timothy Witt, Matthew Woods in support of Plaintiffs' 368
                                 MOTION for Partial Summary Judgment. (Paul, Gregory) (Modified on
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                                 5/24/2021 to remove link to #369 memorandum and #373 order and add link
                                 to #368 motion) (mkw).
         05/26/2021   378        SEALED MATERIALS filed by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 pursuant to Court Order. Exhibits to Plaintiffs' 368 Motion for Partial
                                 Summary Judgment. (Paul, Gregory) (Modified on 5/26/2021 to add link to
                                 #368 motion) (mkw).
         06/01/2021   379        MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele for Extension of Time to File Reply Briefs
                                 in Support of their Motion for Summary Judgment to 6/24/2021. (Bird,
                                 Melissa)
         06/01/2021   380        PROPOSED ORDER Motion for Extension of Time for Defendants' to File
                                 Reply Briefs by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele. (Bird, Melissa)
         06/02/2021   381        ORDER granting Defendants' 379 MOTION for Extension of Time to File
                                 Reply Briefs for their 360 MOTION for Summary Judgment; Defendants'
                                 Reply Briefs shall be filed no later than 6/24/2021. Signed by Judge Robert C.
                                 Chambers on 6/2/2021. (cc: counsel of record; any unrepresented parties) (jsa)
         06/04/2021   382        RESPONSE by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele in opposition to 368 MOTION by
                                 Plaintiffs for Partial Summary Judgment. (Attachments: # 1 Exhibit A − Part 1
                                 Heligman deposition, # 2 Exhibit A − Part 2 Heligman deposition, # 3 Exhibit
                                 B − Jolanda Johnson 30b6 deposition, # 4 Exhibit C − Jolanda Johnson
                                 individual deposition)(Bird, Melissa)
         06/08/2021   383        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
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                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of Plaintiffs; Amended Notice of Deposition of Elizabeth Creedon. (Garella,
                                 Charles) (Modified on 6/9/2021 to convert event to certificate of service)
                                 (mkw).
         06/08/2021   384        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of Deposition of Tom Deangelo. (Garella,
                                 Charles) (Modified on 6/9/2021 to convert event to a certificate of service)
                                 (mkw).
         06/08/2021   385        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Amended Notice of Deposition of Gus Thoele. (Garella,
                                 Charles) (Modified on 6/9/2021 to convert event to certificate of service)
                                 (mkw).
         06/08/2021   386        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
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                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Plaintiffs' Notice of Deposition of TJ Toler. (Garella, Charles) (Modified
                                 on 6/9/2021 to convert event to certificate of service)
         06/09/2021   387        AMENDED NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon,
                                 Brandon Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber,
                                 Jason Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of Elizabeth Creedon on June 16, 2021 at 1:00 P.M.
                                 (Garella, Charles)
         06/09/2021   388        AMENDED NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon,
                                 Brandon Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber,
                                 Jason Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of Tom DeAngelo on June 15, 2021 at 9:00 A.M.
                                 (Garella, Charles)
         06/09/2021   389        AMENDED NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon,
                                 Brandon Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber,
                                 Jason Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
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                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of Gus Thoele on June 17, 2021 at 10:00 A.M. (Garella,
                                 Charles)
         06/09/2021   390        NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon, Brandon
                                 Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber, Jason
                                 Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of TJ Toler on June 16, 2021 at 9:00 A.M. (Garella,
                                 Charles)
         06/09/2021   391        MOTION by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods for Extension of
                                 Time to File a Reply to Defendants' 382 Response to Plaintiffs' Motion for
                                 Partial Summary Judgment to June 18, 2021. (Attachment: # 1 Proposed
                                 Order)(Paul, Gregory)
         06/09/2021   392        AMENDED NOTICE OF RULE 30(b)(6) DEPOSITION AND REQUEST
                                 FOR PRODUCTION OF DOCUMENTS by Tony Abdon, Brandon Adkins,
                                 Justin Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John
                                 Bills, James Blain, Justin Blake, Devery Brown, Michael Campbell, John
                                 Carpenter, Quincy Christian, Michael Clark, Randall Craycraft, James Deal,
                                 Chad Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                                                                         USCA4        91
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                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 of 30(b)(6) Representative on June 25, 2021 at 10:00 a.m. (Attachments: # 1
                                 Certificate of Service)(Paul, Gregory)
         06/10/2021   393        ORDER granting Plaintiffs' 391 MOTION for Extension of Time to File a
                                 Reply to Defendants' 382 Response to Plaintiffs' 368 MOTION for Partial
                                 Summary Judgment; Plaintiffs' Reply shall be filed no later than 6/18/2021.
                                 Signed by Judge Robert C. Chambers on 6/10/2021. (cc: counsel of record;
                                 any unrepresented parties) (jsa)
         06/10/2021   394        ORDER directing that the case management conference currently set in this
                                 matter for 6/14/2021 at 1:30 p.m. will now be held telephonically; counsel has
                                 been provided the conference call instructions by email. Signed by Judge
                                 Robert C. Chambers on 6/10/2021. (cc: counsel of record; any unrepresented
                                 parties) (jsa)
         06/10/2021   395        OPPOSITION by Justin Adkins in opposition to 360 MOTION by CSX
                                 Transportation, Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray
                                 Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt Shogren,
                                 Milton Storm, Gus Thoele for Summary Judgment as to Plaintiffs' Tortious
                                 Interference Claim. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                                 # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                                 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L)(Stephens, John)
                                 (Modified on 6/10/2021 to remove link to #367 memorandum) (mkw).
         06/10/2021   396        OPPOSITION by Justin Adkins to 360 MOTION by CSX Transportation,
                                 Inc., Elizabeth Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S.
                                 Heligman, Delando Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus
                                 Thoele for Summary Judgment as to Plaintiffs' Claim Under the FRSA. 364
                                 Memorandum In Support, (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                                 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                 Exhibit M)(Stephens, John) (Modified on 6/11/2021 to remove link to #364
                                 memorandum) (mkw).
         06/10/2021   397        RESPONSE by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 Defendants' 360 MOTION for Summary Judgment on Plaintiffs' Claim for
                                                                                          USCA4         92
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                                 Wrongful Discharge and Plaintiffs' Claims Under ERISA, the Rehabilitation
                                 Act and The West Virginia Human Rights Act. (Attachments: # 1 Exhibit 1:
                                 Dr. Heligman Transcript of Depositions)(Paul, Gregory) (Modified on
                                 6/11/2021 to remove link to #362 memorandum and add link to #360 motion)
                                 (mkw).
         06/10/2021   398        RESPONSE by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 Defendants' 360 MOTION for Summary Judgment as to Plaintiffs' Claim
                                 Under the FMLA. (Paul, Gregory) (Modified on 6/11/2021 to remove link to
                                 #363 memorandum and add link to #360 motion) (mkw).
         06/10/2021   399        MEMORANDUM by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby
                                 Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James Blain,
                                 Justin Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy
                                 Christian, Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 360 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom
                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele for Summary Judgment as to
                                 Plaintiffs' Defamation Claim. (Garella, Charles)
         06/10/2021   400        MEMORANDUM by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby
                                 Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James Blain,
                                 Justin Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy
                                 Christian, Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                                                                         USCA4        93
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                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 360 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom
                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele for Summary Judgment,
                                 MEMORANDUM by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby
                                 Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James Blain,
                                 Justin Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy
                                 Christian, Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 360 MOTION by CSX Transportation, Inc., Elizabeth Creedon, Tom
                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele for Summary Judgment as to
                                 Plaintiffs' Invasion of Privacy Claim. (Attachment: # 1 Exhibit Deposition of
                                 Shawn Lusk)(Garella, Charles)
         06/11/2021   401        AMENDED NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon,
                                 Brandon Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber,
                                 Jason Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of Tom DeAngelo on June 15, 2021 at 10:00 A.M.
                                 (Garella, Charles)
         06/14/2021   402        MOTION by CSX Transportation, Inc. to Strike certain Plaintiffs' wage−loss
                                 claims as a result of their persistent failure to produce complete
                                 post−termination wage loss evidence in discovery and striking Plaintiffs'
                                 expert, Jeffrey B. Opp, for his failure to produce a timely and complete report.
                                 (Attachments: # 1 Exhibit 1 − Representative Responses to Discovery, # 2
                                 Exhibit 2 − Demonstrative Chart, # 3 Exhibit 3 − Jeffrey Opp Report, # 4
                                 Exhibit 4 − Correspondence with opposing counsel)(Bird, Melissa)
         06/14/2021   403
                                                                                          USCA4        94
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                                 STATEMENT OF VISITING ATTORNEY by Davis M. Walsh on behalf of
                                 CSX Transportation, Inc. Local counsel: Melissa Foster Bird. Fee $50.00.
                                 Receipt # AWVSDC−7967003. (Bird, Melissa) (Modified on 6/15/2021 to add
                                 name of visiting attorney in the docket text) (mkw).
         06/14/2021   404        STATEMENT OF VISITING ATTORNEY by Samuel Lewis Tarry, Jr. on
                                 behalf of CSX Transportation, Inc. Local counsel: Melissa Foster Bird. Fee
                                 $50.00. Receipt # AWVSDC−7967007. (Bird, Melissa)
         06/14/2021   405        AMENDED NOTICE OF VIDEOTAPED DEPOSITION by Tony Abdon,
                                 Brandon Adkins, Justin Adkins, Bobby Akers, John Baker, Gerald Barber,
                                 Jason Barker, John Bills, James Blain, Justin Blake, Devery Brown, Michael
                                 Campbell, John Carpenter, Quincy Christian, Michael Clark, Randall
                                 Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker, John
                                 Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis Hutchinson,
                                 Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham, Chad Little,
                                 Sammy Maddix, David Manis, Jacqueline Marshall, Homer Maynard, Scott
                                 Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens,
                                 Kevin Palmer, Shawn Patterson, Michael Potter, Michael L. Potter, Michael D.
                                 Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric
                                 Speaks, Donald Stephens, Danny Stewart, Christopher Clay Stiltner, Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods of Elizabeth Creedon on June 16, 2021 at 12:00 p.m.
                                 (Garella, Charles)
         06/14/2021   406        MOTION by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods to Compel
                                 Discovery Responses. (Attachment: # 1 Proposed Order)(Paul, Gregory)
         06/14/2021   407        MEMORANDUM OF LAW by Tony Abdon, Brandon Adkins, Justin Adkins,
                                 Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James
                                 Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                                                                         USCA4        95
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                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 in support of 406 MOTION to Compel Discovery Responses. (Attachments: #
                                 1 Exhibit 1: Def. Privilege Log, # 2 Exhibit 2: Testimony re: emails and
                                 preservation, # 3 Exhibit 3: Dr. Heligman testimont, # 4 Exhibit 4: Amended
                                 Notice of 30(b)(6))(Paul, Gregory)
         06/14/2021   408        TELEPHONIC CASE MANAGEMENT CONFERENCE held by Judge
                                 Robert C. Chambers on 6/14/2021; Court Reporter: Kathy Swinhart. (trj)
         06/14/2021   409        ORDER directing the parties to meet and confer on or before 6/21/2021, to
                                 discuss Defendant's claim of inadequate post−termination wage information;
                                 Plaintiff will then have until 6/28/2021, to file a formal response to
                                 Defendants' 402 Motion to Strike. Signed by Judge Robert C. Chambers on
                                 6/14/2021. (cc: counsel of record; any unrepresented parties) (hkl)
         06/14/2021              MOTION REFERRED to Magistrate Judge Cheryl A. Eifert: 406 MOTION
                                 by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers, John Baker,
                                 Gerald Barber, Jason Barker, John Bills, James Blain, Justin Blake, Devery
                                 Brown, Michael Campbell, John Carpenter, Quincy Christian, Michael Clark,
                                 Randall Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry Flocker,
                                 John Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis
                                 Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham,
                                 Chad Little, Sammy Maddix, David Manis, Jacqueline Marshall, Homer
                                 Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier,
                                 Michael Owens, Kevin Palmer, Shawn Patterson, Michael Potter, Michael L.
                                 Potter, Michael D. Potter, Zack Potter, Samuel Preston, Jonathan Rowe,
                                 Dennis Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher
                                 Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer, The Estate of Chad
                                 Little, Travis Thornsberry, Jessee Wallace, Lloyd Williams, Michael
                                 Williams, Timothy Witt, Matthew Woods to Compel Discovery Responses.
                                 (mkw) (Entered: 06/15/2021)
         06/21/2021   410        REPLY MEMORANDUM by Tony Abdon, Brandon Adkins, Justin Adkins,
                                 Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James
                                 Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 to 382 Response In Opposition. (Attachments: # 1 Exhibit 1: Termination
                                 Letters Redacted, # 2 Exhibit 2: Emerson Deposition, # 3 Exhibit 3: Lusk
                                 Deposition)(Paul, Gregory)
         06/24/2021   411        REPLY by CSX Transportation, Inc., Milton Storm, Elizabeth Creedon, Tom
                                                                                        USCA4        96
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                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Gus Thoele to Plaintiffs' 400 Memorandum In
                                 Opposition. (Attachment: # 1 Exhibit 1 − Gus Thoele deposition
                                 excerpt)(Bird, Melissa) (Modified on 6/24/2021 to add party filer) (mkw).
         06/24/2021   412        REPLY by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele to Plaintiff Justin Adkins' 395 Opposition.
                                 (Attachments: # 1 Exhibit 1 − Shannon Johnson deposition excerpt, # 2
                                 Exhibit 3 − Daniel Carey deposition excerpt)(Bird, Melissa)
         06/24/2021   413        REPLY MEMORANDUM by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele to 398 Response In
                                 Opposition. (Attachments: # 1 Exhibit 1 − Shannon Johnson deposition
                                 excerpts, # 2 Exhibit 2 − Heligman deposition excerpts, # 3 Exhibit 3 − Dreher
                                 deposition excperts, # 4 Exhibit 4 − Macon Jones deposition excerpts, # 5
                                 Exhibit 5 − Demonstrative Chart)(Bird, Melissa)
         06/24/2021   414        REPLY by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele to their 365 Memorandum In Support.
                                 (Bird, Melissa)
         06/24/2021   415        REPLY MEMORANDUM by CSX Transportation, Inc., Elizabeth Creedon,
                                 Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones,
                                 Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele to 397 Response In
                                 Opposition. (Attachment: # 1 Exhibit 1 − Heligman letter re medical
                                 documentation, # 2 Exhibit 2 − Heligman deposition excerpts, # 3 Exhibit 3 −
                                 Dreher deposition excerpts, # 4 Exhibit 4 − Macon Jones deposition
                                 excerpts)(Bird, Melissa)
         06/24/2021   416        REPLY by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele to 399 Memorandum In Opposition.
                                 (Attachments: # 1 Exhibit 1 − Shannon Johnson deposition excerpts, # 2
                                 Exhibit 2 − Heligman deposition excerpts)(Bird, Melissa)
         06/24/2021   417        REPLY by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele to Plaintiffs' 396 Opposition.
                                 (Attachments: # 1 Exhibit 1 − Demonstrative Chart Testimony re safety
                                 reporting, # 2 Exhibit 2 − Demonstrative Chart OSHA Allegations, # 3 Exhibit
                                 3 − Kelly Crouch deposition excerpts, # 4 Exhibit 4 − CSXT Labor Agreement
                                 16−017−16)(Bird, Melissa)
         06/25/2021   418        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for COS for
                                 CSXT's Supplemental Responses to Plaintiffs' Amended Notice of 30(b)(6)
                                 Requests for Production of Documents and Supplemental Privilege Log. (Bird,
                                 Melissa)
         06/28/2021   419        RESPONSE by CSX Transportation, Inc., Elizabeth Creedon, Tom DeAngelo,
                                 Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn Lusk, Curt
                                 Shogren, Milton Storm, Gus Thoele in opposition to 406 MOTION by all
                                 Plaintiffs to Compel Discovery Responses. (Attachment: # 1 Exhibit 1 −
                                                                                        USCA4        97
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                                 Heligman deposition excerpt)(Bird, Melissa)
         06/28/2021   420        RESPONSE by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods in opposition to
                                 402 MOTION by CSX Transportation, Inc. to Strike certain Plaintiffs'
                                 wage−loss claims as a result of their persistent failure to produce complete
                                 post−termination wage loss evidence in discovery and striking Plaintiffs'
                                 expert, Jeffrey B. Opp. (Attachments: # 1 Exhibit 1: Def. Request for Tax
                                 Records (exemplar), # 2 Exhibit 2: 6−10−21 Letter, # 3 Exhibit 3: 6−23−21
                                 Letter, # 4 Exhibit 4: Excerpt Kelley Depo, # 5 Exhibit 5: Excerpt Potter Dep,
                                 # 6 Exhibit 6: 2−12−21 Email, # 7 Exhibit 7: 6−18−21 Email)(Paul, Gregory)
         07/06/2021   421        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Supplemental
                                 Rule 26(a)(1)(A)(iv) Initial Disclosures. (Bird, Melissa)
         07/06/2021   422        REPLY by CSX Transportation, Inc. to Plaintiffs' 420 Response In
                                 Opposition. (Bird, Melissa) (Modified on 7/6/2021 to remove link to #402
                                 motion and add link to #420 response) (mkw).
         07/06/2021   423        REPLY by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers, John
                                 Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin Blake,
                                 Devery Brown, Michael Campbell, John Carpenter, Quincy Christian, Michael
                                 Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua Ferguson, Jerry
                                 Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory Hamm, Dennis
                                 Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley, Deanna Lanham,
                                 Chad Little, Sammy Maddix, David Manis, Jacqueline Marshall, Homer
                                 Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy Napier,
                                 Michael Owens, Kevin Palmer, Shawn Patterson, Michael Potter, Michael L.
                                 Potter, Michael D. Potter, Zack Potter, Samuel Preston, Jonathan Rowe,
                                 Dennis Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher
                                 Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer, The Estate of Chad
                                 Little, Travis Thornsberry, Jessee Wallace, Lloyd Williams, Michael
                                 Williams, Timothy Witt, Matthew Woods to 419 Response In Opposition.
                                 (Attachments: # 1 Exhibit A − 1st Privilege Log, # 2 Exhibit B − 2d Privilege
                                 Log, # 3 Exhibit C − 3d Privilege Log, # 4 Exhibit D − Creedon Depo, # 5
                                 Exhibit E − Pages from 6/25 Production, # 6 Exhibit F − Email re: Rule
                                 30(b)(6) witnesses, # 7 Exhibit G − CSX Supplemental Disclosures)(Garella,
                                 Charles)
         07/09/2021   424        ORDER scheduling a hearing on the parties' pending 360 and 368 MOTIONS
                                 for Summary Judgment on 8/5/2021 at 1:30 PM in Huntington before Judge
                                                                                         USCA4        98
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                                 Robert C. Chambers. Signed by Judge Robert C. Chambers on 7/9/2021. (cc:
                                 counsel of record; any unrepresented parties) (jsa)
         07/12/2021   425        ORDER directing that a Telephonic Motion Hearing on Plaintiffs' 406
                                 MOTION to Compel Discovery Responses shall take place on 7/19/2021 at
                                 11:00 AM before Magistrate Judge Cheryl A. Eifert. Signed by Magistrate
                                 Judge Cheryl A. Eifert on 7/12/2021. (cc: counsel; any unrepresented parties)
                                 (hkl)
         07/15/2021   426        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Defendant
                                 CSXT's First Amended Supplemental Privilege Log. (Bird, Melissa)
         07/15/2021   427        ORDER granting in part and denying in part Defendants' 402 MOTION to
                                 Strike; the Motion is granted to the extent it seeks to strike the wage loss
                                 claims of Plaintiffs Grover Kelley and Michael L. Potter; if Plaintiffs Jeremy
                                 Napier and Dennis Sargent have not yet produced their missing W−2 forms,
                                 their wage loss claims for those years are stricken; the Motion is denied to the
                                 extent it seeks to strike the wage loss claims of the remaining Plaintiffs; the
                                 Motion is denied to the extent it seeks to strike Plaintiffs' expert Mr. Opp;
                                 directing the Parties to communicate with each other and promptly schedule
                                 the deposition of Mr. Opp, should Defendants desire to take it; further
                                 extending the discovery/deposition deadline to accommodate the completion
                                 of his deposition; if the Parties have difficulty agreeing upon a timely
                                 deposition, they shall contact the Court immediately. Signed by Judge Robert
                                 C. Chambers on 7/15/2021. (cc: counsel of record; any unrepresented parties)
                                 (jsa)
         07/19/2021   428        TELEPHONIC MOTION HEARING held by Magistrate Judge Cheryl A.
                                 Eifert on 7/19/2021, re: Plaintiffs' 406 MOTION to Compel Discovery
                                 Responses; Court Reporter: CourtSmart. (hkl)
         07/19/2021   429        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Second
                                 Amended Supplemental Privilege Log. (Bird, Melissa)
         07/20/2021   430        ORDER granting in part and denying in part Plaintiffs' 406 MOTION to
                                 Compel Discovery Responses; denying Plaintiffs' request to compel the
                                 deposition of T.J. Toeler; granting Plaintiffs' request to take a Rule 30(b)(6)
                                 deposition of Craig Heligman, M.D., concerning the topics provided in the
                                 deposition notice except for the topic concerning Defendants' document
                                 retention and destruction policies; directing the parties to file on or before
                                 7/29/2021, briefs in which they argue their respective positions concerning the
                                 Rule 30(b)(6) topic concerning Defendants' document retention and
                                 destruction policies; directing Plaintiffs to identify no more than 30 documents
                                 from Defendant's recent privilege log for in camera review; Plaintiffs were
                                 ordered to notify Defendant CSX Transportation, Inc., on 7/19/2021, which 30
                                 documents they identified, and Defendant shall provide the selected
                                 documents tothe undersigned for in camera review on or before 7/22/2021 as
                                 more fully set forth herein. Signed by Magistrate Judge Cheryl A. Eifert on
                                 7/20/2021. (cc: counsel; any unrepresented parties) (hkl)
         07/20/2021   431        NOTICE OF DEPOSITION DUCES TECUM by CSX Transportation, Inc. of
                                 Michael Freeman on August 4, 2021 at 10:00 a.m. EST (Bird, Melissa)
         07/28/2021   432        NOTICE OF DEPOSITION by CSX Transportation, Inc. of Jeffrey B. Opp on
                                 August 20, 2021 and August 21, 2021 at 9:00 a.m. MT (11:00 a.m. ET) (Bird,
                                                                                          USCA4         99
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                                 Melissa)
         07/29/2021   433        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Third
                                 Amended Supplemental Privilege Log. (Bird, Melissa)
         07/29/2021   434        CERTIFICATE OF SERVICE by CSX Transportation, Inc., Elizabeth
                                 Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando
                                 Jones, Shawn Lusk, Curt Shogren, Milton Storm, Gus Thoele for Rule
                                 26(a)(3) Pretrial Disclosures. (Bird, Melissa)
         07/29/2021   435        INCORRECT ENTRY; SEE ENTRY #438. (Dingwall, Jeffrey) (Modified on
                                 7/30/2021 to detach image and file as entry #438) (mkw).
         07/29/2021   436        BRIEF by CSX Transportation, Inc. in opposition to Plaintiffs' Request for a
                                 Corporate Representative Deposition on the Topic of Defendants' Document
                                 Retention and Destruction Policies in response to the court's 430 Order.
                                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Bird, Melissa)
                                 (Modified on 7/30/2021 to remove link to #314 notice to take or amend
                                 deposition and to add link to #430 order) (mkw).
         07/29/2021   437        CERTIFICATE OF SERVICE by Tony Abdon, Brandon Adkins, Justin
                                 Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John Bills,
                                 James Blain, Justin Blake, Devery Brown, Michael Campbell, John Carpenter,
                                 Quincy Christian, Michael Clark, Randall Craycraft, James Deal, Chad
                                 Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods
                                 for Rule 26(a)(3) Pretrial Disclosures. (Dingwall, Jeffrey)
         07/29/2021   438        BRIEF by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers, John
                                 Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin Blake,
                                 Devery Brown, Michael Campbell, John Carpenter, Quincy Christian, Michael
                                 Clark, Randall Craycraft, Elizabeth Creedon, Tom DeAngelo, James Deal,
                                 Chad Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover
                                 Kelley, Shawn Lusk, Sammy Maddix, David Manis, Jacqueline Marshall,
                                 Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins, Jeremy
                                 Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael L. Potter,
                                 Michael D. Potter, Zack Potter, Samuel Preston, Jonathan Rowe, Dennis
                                 Sargent, Eric Speaks, Donald Stephens, Danny Stewart, Christopher Clay
                                 Stiltner, James Stinnett, Todd Thayer, The Estate of Chad Little, Travis
                                 Thornsberry, Jessee Wallace, Lloyd Williams, Michael Williams, Timothy
                                 Witt, Matthew Woods Regarding Fed. R. Civ. P. 30(b)(6) Topics Concerning
                                 Defendants' Document Retention and Destruction Policies in response to the
                                 Court's 430 Order. (Attachments: # 1 Exhibit A − Supp. Initial Disclosures, #
                                 2 Exhibit B − Initial Disclosures, # 3 Exhibit C − Heligman Initial Disclosures,
                                 # 4 Exhibit D − Email from Opp. Counsel, # 5 Exhibit E − Storm Depo
                                                                                        USCA4        100
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                                 Excerpt, # 6 Exhibit F − Heligman Depo Excerpt) (mkw) (Entered:
                                 07/30/2021)
         07/30/2021              NOTICE OF DOCKET CORRECTION re: 435 Supplemental Motion. Error:
                                 Incorrect event selected. Correction: Detached image and filed using the event
                                 response to court order. (mkw)
         07/30/2021   439        ORDER denying in part Plaintiffs' 368 MOTION for Partial Summary
                                 Judgment; granting in part Defendants' 360 MOTION for Summary Judgment;
                                 Plaintiffs' defamation claim is DISMISSED. Signed by Judge Robert C.
                                 Chambers on 7/30/2021. (cc: counsel of record; any unrepresented parties)
                                 (jsa)
         07/30/2021   440        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; Plaintiffs' wrongful discharge claim is
                                 DISMISSED. Signed by Judge Robert C. Chambers on 7/30/2021. (cc:
                                 counsel of record; any unrepresented parties) (jsa)
         08/02/2021   441        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; Plaintiffs' invasion of privacy claim is
                                 DISMISSED. Signed by Judge Robert C. Chambers on 8/2/2021. (cc: counsel
                                 of record; any unrepresented parties) (jsa)
         08/02/2021   442        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; Plaintiffs' intentional infliction of
                                 emotional distress claim is DISMISSED. Signed by Judge Robert C.
                                 Chambers on 8/2/2021. (cc: counsel of record; any unrepresented parties) (jsa)
         08/02/2021   443        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; Plaintiffs' tortious interference claim is
                                 DISMISSED. Signed by Judge Robert C. Chambers on 8/2/2021. (cc: counsel
                                 of record; any unrepresented parties) (jsa)
         08/05/2021   444        MOTION HEARING held by Judge Robert C. Chambers on 8/5/2021; Court
                                 Reporter: Kathy Swinhart. (trj)
         08/10/2021   445        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; Plaintiffs' Federal Railroad Safety Act
                                 claim is DISMISSED. Signed by Judge Robert C. Chambers on 8/10/2021.
                                 (cc: counsel of record; any unrepresented parties) (jsa)
         08/10/2021   446        MOTION by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby Akers,
                                 John Baker, Gerald Barber, Jason Barker, John Bills, James Blain, Justin
                                 Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy Christian,
                                 Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods for Leave to File
                                                                                       USCA4         101
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                                 Supplemental Briefing on Summary Judgment Motions. (Attachments: # 1
                                 Affidavit of Kiel Garella, # 2 Exhibit A − Thoele Depo, # 3 Exhibit B −
                                 Creedon Depo, # 4 Exhibit C − Deangelo Depo)(Dingwall, Jeffrey)
         08/10/2021   447        ORDER directing Defendants to file their response(s) to Plaintiffs' 446
                                 MOTION for Leave to File Supplemental Briefing on Summary Judgment
                                 Motions on or before 8/17/2021; Plaintiffs shall then have two days to file a
                                 reply. Signed by Judge Robert C. Chambers on 8/10/2021. (cc: counsel of
                                 record; any unrepresented parties) (jsa)
         08/11/2021   448        OPPOSITION by CSX Transportation, Inc., Elizabeth Creedon, Tom
                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele to 446 MOTION by All
                                 Plaintiffs for Leave to File Supplemental Briefing on Summary Judgment
                                 Motions. (Attachments: # 1 Exhibit 1 − Email Aug 6, 2021, # 2 Exhibit 2 −
                                 Email Aug 8, 2021, # 3 Exhibit 3 − Deposition transcripts of Dr. Heligman, #
                                 4 Exhibit 4 − Email April 28, 2021, # 5 Exhibit 5 − Email July 13, 2021, # 6
                                 Exhibit 6 − Aug 6, 2021 correspondence chain, # 7 Exhibit 7 − deposition
                                 transcript of Penny Dreher, # 8 Exhibit 8 − deposition transcript of Brian Barr,
                                 # 9 Exhibit 9 − deposition transcript of Kelly Crouch, # 10 Exhibit 10 −
                                 deposition transcript of Jolanda Johnson)(Bird, Melissa)
         08/12/2021   449        ORDER setting a Telephonic Hearing for 8/19/2021 at 9:30 AM before
                                 Magistrate Judge Cheryl A. Eifert. Signed by Magistrate Judge Cheryl A.
                                 Eifert on 8/12/2021. (cc: counsel of record; any unrepresented parties) (hkl)
         08/13/2021   450        REPLY BRIEF by Tony Abdon, Brandon Adkins, Justin Adkins, Bobby
                                 Akers, John Baker, Gerald Barber, Jason Barker, John Bills, James Blain,
                                 Justin Blake, Devery Brown, Michael Campbell, John Carpenter, Quincy
                                 Christian, Michael Clark, Randall Craycraft, James Deal, Chad Dowdy, Joshua
                                 Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki, Joshua Hall, Gregory
                                 Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric Jordan, Grover Kelley,
                                 Deanna Lanham, Chad Little, Sammy Maddix, David Manis, Jacqueline
                                 Marshall, Homer Maynard, Scott Morrison, Robert Mosteller, Ethan Mullins,
                                 Jeremy Napier, Michael Owens, Kevin Palmer, Shawn Patterson, Michael
                                 Potter, Michael L. Potter, Michael D. Potter, Zack Potter, Samuel Preston,
                                 Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald Stephens, Danny
                                 Stewart, Christopher Clay Stiltner, Clay Stiltner, James Stinnett, Todd Thayer,
                                 The Estate of Chad Little, Travis Thornsberry, Jessee Wallace, Lloyd
                                 Williams, Michael Williams, Timothy Witt, Matthew Woods to 448
                                 Opposition. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Paul,
                                 Gregory)
         08/17/2021   451        CERTIFICATE OF SERVICE by CSX Transportation, Inc. for Fourth
                                 Amended Supplemental Privilege Log. (Bird, Melissa)
         08/18/2021   452        MEMORANDUM OPINION AND ORDER denying Plaintiffs' 446 MOTION
                                 for Leave to File Supplemental Briefing on Summary Judgment Motions.
                                 Signed by Judge Robert C. Chambers on 8/18/2021. (cc: counsel of record and
                                 any unrepresented parties) (mkw)
         08/19/2021   453        TELEPHONIC DISCOVERY STATUS CONFERENCE held by Magistrate
                                 Judge Cheryl A. Eifert on 8/19/2021; Court Reporter: CourtSmart. (hkl)
         08/19/2021   454
                                                                                        USCA4         102
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                                 ORDER directing Defendants to produce DOC 00001802, DOC 00001935,
                                 DOC 00002707, and DOC 00002766 within three (3) business days if those
                                 documents have not yet been produced; directing Defendants, as to the Rule
                                 30(b)(6) deposition, to produce a corporate designee to answer questions
                                 related to the document retention and destruction policies already produced.
                                 Signed by Magistrate Judge Cheryl A. Eifert on 8/19/2021. (cc: counsel of
                                 record) (hkl)
         08/23/2021   455        MEMORANDUM OPINION AND ORDER granting in part Defendants' 360
                                 MOTION for Summary Judgment; denying in part Plaintiffs' 368 MOTION
                                 for Partial Summary Judgment; dismissing Plaintiffs' FMLA, ERISA, West
                                 Virginia Human Rights Act, and Rehabilitation Act claims. Signed by Judge
                                 Robert C. Chambers on 8/23/2021. (cc: counsel of record; any unrepresented
                                 parties) (hkl)
         08/23/2021   456        JUDGMENT ORDER with entry of the accompanying 455 Memorandum
                                 Opinion and Order, awarding summary judgment in favor of Defendants on
                                 the remaining claims; as all claims now have been resolved in favor of
                                 Defendants, directing that judgment be issued in their favor and that this case
                                 be dismissed and stricken from the docket of this Court. Signed by Judge
                                 Robert C. Chambers on 8/23/2021. (cc: counsel of record; any unrepresented
                                 parties) (hkl)
         08/23/2021   457        TRANSMITTED CERTIFIED COPY of 456 Judgment Order to counsel of
                                 record and any unrepresented parties. (hkl)
         09/10/2021   458        TRANSCRIPT OF PROCEEDINGS of Motion Hearing held on August 5,
                                 2021, before Judge Robert C. Chambers. Court Reporter Kathy Swinhart,
                                 Telephone number 304−528−7583. Transcript may be viewed at the court
                                 public terminal or purchased through the Court Reporter before the deadline
                                 for Release of Transcript Restriction. After that date it may be obtained
                                 through PACER. Notice of Intent to Redact due 9/20/2021. Redaction Request
                                 due 10/1/2021. Redacted Transcript Deadline set for 10/12/2021. Release of
                                 Transcript Restriction set for 12/9/2021. (kls)
         09/13/2021   459        NOTICE OF FILING OF OFFICIAL TRANSCRIPT for pro se and
                                 non−electronic filers re: 458 TRANSCRIPT of Motion Hearing held on
                                 August 5, 2021, before Judge Robert C. Chambers. Court Reporter Kathy
                                 Swinhart, Telephone number 304−528−7583. (klc)
         09/21/2021   460        PROPOSED BILL OF COSTS by CSX Transportation, Inc., Elizabeth
                                 Creedon, Tom DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando
                                 Jones, Shawn Lusk, Curt Shogren, Gus Thoele (Attachments: # 1 Exhibit Ex. 1
                                 Transcripts Cost Chart, # 2 Exhibit Ex. 2 Deposition Transcript
                                 Invoices)(Bird, Melissa)
         09/21/2021   461        NOTICE OF APPEAL WITH FEE PAID by Tony Abdon, Brandon Adkins,
                                 Justin Adkins, Bobby Akers, John Baker, Gerald Barber, Jason Barker, John
                                 Bills, James Blain, Justin Blake, Devery Brown, Michael Campbell, John
                                 Carpenter, Quincy Christian, Michael Clark, Randall Craycraft, James Deal,
                                 Chad Dowdy, Joshua Ferguson, Jerry Flocker, John Frasure, Edwin Glowacki,
                                 Joshua Hall, Gregory Hamm, Dennis Hutchinson, Jonathan Jeffers, Eric
                                 Jordan, Grover Kelley, Deanna Lanham, Chad Little, Sammy Maddix, David
                                 Manis, Jacqueline Marshall, Homer Maynard, Scott Morrison, Robert
                                                                                        USCA4         103
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                                 Mosteller, Ethan Mullins, Jeremy Napier, Michael Owens, Kevin Palmer,
                                 Shawn Patterson, Michael Potter, Michael L. Potter, Michael D. Potter, Zack
                                 Potter, Samuel Preston, Jonathan Rowe, Dennis Sargent, Eric Speaks, Donald
                                 Stephens, Danny Stewart, Christopher Clay Stiltner, Clay Stiltner, James
                                 Stinnett, Todd Thayer, The Estate of Chad Little, Travis Thornsberry, Jessee
                                 Wallace, Lloyd Williams, Michael Williams, Timothy Witt, Matthew Woods;
                                 re: 166 , 427 , 430 , 439 , 440 , 441 , 442 , 443 , 445 , 452 , 454 , 455 , 456 and
                                 [457 Orders. Filing Fee $505. Receipt # AWVSDC−8037879. (Garella,
                                 Charles) (Modified on 9/22/2021 to add link to various orders under appeal)
                                 (mkw).
         09/22/2021   462        TRANSMITTAL OF NOTICE OF APPEAL TO 4CCA via APPEAL
                                 TRANSMITTAL SHEET re: 461 Notice of Appeal to the 4CCA of 166 , 427 ,
                                 430 , 439 , 440 , 441 , 442 , 443 , 445 , 452 , 454 , 455 , 456 and 457 Orders.
                                 (jsa)
         09/27/2021   463        NOTICE OF APPELLATE CASE OPENING BY 4CCA re: 461 Notice of
                                 Appeal to the 4CCA in 4CCA Case No. 21−2051. Case Manager: T. Fischer.
                                 (mkw)
         10/05/2021   464        TRANSCRIPT PURCHASE ORDER by Michael Williams, Chad Little,
                                 Sammy Maddix, Edwin Glowacki, Danny Stewart, Gerald Barber, Travis
                                 Thornsberry, Donald Stephens, Michael Potter, Michael L. Potter, John
                                 Frasure, Gregory Hamm, Clay Stiltner, Tony Abdon, John Carpenter, David
                                 Manis, Zack Potter, The Estate of Chad Little, Jonathan Rowe, Randall
                                 Craycraft, John Bills, Ethan Mullins, Deanna Lanham, Shawn Patterson, Jerry
                                 Flocker, Joshua Hall, Kevin Palmer, Matthew Woods, Robert Mosteller,
                                 Michael D. Potter, Jacqueline Marshall, Jessee Wallace, Lloyd Williams,
                                 Bobby Akers, Scott Morrison, Christopher Clay Stiltner, Samuel Preston,
                                 James Deal, Justin Adkins, Timothy Witt, Justin Blake, Michael Clark, Quincy
                                 Christian, Devery Brown, Chad Dowdy, Eric Jordan, Grover Kelley, Homer
                                 Maynard, James Stinnett, Joshua Ferguson, Eric Speaks, Jason Barker,
                                 Michael Campbell, James Blain, Dennis Sargent, Dennis Hutchinson, Michael
                                 Owens, Jonathan Jeffers, John Baker, Brandon Adkins, Jeremy Napier, Todd
                                 Thayer for proceedings held on 6/14/21, 7/19/21, 8/5/21, 8/19/21 before Judge
                                 Robert C. Chambers. (Dingwall, Jeffrey)
         10/08/2021   465        TRANSCRIPT ORDER ACKNOWLEDGMENT with Forms Attached 4CCA
                                 Case Number: 21−2051. Court Reporter: Kathy Swinhart. Transcript due on
                                 12/14/2021. Dates of Proceedings: 8/5/2021, 8/19/2021, 7/19/2021, 6/14/2021.
                                 (jsa)
         10/19/2021   466        APPEAL TRANSCRIPT FILED of Telephonic Case Management Conference
                                 for dates of June 14, 2021, before Judge Robert C. Chambers, re 461 Notice of
                                 Appeal to the 4CCA, Court Reporter Kathy Swinhart, Telephone number
                                 304−528−7583. Transcript may be viewed at the court public terminal or
                                 purchased through the Court Reporter before the deadline for Release of
                                 Transcript Restriction. After that date it may be obtained through PACER.
                                 Does this satisfy all appellate orders for this reporter? − No. Notice of Intent to
                                 Redact due 10/29/2021. Redaction Request due 11/9/2021. Redacted
                                 Transcript Deadline set for 11/19/2021. Release of Transcript Restriction set
                                 for 1/18/2022. (kls)
         10/21/2021   467
                                                                                          USCA4         104
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                                 APPEAL TRANSCRIPT FILED of Telephonic Motion Hearing for dates of
                                 July 19, 2021, before Magistrate Judge Cheryl A. Eifert, re 461 Notice of
                                 Appeal to the 4CCA, Court Reporter Kathy Swinhart, Telephone number
                                 304−528−7583. Transcript may be viewed at the court public terminal or
                                 purchased through the Court Reporter before the deadline for Release of
                                 Transcript Restriction. After that date it may be obtained through PACER.
                                 Does this satisfy all appellate orders for this reporter? − No. Notice of Intent to
                                 Redact due 11/1/2021. Redaction Request due 11/12/2021. Redacted
                                 Transcript Deadline set for 11/22/2021. Release of Transcript Restriction set
                                 for 1/19/2022. (kls)
         10/21/2021   468        APPEAL TRANSCRIPT FILED of Telephonic Discovery Status Conference
                                 for dates of August 19, 2021, before Magistrate Judge Cheryl A. Eifert, re 461
                                 Notice of Appeal to the 4CCA, Court Reporter Kathy Swinhart, Telephone
                                 number 304−528−7583. Transcript may be viewed at the court public terminal
                                 or purchased through the Court Reporter before the deadline for Release of
                                 Transcript Restriction. After that date it may be obtained through PACER.
                                 Does this satisfy all appellate orders for this reporter? − Yes. Notice of Intent
                                 to Redact due 11/1/2021. Redaction Request due 11/12/2021. Redacted
                                 Transcript Deadline set for 11/22/2021. Release of Transcript Restriction set
                                 for 1/19/2022. (kls)
         10/21/2021   469        NOTICE OF FILING OF OFFICIAL TRANSCRIPT for pro se and
                                 non−electronic filers re 466 Appeal Transcript of Telephonic Case
                                 Management Conference held on June 14, 2021, before Judge Robert C.
                                 Chambers, 467 Appeal Transcript of Telephonic Motion Hearing held on July
                                 19, 2021, before Magistrate Judge Cheryl A. Eifert, and 468 Appeal Transcript
                                 of Telephonic Discovery Status Conference held on August 19, 2021, before
                                 Magistrate Judge Cheryl A. Eifert. Court Reporter: Kathy Swinhart, Telephone
                                 number 304−528−7583. (klc)
         07/07/2022   470        PROPOSED ORDER Agreed Order of Dismissal by Plaintiffs listed as more
                                 fully set forth herein, CSX Transportation, Inc., Elizabeth Creedon, Tom
                                 DeAngelo, Kenneth Ray Emerson, Craig S. Heligman, Delando Jones, Shawn
                                 Lusk, Curt Shogren, Milton Storm, Gus Thoele. (Bird, Melissa) (Modified on
                                 7/7/2022 to add party filers) (mkw).
         07/11/2022   471        AGREED ORDER OF DISMISSAL directing that claims of the Plaintiffs
                                 listed herein against the Defendants are DISMISSED WITH PREJUDICE; the
                                 herein−listed Plaintiffs and the Defendants shall bear their own costs. Signed
                                 by Judge Robert C. Chambers on 7/11/2022. (cc: counsel of record) (jsa)
         07/11/2022   472        TRANSMITTED CERTIFIED COPY of 471 Agreed Order of Dismissal to
                                 counsel of record. (jsa)




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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  HUNTINGTON DIVISION

         JUSTIN ADKINS; JUSTIN BLAKE; EDWIN
         GLOWACKI; ERIC JORDAN; KEVIN PALMER;
         SAMUEL PRESTON; DENNIS SARGENT;
         TRAVIS      THORNSBERRY;     MICHAEL
         WILLIAMS; JOHN BAKER; JAMES BLAIN;
         DEVERY BROWN; JAMES DEAL; JONATHAN
         JEFFERS; ROBERT MOSTELLER; MICHAEL L.
         POTTER; MICHAEL D. POTTER; JESSE
         WALLACE; TIMOTHY WITT; BOBBY AKERS;
         GERALD BARBER; JOHN BILLS; MICHAEL
         CLARK; RANDALL CRAYCRAFT; JOHN
         FRASURE; JOSHUA HALL; SAMMY MADDIX;
         ZACK POTTER; JAMES STINNETT; TODD Civil Action Number: 3:18-cv-00321
         THAYER; DEANNA LANHAM; MICHAEL
         CAMPBELL; TONY ABDON; THE ESTATE OF
         CHAD     LITTLE;   BRANDON    ADKINS;
         JACQUELINE MARSHALL; HOMER MAYNARD;
         SCOTT MORRISON; JEREMY NAPIER; SHAWN
         PATTERSON; MATTHEW WOODS; JOHN
         CARPENTER; QUINCY CHRISTIAN; GREGORY
         HAMM; ETHAN MULLINS; MICHAEL OWENS;
         JONATHAN ROWE; DANNY STEWART; LLOYD
         WILLIAMS;    DAVID    MANIS;   JOSHUA
         FERGUSON;     ERIC  SPEAKS;   DONALD
         STEPHENS; JASON BARKER; CHAD DOWDY;
         JERRY    FLOCKER;   GROVER    KELLEY;
         CHRISTOPHER CLAY STILTNER; DENNIS
         HUTCHINSON;

                     Plaintiffs,

               vs.

         CSX    TRANSPORTATION,    INC.;  CSX
         CORPORATION; CRAIG S. HELIGMAN, M.D.;
         GUS THOELE; CURT SHOGREN; MILTON
         STORM; DELANDO JONES; TOM DEANGELO;
         SHAWN LUSK; ELIZABETH CREEDON; and
         KENNETH RAY EMERSON.

                     Defendants.



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                                       THIRD AMENDED COMPLAINT

               AND NOW, come the Plaintiffs, by and through their undersigned counsel and file the

        within Third Amended Complaint, to obtain declaratory relief and all available remedies under

        Section 510 of the Employee Retirement Income Security Act (ERISA), Section 504 of the

        Rehabilitation Act of 1973 (Rehab Act), the West Virginia Human Relations Act (WVHRA), the

        Family and Medical Leave Act (FMLA), the Federal Railroad Safety Act (FRSA) and state law

        causes of action including defamation, invasion of privacy, tortious interference, intentional

        infliction of emotional distress and wrongful discharge.

                                         JURISDICTION AND VENUE

               1.      Jurisdiction over plaintiffs’ claims is conferred on this Court pursuant to 29 U.S.C.

        § 1132, 28 U.S.C § 1331 and 28 U.S.C. § 1343(a)(4), and the plaintiffs request the Court to exercise

        supplemental jurisdiction over the plaintiff’s pendent state claims pursuant to 28 U.S.C. section

        1367. This is an action brought pursuant to section 510 of the Employee Retirement Income

        Security Act (ERISA), 29 U.S.C. 1001, et seq., under Section 504 of the Rehabilitation Act of

        1973, 29 U.S.C. 794 et seq., the West Virginia Human Relations Act, Title 5-11-1 et seq., under

        the Family and Medical Leave Act of 1993, 29 U.S.C. Sections 2601 et seq., under the Federal

        Railroad Safety Act, 49 U.S.C. § 20109, and state law causes of action. The Court has jurisdiction

        without respect to the amount in controversy or the citizenship of the parties of the federal causes

        of action and supplemental jurisdiction over the state law causes of action.

               2.      Venue is properly laid in this district pursuant to section 502(e)(2) of ERISA, 29

        U.S.C. §1132(e)(2), in that the subject employee benefit plan is administered in this district, the

        breaches of duty herein alleged occurred in this district, and most plaintiffs reside in this district,

        and pursuant to 28 U.S.C. §1391(b), in that the causes of action arose in this district.

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                                                   PARTIES

               3.      Each of the above Plaintiffs were employees of defendants who were terminated

        for, among other reasons, use of their health insurance, were accused of fraud to the federal

        government and private insurers, denied medical leave of absence and had their rights violated by

        exposing their medical records. Many of the Plaintiffs were employed at CSX’s Huntington

        Locomotive Shop and/or had their disciplinary hearing resulting in termination at 935 7th Avenue

        in Huntington, West Virginia.

               4.      CSX Transportation, Inc. (CSXT) is a rail carrier engaged in interstate commerce.

        CSXT is incorporated under the laws of Virginia, does business in 23 states, including West

        Virginia at 935 7th Avenue, Huntington, West Virginia, and maintains its corporate headquarters

        at 500 Water Street, Jacksonville, Florida 32202. Upon information and belief, CSXT is a wholly

        owned subsidiary of CSX and shares common ownership and control.

               5.      CSX Corporation (CSX) is a rail carrier engaged in interstate commerce. It is

        incorporated under the laws of Virginia and maintains its principal place of business at 500 Water

        Street, Jacksonville, Florida 32202. CSX owns, manages, operates, and/or controls numerous

        subsidiaries, including CSXT.

               6.      Dr. Craig Heligman is the Chief Medical Officer of CSX and/or CSXT. Among

        other duties, he administers the Occupational Health Department for CSX and/or CSXT and

        maintains his office at 500 Water Street, Jacksonville, Florida 32202.

               7.      Gus Thoele is the Assistant Plant Superintendent for CSX and/or CSXT in

        Waycross, Georgia. Among other duties, he serves as an Investigating Hearing Officer for

        disciplinary proceedings at CSX and/or CSXT.




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                  8.    Curt Shogren is the Plant Superintendent of the Huntington Locomotive Shop for

        CSX and/or CSXT in Huntington, West Virginia. Among other duties, he serves at the Charging

        Manager for disciplinary proceedings at CSX and/or CSXT.

                  9.    Additional individual supervisors over the plaintiffs include Milton Storm, Delando

        Jones, Tom DeAngelo, Shawn Lusk, Elizabeth Creedon and Kenneth Ray Emerson.

                  10.   The Defendants, CSX Transportation, Inc., and CSX Corporation, hereinafter

        referred to as (“CSX”), is an international transportation company offering a variety of rail,

        container-shipping, intermodal, trucking and contract logistics services and located at 500 Water

        Street, Jacksonville, Florida 32202.

                  11.   Individual defendants, Craig S. Heligman, M.D., Gus Thoele, Curt Shogren, Milton

        Storm, Delando Jones, Tom DeAngelo, Shawn Lusk, Elizabeth Creedon and Kenneth Ray

        Emerson are managerial agents and sued in their individual capacities under ERISA, the

        Rehabilitation Act, West Virginia Human Relations Act, FMLA, FRSA, and state law causes of

        action.

                                           SUMMARY OF ACTION

        Justin Adkins – Electrician

                  12.   On or about June 21, 2017, Adkins sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                  13.   Dr. Johnson evaluated Adkins, including his complaints of pain in his neck rating

        at an 8 out of 10. Dr. Johnson ordered x-rays and ordered Adkins off work.

                  14.   On or about June 21, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Adkins. Among other things, the



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        form described Adkins’ injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Adkins needed to be off work until August 21, 2017.

               15.     CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               16.     As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               17.     On or about July 31, 2017, Adkins sought treatment from an orthopedist, Dr. Luis

        E. Bolano, for the same injuries for which he was treating with Dr. Johnson. Dr. Bolano advised

        Adkins to continue with his current therapy (treating with Dr. Johnson) and to proceed with

        nonoperative treatment to include wearing a brace and activity modification. Dr. Bolano

        administered an injection into Adkins right shoulder, applied a brace to his elbow, and

        recommended a follow up in two months.

               18.     On or about August 17, 2017, Dr. Johnson again faxed a COII form to the CSX

        Medical Department for Adkins. This COII provided an update on Adkins’ injuries and treatment

        and estimated he would need to remain off work until October 17, 2017.

               19.     On or about July 26, 2017, CSX and/or CSXT issued a notice to Adkins to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.




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               20.       The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”. An amended charge letter was issued on or about

        July 28, 2017.

               21.       A formal disciplinary investigation was held on August 24, 2017 at 935 7th Avenue

        in Huntington, West Virginia. Adkins was joined in the investigation by six other CSX/CSXT

        employees who were being similarly charged. Thoele served as the hearing officer and Shogren

        served as the charging manager. Dr. Heligman was present as a witness for the Company.

               22.       The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               23.       On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Office of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               24.       Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]



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        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

                25.     Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                26.     The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Justin Adkins.

                27.     On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                28.     On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Adkins was again included on this list.

                29.     The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                30.     Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Justin Adkins was not among those who were scheduled to be

        abolished or furloughed.

                31.     During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the



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        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               32.     On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               33.     On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Adkins, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               34.     During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Adkins from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Adkins or his treatment other than what was contained on the COII.

               35.     Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Adkins or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               36.     Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               37.     Dr. Heligman did not personally examine or treat Adkins or any of the other

        CSX/CSXT employees.


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                38.     Through his testimony at the disciplinary investigation, Shogren confirmed that

        Adkins was not part of the furlough/abolishment notice.

                39.     During the disciplinary investigation, CSX/CSXT presented Adkins’ personal and

        private medical records to all in attendance, including the other charged employees.

                40.     During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                41.     Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Adkins.

                42.     Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                43.     During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Adkins, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                44.     Dr. Heligman and Shogren also testified that Adkins, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                45.     As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.



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               46.     According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Adkins and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Adkins investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               47.     By letter dated September 21, 2017, CSX/CSXT notified Adkins that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               48.     Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               49.     During the course of Adkins’ employment with CSX/CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               50.     Due to the repetitive and physical nature of Adkins’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               51.     The cumulative injuries sustained by Adkins during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               52.     In the event Adkins was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Justin Blake – Electrician




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                53.    On or about July 5, 2017, Blake sought and received medical treatment from Daniel

        J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in Proctorville, Ohio for injuries.

                54.    Dr. Carey evaluated Blake, including his complaints of pain in his neck, his

        upper/mid back, and in his right shoulder and arm. Dr. Carey ordered x-rays and ordered Blake off

        work.

                55.    On or about July 5, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Blake. Among other things, the

        form described Blake injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that Blake

        needed to be off work until September 3, 2017.

                56.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                57.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                58.    On or about July 28, 2017, CSX and/or CSXT issued a notice to Blake to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 20, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                59.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

                60.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Blake was joined in the investigation by other CSX/CSXT employees who were
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        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               61.     The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               62.     On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               63.     Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               64.     Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.




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                65.     The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General did not include Justin Blake.

                66.     On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees. Justin Blake was not included on this list.

                67.     On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Blake was included on this list.

                68.     The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                69.     Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Justin Blake was among those who were scheduled to be furloughed.

                70.     During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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               71.     On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               72.     On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Blake, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               73.     During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Blake from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Blake or his treatment other than what was contained on the COII.

               74.     Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Blake or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               75.     Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               76.     Dr. Heligman did not personally examine or treat Blake or any of the other

        CSX/CSXT employees.

               77.     During the disciplinary investigation, CSX/CSXT presented Blake’ personal and

        private medical records to all in attendance, including the other charged employees.




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                78.     During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                79.     Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Blake.

                80.     Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                81.     During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Blake, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                82.     Dr. Heligman and Shogren also testified that Blake, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                83.     As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                84.     According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Blake and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Blake investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.



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               85.     By letter dated September 21, 2017, CSX/CSXT notified Blake that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               86.     Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               87.     During the course of Blake’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               88.     Due to the repetitive and physical nature of Blake’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               89.     The cumulative injuries sustained by Blake during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               90.     In the event Blake was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work-related duties required of him during his employment with Defendants.

        Edwin Glowacki – Electrician

               91.     On or about June 19, 2017, Glowacki sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries sustained.

               92.     Dr. Johnson evaluated Glowacki, including his complaints of pain in his lower back

        and hip areas. Dr. Johnson ordered x-rays and ordered Glowacki off work.




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               93.     On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Glowacki. Among other things, the

        form described Glowacki injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Glowacki needed to be off work until August 19, 2017.

               94.     CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               95.     As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               96.     On or about July 27, 2017, Glowacki sought treatment from the Veteran’s Hospital

        for injuries for which he was treating with Dr. Johnson. The VA issued work restrictions for 4

        weeks with an anticipated release date of August 27, 2017.

               97.     On or about August 20, 2017, Dr. Johnson issued a written letter that Glowacki’s

        recovery had worsened and continued to restrict him from returning to work.

               98.     On or about July 26, 2017, CSX and/or CSXT issued a notice to Glowacki to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               99.     The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               100.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Glowacki was joined in the investigation by other CSX/CSXT employees who were
                                                        17
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        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               101.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               102.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees off work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               103.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               104.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.




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               105.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Edwin Glowacki.

               106.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               107.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Edwin Glowacki was again included on this list.

               108.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               109.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Edwin Glowacki was among those who were scheduled to be

        abolished or furloughed.

               110.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.



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               111.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               112.    30.     On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Edwin Glowacki, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               113.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Glowacki from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Glowacki or his treatment other than what was contained on the COII.

               114.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Glowacki or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

               115.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               116.    Dr. Heligman did not personally examine or treat Glowacki or any of the other

        CSX/CSXT employees.

               117.    During the disciplinary investigation, CSX/CSXT presented Glowacki’s personal

        and private medical records to all in attendance, including the other charged employees.




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                118.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                119.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Glowacki.

                120.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                121.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Glowacki, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                122.    Dr. Heligman and Shogren also testified that Glowacki, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                123.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                124.    According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Glowacki and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Glowacki investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.



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               125.    By letter dated September 21, 2017, CSX/CSXT notified Glowacki that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               126.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               127.    During the course of Glowacki’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               128.    Due to the repetitive and physical nature of Glowacki’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               129.    The cumulative injuries sustained by Glowacki during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               130.    In the event Glowacki was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work-related duties required of him during his employment with

        Defendants.

        Eric Jordan – Electrician

               131.    On or about July 20, 2017, Jordan sought and received medical treatment from

        Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in Proctorville, Ohio for injuries.

               132.    Dr. Carey evaluated Jordan, prescribed a course of treatment, and ordered Jordan

        off work until September 25, 2017.




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               133.    On or about July 20, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Jordan. Among other things, the

        form described Jordan injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that Jordan

        needed to be off work until September 25, 2017.

               134.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               135.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               136.    On or about July 26, 2017, CSX and/or CSXT issued a notice to Jordan to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 21, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               137.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”. An amended notice was issued on or about July

        28, 2017.

               138.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Jordan was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               139.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey
                                                        23
                                                                                         USCA4         128
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        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               140.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               141.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               142.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               143.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Eric Jordan.

               144.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                145.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Eric Jordan was again included on this list.

                146.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                147.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Eric Jordan was not among those to be furloughed.

                148.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                149.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                150.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Eric Jordan, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel

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                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                151.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Jordan from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Jordan or his treatment other than what was contained on the COII.

                152.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Jordan or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                153.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                154.    Dr. Heligman did not personally examine or treat Jordan or any of the other

        CSX/CSXT employees.

                155.    Through his testimony at the disciplinary investigation, Shogren confirmed that

        Jordan was not part of the furlough/abolishment notice.

                156.    During the disciplinary investigation, CSX/CSXT presented Jordan’s personal and

        private medical records to all in attendance, including the other charged employees.

                157.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                158.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Jordan.


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               159.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               160.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Jordan, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               161.    Dr. Heligman and Shogren also testified that Jordan, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               162.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               163.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Jordan and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Jordan investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               164.    By letter dated September 21, 2017, CSX/CSXT notified Jordan that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               165.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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                166.   During the course of Jordan’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                167.   Due to the repetitive and physical nature of Jordan’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                168.   The cumulative injuries sustained by Jordan during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                169.   In the event Jordan was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Kevin Palmer – Electrician

                170.   On or about July 6, 2017, Palmer sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                171.   Dr. Johnson evaluated Palmer, including his complaints of pain in his neck

        diagnosing a cervical sprain, cervicocranal syndrome and muscle spasms. Dr. Johnson ordered x-

        rays and ordered Palmer off work.

                172.   On or about July 6, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Palmer. Among other things, the

        form described Palmer injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Palmer needed to be off work until September 6, 2017.




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               173.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               174.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               175.    On or about July 31, 2017, Palmer sought treatment from an orthopedist, Dr. Luis

        E. Bolano, for injuries to his right shoulder and wrist. Dr. Bolano advised Palmer to continue with

        his current therapy (treating with Dr. Johnson) and to proceed with nonoperative treatment to

        include wearing a brace and activity modification.

               176.    Palmer continued under the care of Dr. Johnson consistent with the treatment plan.

               177.    On or about July 26, 2017, CSX and/or CSXT issued a notice to Palmer to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               178.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               179.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Palmer was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               180.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson
                                                        29
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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               181.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               182.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               183.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               184.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Kevin Palmer.

               185.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                186.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Kevin Palmer was again included on this list.

                187.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                188.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Kevin Palmer was not among those who were scheduled to be

        abolished or furloughed.

                189.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                190.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                191.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Kevin Palmer, to advise them that:



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                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                192.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Palmer from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Palmer or his treatment other than what was contained on the COII.

                193.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Palmer or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                194.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                195.    Dr. Heligman did not personally examine or treat Palmer or any of the other

        CSX/CSXT employees.

                196.    Through his testimony at the disciplinary investigation, Shogren confirmed that

        Palmer was not part of the furlough/abolishment notice.

                197.    During the disciplinary investigation, CSX/CSXT presented Palmer’s personal and

        private medical records to all in attendance, including the other charged employees.

                198.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.




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               199.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Palmer.

               200.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               201.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Palmer, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               202.    Dr. Heligman and Shogren also testified that Palmer, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               203.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               204.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Palmer and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Palmer investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               205.    By letter dated September 22, 2017, CSX/CSXT notified Palmer that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                206.   Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                207.   During the course of Palmer’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                208.   Due to the repetitive and physical nature of Palmer’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                209.   The cumulative injuries sustained by Palmer during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                210.   In the event Palmer was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Samuel Preston – Electrician

                211.    On or about June 13, 2017, Preston sought and received medical treatment from

        Shannon M. Johnson, D.C., ("Dr. Johnson") at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                212.    Dr. Johnson evaluated Preston, including his complaints of pain in his neck and

        shoulder pain. Dr. Johnson ordered x-rays and ordered Preston off work.

                213.    On or about June 13, 2017, Dr. Johnson faxed to the CSX Medical Department a

        "Certification of Ongoing Illness or Injury" ("COII") form for Preston. Among other things, the



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        form described Preston's injuries, Dr. Johnson's diagnosis and treatment plan, and estimated that

        Preston needed to be off work until August 13, 2017.

               214.     CSX and/or CSXT requires that COII forms be submitted by treating physicians

        on behalf of employees who need to be off work due to injuries or illnesses.

               215.     As a general rule, CSX and/or CSXT does not allow employees to work "light

        duty" or "restricted duty." Therefore, if an employee is physically impaired, his or her only option

        is to remain completely off work.

               216.     On or about August 8, 2017, Dr. Johnson again faxed a COII form to the CSX

        Medical Department for Preston. This COII provided an update on Preston' injuries and treatment

        and estimated he would need to remain off work until October 9, 2017.

               217.     On or about July 26, 2017, CSX and/or CSXT issued a notice to Preston to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by "J. Yates, CMO Engineering & Strategy" and issued from "500 Water

        Street, Jacksonville, Florida 32202".

               218.     A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Preston was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               219.     The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson
                                                        35
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        or another chiropractor in the area, Dr. Daniel J. Carey ("Dr. Carey"), had engaged "in a concerted

        effort to defraud" CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               220.     On or about July 14, 2017, Dr. Heligman sent a letter entitled "Potential

        Conspiracy to Defraud RRB Benefit Programs" to the Railroad Retirement Board Officer of

        Inspector General. In the letter, Dr. Heligman accused Drs. Johnson and Carey of "removing our

        employees from work inappropriately" and keeping such employees of work for "much longer

        than is medically appropriate." He further stated that "the timing of these alleged injuries ... is

        highly suspicious and suggestive of fraudulent practices on the part of both employees and these

        two providers." The letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue

        Cross Blue Shield, United Health Care, the Ohio State Chiropractic Board and the Kentucky Board

        of Chiropractic Examiners.

               221.     Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he "strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors."

               222.     Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               223.     The list of employees included in Dr. Heligman's July 14, 2017 letter to the RRB

        Inspector General included Samuel Preston.

               224.     On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of "additional employees" to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                225.     On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of "additional employees" to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Samuel Preston was again included on this list.

                226.     The disciplinary investigation further revealed that the Respondents believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                227.     Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Samuel Preston was among those who were scheduled to be

        abolished or furloughed.

                228.     During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                229.     On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that "CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee."

                230.     On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Samuel Preston, to advise them that:



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                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                231.     During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Preston from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Preston or his treatment other than what was contained on the COII.

                232.     Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Preston or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                233.     Through his testimony during the disciplinary investigation, Dr. Heligman

        testified that the decision for an employee to be held out of service for an illness or an injury is

        one to be made between the employee-patient and the treating physician.

                234.     Dr. Heligman did not personally examine or treat Preston or any of the other

        CSX/CSXT employees.

                235.     Through his testimony at the disciplinary investigation, Shogren confirmed that

        Preston was not part of the furlough/abolishment notice.

                236.     During the disciplinary investigation, CSX/CSXT presented Preston's personal

        and private medical records to all in attendance, including the other charged employees.

                237.     During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.




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               238.     Through his testimony in the disciplinary investigation, Shogren admitted to

        having been provided by Dr. Heligman some 96 pages of private medical documentation of

        CSX/CSXT employees, including Preston.

               239.     Shogren further testified that he received the July 14, 2017 letter from Heligman

        to the RRB Office of lnspector General on or about July 14, 2017.

               240.     During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Preston, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: "Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest."

               241.     Dr. Heligman and Shogren also testified that Preston, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               242.     As the charging manager, it is Shogren's responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn't know the definition of conspiracy and that he doesn't know if the employees and/or their

        treating physicians conspired to commit any wrongdoing.

               243.     According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Preston and the others was to "develop the facts and place ... responsibility, if any" yet more than

        a month before the Preston investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               244.     By letter dated September 21, 2017, CSX/CSXT notified Preston that he was

        dismissed from employment for violation of "CSX Operating Rule I 04.2.a, and Code of Ethics




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        Policy." The letter was signed and issued by "B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202."

                245.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                246.   During the course of Preston’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                247.   Due to the repetitive and physical nature of Preston’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                248.   The cumulative injuries sustained by Preston during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                249.   In the event Preston was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Dennis Sargent – Electrician

                250.   On or about June 19, 2017, Sargent sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                251.   Dr. Johnson evaluated Sargent, including his complaints of lower back and hip pain

        as a result of stepping in a hole in his yard and falling. Dr. Johnson ordered x-rays from Our Lady

        of Bellefonte hospital and ordered Sargent off work.




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               252.    On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Sargent. Among other things, the

        form described Sargent injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Sargent needed to be off work until August 19, 2017.

               253.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               254.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               255.    On or about August 3, 2017, Dr. Johnson again faxed a COII form to the CSX

        Medical Department for Sargent. This COII provided an update on Sargent’ injuries and treatment

        and estimated he would need to remain off work until October 3, 2017.

               256.    On or about July 26, 2017, CSX and/or CSXT issued a notice to Sargent to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               257.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               258.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Sargent was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.
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               259.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               260.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               261.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               262.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               263.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Dennis Sargent.




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                264.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                265.     On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Dennis Sargent was again included on this list.

                266.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                267.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Dennis Sargent last worked on June 14, 2017, was scheduled for his

        regular rest days on June 15 and 16th and then furloughed. Except for his dismissal, he would have

        since been recalled to work.

                268.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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               269.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               270.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Dennis Sargent, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               271.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Sargent from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Sargent or his treatment other than what was contained on the COII.

               272.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Sargent or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               273.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               274.    Dr. Heligman did not personally examine or treat Sargent or any of the other

        CSX/CSXT employees.

               275.    During the disciplinary investigation, CSX/CSXT presented Sargent’s personal and

        private medical records to all in attendance, including the other charged employees.




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                                                                                        USCA4          149
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                276.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                277.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Sargent.

                278.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                279.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Sargent, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                280.    Dr. Heligman and Shogren also testified that Sargent, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                281.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                282.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Sargent and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Sargent investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.



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                                                                                         USCA4         150
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                283.    By letter dated September 21, 2017, CSX/CSXT notified Sargent that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                284.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                285.    During the course of Sargent’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                286.    Due to the repetitive and physical nature of Sargent’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                287.    The cumulative injuries sustained by Sargent during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                288.    In the event Sargent was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Travis Thornsberry – Electrician

                289.    On or about March 1, 2017, Thornsberry sought and received medical treatment

        from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky

        for injuries.

                290.    Dr. Johnson evaluated Thornsberry, including his complaints of pain in his back

        and hip. Dr. Johnson ordered x-rays and ordered Thornsberry off work.



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                                                                                         USCA4         151
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               291.    On or about July 27, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Thornsberry. Among other things,

        the form described Thornsberry’s injuries, Dr. Johnson’s diagnosis and treatment plan, and

        estimated that Thornsberry needed to be off work until September 24, 2017.

               292.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               293.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               294.    Thornsberry treated with Dr. Johnson since March 1, 2017.

               295.    On or about July 26, 2017, CSX and/or CSXT issued a notice to Thornsberry to

        attend a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               296.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               297.    A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Thornsberry was joined in the investigation by other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               298.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson
                                                         47
                                                                                        USCA4          152
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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               299.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               300.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               301.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               302.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Travis Thornsberry.

               303.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                                                                                        USCA4         153
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                304.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Travis Thornsberry was again included on this list.

                305.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                306.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Thornsberry was not among those to be furloughed.

                307.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                308.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                309.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Travis Thornsberry, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel

                                                          49
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                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                310.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Thornsberry from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Thornsberry or his treatment other than what was contained on the COII.

                311.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Thornsberry or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                312.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                313.    Dr. Heligman did not personally examine or treat Thornsberry or any of the other

        CSX/CSXT employees.

                314.    Through his testimony at the disciplinary investigation, Shogren confirmed that

        Thornsberry was not part of the furlough/abolishment notice.

                315.    During the disciplinary investigation, CSX/CSXT presented Thornsberry’s

        personal and private medical records to all in attendance, including the other charged employees.

                316.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                317.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Thornsberry.


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               318.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               319.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Thornsberry, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               320.    Dr. Heligman and Shogren also testified that Thornsberry, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               321.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               322.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Thornsberry and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Thornsberry investigation, Dr. Heligman had already written to the RRB

        and other benefit providers to declare his belief that these employees had committed fraud.

               323.    By letter dated September 21, 2017, CSX/CSXT notified Thornsberry that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               324.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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               325.    During the course of Thornsberry’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               326.    Due to the repetitive and physical nature of Thornsberry’s employment, he

        sustained cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               327.    The cumulative injuries sustained by Thornsberry during the course and scope of

        his employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               328.    In the event Thornsberry was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work-related duties required of him during his employment with

        Defendants.

        Michael Williams – Electrician

               329.    On or about June 16, 2017, Williams sought and received medical treatment from

        Daniel J. Carey, II, D.C. at Carey Chiropractic and Rehabilitation, (“Dr. Carey”) in Proctorville,

        OH for injuries.

               330.    Dr. Carey evaluated Williams, including his complaints of pain in his chest and ribs

        and prescribed a course of treatment.

               331.    On or about June 16, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Williams. Among other things, the

        form described Williams’s injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Williams needed to be off work on short-term disability.

               332.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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               333.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               334.    On or about July 26, 2017, CSX and/or CSXT issued a notice to Williams to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               335.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               336.    A formal disciplinary investigation was held on October 5, 2017 in Huntington,

        West Virginia resulting in termination. Williams was joined in the investigation by other

        CSX/CSXT employees who were being similarly charged. Thoele served as the hearing officer

        and Shogren served as the charging manager. Dr. Heligman was present as a witness for the

        Company.

               337.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               338.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from
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        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               339.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               340.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               341.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Michael Williams.

               342.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               343.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Michael Williams was again included on this list.

               344.    The disciplinary investigation further revealed that the Respondents believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order



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        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                345.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Michael Williams was among those who were scheduled to be

        abolished or furloughed but would have been called back but for his termination.

                346.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                347.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                348.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Michael Williams, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Carey, DC, or Daniel Carey
                        II, DC. If you continue to have a need to be off of work for a medical
                        reason or wish to return to work from a medical leave, please
                        provide updated medical documentation from your primary care or
                        treating physician, other than the two referenced above.

                349.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Williams from Dr. Carey. Dr. Heligman admitted that he had no other information

        regarding the injury to Williams or his treatment other than what was contained on the COII.


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                350.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Williams or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                351.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                352.    Dr. Heligman did not personally examine or treat Williams or any of the other

        CSX/CSXT employees.

                353.    During the disciplinary investigation, CSX/CSXT presented Williams’ personal

        and private medical records to all in attendance, including the other charged employees.

                354.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                355.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Williams.

                356.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                357.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Williams, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”




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               358.    Dr. Heligman and Shogren also testified that Williams, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               359.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               360.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Williams and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Williams investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               361.    By letter dated November 2, 2017, CSX/CSXT notified Williams that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               362.    Upon information and belief, Drs. Carey and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               363.    During the course of Williams’ employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               364.    Due to the repetitive and physical nature of Williams’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.




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               365.    The cumulative injuries sustained by Williams during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               366.    In the event Williams was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with Defendants.

        John Baker - Boilermaker

               367.    On or about June 19, 2017, and on dates subsequent thereto, Baker sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries to his neck and back.

               368.    Dr. Johnson evaluated Baker, prescribed a course of treatment, and ordered Baker

        off work until August 19, 2017.

               369.    On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Baker and estimated that

        Baker needed to be off work until August 19, 2017.

               370.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               371.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               372.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Baker to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or

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                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               373.    The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202.

               374.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. Baker was joined in the investigation by other CSX/CSXT employees

        who were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               375.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               376.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.




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               377.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               378.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               379.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included John Baker.

               380.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               381.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. John Baker was again included on this list.

               382.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               383.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. John Baker was among those who were scheduled to be furloughed.




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                384.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Baker, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                385.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                386.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including John Baker, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                387.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Baker from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Baker or his treatment other than what was contained on the notification of

        treatment. Baker presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis and

        treatment plan for Baker.

                388.    During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Baker attempted to commit fraud or not.

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                389.    Through his testimony, Dr. Heligman confirmed that he had no proof that Baker or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

                390.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                391.    Dr. Heligman did not personally examine or treat Baker or any of the other

        CSX/CSXT employees.

                392.    During the disciplinary investigation, CSX/CSXT presented Baker’s personal and

        private medical records to all in attendance, including the other charged employees.

                393.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                394.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Baker.

                395.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                396.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Baker, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”




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               397.    Dr. Heligman and Shogren also testified that Baker, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               398.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               399.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Baker and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Baker investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               400.    By letter dated September 5, 2017, CSX/CSXT notified Baker that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               401.    During the course of Baker’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               402.    Due to the repetitive and physical nature of Baker’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               403.    The cumulative injuries sustained by Baker during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.




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               404.    In the event Baker was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work-related duties required of him during his employment with Defendants.

        James Blain - Boilermaker

               405.    On or about June 19, 2017, and on dates subsequent thereto, Blain sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               406.    Dr. Johnson evaluated Blain, prescribed a course of treatment, and ordered Blain

        off work until August 19, 2017.

               407.    On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Blain and estimated that

        Blain needed to be off work until August 19, 2017.

               408.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               409.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               410.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Blain to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.



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        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202.

               411.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. Blain was joined in the investigation by other CSX/CSXT employees

        who were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               412.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               413.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               414.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]




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        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               415.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               416.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included James Blain.

               417.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               418.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. James Blain was again included on this list.

               419.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               420.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. James Blain was among those who were scheduled to be furloughed.

               421.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did



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        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Blain, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

               422.       On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               423.       On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including James Blain, to advise them that:

                          the CSX Medical Department is no longer accepting any medical
                          documentation completed by Shannon Johnson, DC, or Daniel
                          Carey II, DC. If you continue to have a need to be off of work for a
                          medical reason or wish to return to work from a medical leave,
                          please provide updated medical documentation from your primary
                          care or treating physician, other than the two referenced above.

               424.       During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Blain from Dr. Johnson. Dr. Heligman admitted that he had no other information regarding

        the injury to Blain or his treatment other than what was contained on the notification of treatment.

        Blain presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis and treatment

        plan for Blain.

               425.       During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Blain attempted to commit fraud or not.

               426.       Through his testimony, Dr. Heligman confirmed that he had no proof that Blain or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.




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                427.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                428.    Dr. Heligman did not personally examine or treat Blain or any of the other

        CSX/CSXT employees.

                429.    During the disciplinary investigation, CSX/CSXT presented Blain’s personal and

        private medical records to all in attendance, including the other charged employees.

                430.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                431.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Blain.

                432.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                433.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Blain, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                434.    Dr. Heligman and Shogren also testified that Blain, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.




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               435.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               436.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Blain and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Blain investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               437.    By letter dated September 5, 2017, CSX/CSXT notified Blain that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street, Jacksonville, Florida

        32202.”

               438.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               439.    During the course of Blain’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               440.    Due to the repetitive and physical nature of Blain’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               441.    The cumulative injuries sustained by Blain during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.




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                442.   In the event Blain was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Devery Brown - Boilermaker

                443.   On or about June 22, 2017, Brown sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                444.   Dr. Johnson evaluated Brown, prescribed a course of treatment, and ordered Brown

        off work until August 22, 2017.

                445.   On or about June 22, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Brown. Among other things, the

        form described Brown injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Brown needed to be off work until August 22, 2017.

                446.   CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                447.   As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                448.   On or about July 25, 2017, CSX and/or CSXT issued a notice to Brown to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft



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                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”. An amended notice was issued on or about July 27, 2017.

               449.    A formal disciplinary investigation was held on August 23, 2017 in Huntington,

        West Virginia. Brown was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               450.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               451.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               452.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

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        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

                453.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                454.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Devery Brown.

                455.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                456.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Devery Brown was again included on this list.

                457.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                458.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Devery Brown was not among those to be furloughed.

                459.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did



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        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               460.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               461.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Devery Brown, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               462.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Brown from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Brown or his treatment other than what was contained on the COII.

               463.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Brown or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               464.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               465.    Dr. Heligman did not personally examine or treat Brown or any of the other

        CSX/CSXT employees.




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                466.    During the disciplinary investigation, CSX/CSXT presented Brown’s personal and

        private medical records to all in attendance, including the other charged employees.

                467.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                468.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Brown.

                469.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                470.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Brown, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                471.    Dr. Heligman and Shogren also testified that Brown, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                472.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                473.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Brown and the others was to “develop the facts and place … responsibility, if any” yet more than



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        a month before the Brown investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                 474.   By letter dated September 21, 2017, CSX/CSXT notified Brown that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                 475.   Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                 476.   During the course of Brown’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 477.   Due to the repetitive and physical nature of Brown’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 478.   The cumulative injuries sustained by Brown during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 479.   In the event Brown was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        James Deal - Boilermaker




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               480.    On or about July 7, 2017, and on dates subsequent thereto, Deal sought and received

        medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

               481.    Dr. Carey evaluated Deal, prescribed a course of treatment, and ordered Deal off

        work until September 3, 2017.

               482.    On or about July 7, 2017, Dr. Carey faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Deal and estimated that Deal

        needed to be off work until September 4, 2017.

               483.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               484.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               485.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Deal to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202.

               486.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. Deal was joined in the investigation by six other CSX/CSXT



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        employees who were being similarly charged. Thoele served as the hearing officer and Shogren

        served as the charging manager. Dr. Heligman was present as a witness for the Company.

               487.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               488.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               489.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               490.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.




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                491.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included James Deal.

                492.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                493.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. James Deal was again included on this list.

                494.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                495.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. James Deal was not among those who were scheduled to be

        furloughed.

                496.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including



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        Deal, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

               497.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               498.    On or about September 1, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including James Deal, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               499.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Deal from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Deal or his treatment other than what was contained on the notification of treatment.

               500.    During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Deal attempted to commit fraud or not.

               501.    Through his testimony, Dr. Heligman confirmed that he had no proof that Deal or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

               502.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               503.    Dr. Heligman did not personally examine or treat Deal or any of the other

        CSX/CSXT employees.




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                504.    During the disciplinary investigation, CSX/CSXT presented Deal’s personal and

        private medical records to all in attendance, including the other charged employees.

                505.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                506.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Deal.

                507.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                508.    During the disciplinary investigation, Dr. Heligman and Shogren testified that Deal,

        and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which

        states: “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

                509.    Dr. Heligman and Shogren also testified that Deal, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                510.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                511.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Deal and the others was to “develop the facts and place … responsibility, if any” yet more than a



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        month before the Deal investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               512.    By letter dated September 5, 2017, CSX/CSXT notified Deal that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street, Jacksonville, Florida

        32202.”

               513.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               514.    During the course of Deal’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               515.    Due to the repetitive and physical nature of Deal’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               516.    The cumulative injuries sustained by Deal during the course and scope of his/her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               517.    In the event Deal was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Jonathan Jeffers - Boilermaker

               518.    On or about June 19, 2017, and on dates subsequent thereto, Jeffers sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.




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               519.    Dr. Johnson evaluated Jeffers, prescribed a course of treatment, and ordered Jeffers

        off work until August 19, 2017.

               520.    On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Jeffers and estimated that

        Jeffers needed to be off work until August 19, 2017.

               521.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               522.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               523.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Jeffers to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202.”

               524.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. Jeffers was joined in the investigation by other CSX/CSXT employees

        who were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               525.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson
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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               526.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               527.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               528.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               529.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Jonathan Jeffers.

               530.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                531.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Jonathan Jeffers was again included on this list.

                532.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                533.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jonathan Jeffers was among those who were scheduled to be

        furloughed.

                534.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Jeffers, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                535.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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                536.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Jonathan Jeffers, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                537.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Jeffers from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Jeffers or his treatment other than what was contained on the notification

        of treatment.

                538.    During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Jeffers attempted to commit fraud or not.

                539.    Through his testimony, Dr. Heligman confirmed that he had no proof that Jeffers

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                540.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                541.    Dr. Heligman did not personally examine or treat Jeffers or any of the other

        CSX/CSXT employees.

                542.    During the disciplinary investigation, CSX/CSXT presented Jeffers’ personal and

        private medical records to all in attendance, including the other charged employees.

                543.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.


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               544.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Jeffers.

               545.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               546.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Jeffers, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               547.    Dr. Heligman and Shogren also testified that Jeffers, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               548.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               549.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Jeffers and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Jeffers investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               550.    By letter dated September 5, 2017, CSX/CSXT notified Jeffers that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                551.   Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                552.   During the course of Jeffers’ employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                553.   Due to the repetitive and physical nature of Jeffers’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                554.   The cumulative injuries sustained by Jeffers during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                555.   In the event Jeffers was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Robert Mosteller – Boilermaker

                556.   On or about June 19, 2016, Mosteller sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                557.   Dr. Johnson evaluated Mosteller and made the decision to take him off work and

        ordered cervical x-rays to further investigate the extent of his injuries.




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               558.    Mosteller was ultimately diagnosed with sprain of the cervical ligaments,

        cervicocranial syndrome, headache, and muscle spasms of the back and was provided treatment

        accordingly.

               559.    On or about June 20, 2017 Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Mosteller. Among other things, the

        form described Mosteller’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated

        that Mosteller needed to be off work until August 19, 2017.

               560.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               561.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               562.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Mosteller to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               563.    A formal disciplinary investigation was held on August 9, 2017 in Huntington,

        West Virginia. Mosteller was joined in the investigation by other CSX/CSXT employees who were




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        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               564.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               565.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               566.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               567.    The list of employees named in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Mosteller.

               568.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.



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                569.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                570.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Mosteller was again included on this list.

                571.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                572.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Mosteller was among those to be furloughed.

                573.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                574.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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                575.    Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                576.    During the disciplinary investigation, the COII prepared for Claimant by Dr.

        Johnson was introduced as an exhibit. Dr. Heligman admitted that he had no other information

        regarding the injury to Mosteller or his treatment other than what was contained on the COII.

                577.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Mosteller or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                578.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                579.    Dr. Heligman did not personally examine or treat Mosteller or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                580.    During the disciplinary investigation, CSX/CSXT presented Mosteller’s personal

        and private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                581.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

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               582.    Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Mosteller.

               583.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               584.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Mosteller, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               585.    Dr. Heligman and Shogren also testified that Mosteller, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               586.    According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Mosteller and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before Plaintiff investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               587.    By letter dated September 15, 2017, CSX/CSXT notified Mosteller that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               588.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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                589.    During the course of Mosteller’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                590.    Due to the repetitive and physical nature of Mosteller’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                591.    The cumulative injuries sustained by Mosteller during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                592.    In the event Mosteller was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Michael L. Potter - Boilermaker

                593.    On or about March 20, 2017, M.L. Potter sought and received medical treatment

        from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky

        for injuries.

                594.    Dr. Johnson evaluated M.L. Potter, including his complaints of pain in his neck.

        Dr. Johnson ordered x-rays revealing a cervical strain and ordered M.L. Potter off work.

                595.    On or about July 6, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for M.L. Potter. Among other things,

        the form described M.L. Potter injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated

        that M.L. Potter needed to be off work until September 6, 2017.

                596.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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               597.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               598.    On or about July 26, 2017, CSX and/or CSXT issued a notice to M.L. Potter to

        attend a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               599.    A formal disciplinary investigation was held on August 23, 2017 in Huntington,

        West Virginia. M.L. Potter was joined in the investigation by other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               600.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               601.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from



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        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               602.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               603.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               604.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included M.L. Potter.

               605.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               606.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. M.L. Potter was again included on this list.

               607.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order



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        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                608.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                609.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                610.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                611.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including M.L. Potter, to advise them that:

                the CSX Medical Department is no longer accepting any medical
                      documentation completed by Shannon Johnson, DC, or Daniel
                      Carey II, DC. If you continue to have a need to be off of work for a
                      medical reason or wish to return to work from a medical leave,
                      please provide updated medical documentation from your primary
                      care or treating physician, other than the two referenced above.

                612.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of M.L. Potter from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to M.L. Potter or his treatment other than what was contained on the COII.




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                613.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that M.L. Potter or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                614.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                615.    Dr. Heligman did not personally examine or treat M.L. Potter or any of the other

        CSX/CSXT employees.

                616.    During the disciplinary investigation, CSX/CSXT presented M.L. Potter’s personal

        and private medical records to all in attendance, including the other charged employees.

                617.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                618.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including M.L. Potter.

                619.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                620.    During the disciplinary investigation, Dr. Heligman and Shogren testified that M.L.

        Potter, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”




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               621.    Dr. Heligman and Shogren also testified that M.L. Potter, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               622.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               623.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        M.L. Potter and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the M.L. Potter investigation, Dr. Heligman had already written to the RRB

        and other benefit providers to declare his belief that these employees had committed fraud.

               624.    By letter dated September 21, 2017, CSX/CSXT notified M.L. Potter that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               625.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               626.    During the course of M.L. Potter’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               627.    Due to the repetitive and physical nature of M.L. Potter’s employment, he

        sustained cumulative and/or degenerative injuries to various joints, muscles, and ligaments.




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                 628.   The cumulative injuries sustained by M.L. Potter during the course and scope of

        his employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 629.   In the event M.L. Potter was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Michael D. Potter – Boilermaker

                 630.   On or about March 3, 2017, and on dates subsequent thereto, M.D. Potter sought

        and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky.

                 631.   Dr. Johnson evaluated M.D. Potter, prescribed a course of treatment, and ordered

        M.D. Potter off work until July 6, 2017.

                 632.   On or about July 6, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating M.D. Potter and estimated

        that M.D. Potter needed to be off work until September 6, 2017.

                 633.   CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                 634.   As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                 635.   On or about July 25, 2017, CSX and/or CSXT issued a notice to M.D. Potter to

        attend a formal disciplinary investigation. The notice stated:



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                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202.

               636.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. M.D. Potter was joined in the investigation by other CSX/CSXT

        employees who were being similarly charged. Thoele served as the hearing officer and Shogren

        served as the charging manager. Dr. Heligman was present as a witness for the Company.

               637.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               638.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,




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        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               639.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               640.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               641.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included M.D. Potter.

               642.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               643.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. M.D. Potter was again included on this list.

               644.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.




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                645.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. M.D. Potter was among those who were scheduled to be furloughed.

                646.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Wallace, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

                647.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                648.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including M.D. Potter, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                649.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of M.D. Potter from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to M.D. Potter or his treatment other than what was contained on the




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        notification of treatment. M.D. Potter presented a report from Dr. Johnson which included Dr.

        Johnson’s diagnosis and treatment plan for Wallace.

                650.    During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether M.D. Potter attempted to commit fraud or not.

                651.    Through his testimony, Dr. Heligman confirmed that he had no proof that M.D.

        Potter or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                652.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                653.    Dr. Heligman did not personally examine or treat M.D. Potter or any of the other

        CSX/CSXT employees.

                654.    During the disciplinary investigation, CSX/CSXT presented M.D. Potter’s personal

        and private medical records to all in attendance, including the other charged employees.

                655.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                656.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including M.D. Potter.

                657.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                658.    During the disciplinary investigation, Dr. Heligman and Shogren testified that M.D.

        Potter, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),



                                                        103
                                                                                         USCA4         208
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        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               659.    Dr. Heligman and Shogren also testified that M.D. Potter, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               660.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               661.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        M.D. Potter and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the M.D. Potter investigation, Dr. Heligman had already written to the RRB

        and other benefit providers to declare his belief that these employees had committed fraud.

               662.    By letter dated September 5, 2017, CSX/CSXT notified M.D. Potter that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               663.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               664.    During the course of M.D. Potter’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




                                                       104
                                                                                        USCA4          209
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                 665.   Due to the repetitive and physical nature of M.D. Potter’s employment, he

        sustained cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 666.   The cumulative injuries sustained by M.D. Potter during the course and scope of

        his employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 667.   In the event M.D. Potter was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Jesse Wallace – Boilermaker

                 668.   On or about June 19, 2017, and on dates subsequent thereto, Wallace sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

                 669.   Dr. Johnson evaluated Wallace, prescribed a course of treatment, and ordered

        Wallace off work until August 19, 2017.

                 670.   On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Wallace and estimated that

        Wallace needed to be off work until August 19, 2017.

                 671.   CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                 672.   As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.



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                                                                                        USCA4           210
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               673.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Wallace to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202.

               674.    A formal disciplinary investigation was conducted on August 9, 2017 in

        Huntington, West Virginia. Wallace was joined in the investigation by other CSX/CSXT

        employees who were being similarly charged. Thoele served as the hearing officer and Shogren

        served as the charging manager. Dr. Heligman was present as a witness for the Company.

               675.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               676.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The



                                                        106
                                                                                        USCA4         211
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        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               677.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               678.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               679.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Jesse Wallace.

               680.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               681.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Jesse Wallace was again included on this list.

               682.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.




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                                                                                          USCA4         212
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               683.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jesse Wallace was among those who were scheduled to be

        furloughed.

               684.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Wallace, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

               685.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               686.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Jesse Wallace, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               687.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Wallace from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Wallace or his treatment other than what was contained on the notification

                                                          108
                                                                                            USCA4          213
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        of treatment. Wallace presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis

        and treatment plan for Wallace.

                688.    During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Wallace attempted to commit fraud or not.

                689.    Through his testimony, Dr. Heligman confirmed that he had no proof that Wallace

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                690.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                691.    Dr. Heligman did not personally examine or treat Wallace or any of the other

        CSX/CSXT employees.

                692.    During the disciplinary investigation, CSX/CSXT presented Wallace’s personal

        and private medical records to all in attendance, including the other charged employees.

                693.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                694.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Wallace.

                695.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                696.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Wallace, and the other charged employees, violated CSX/CSXT Employee Operating Rule



                                                        109
                                                                                         USCA4         214
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        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               697.    Dr. Heligman and Shogren also testified that Wallace, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               698.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               699.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Wallace and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Wallace investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               700.    By letter dated September 5, 2017, CSX/CSXT notified Wallace that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               701.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               702.    During the course of Wallace’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




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                                                                                        USCA4          215
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                 703.   Due to the repetitive and physical nature of Wallace’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 704.   The cumulative injuries sustained by Wallace during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 705.   In the event Wallace was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Timothy Witt - Boilermaker

                 706.   On or about June 21, 2017, and dates prior and subsequent thereto, Witt sought

        and received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic

        in Proctorville, Ohio for injuries.

                 707.   Dr. Carey evaluated Witt, prescribed a course of treatment, and ordered Witt off

        work until August 21, 2017.

                 708.   On or about June 21, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Witt. Among other things, the form

        described Witt injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that Witt needed

        to be off work until August 21, 2017.

                 709.   CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




                                                        111
                                                                                        USCA4          216
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               710.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               711.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Witt to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”. An amended notice was issued on or about July 28, 2017 and

        again on or about August 9, 2017.

               712.    A formal disciplinary investigation was held on August 23, 2017 in Huntington,

        West Virginia. Witt was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               713.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               714.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.



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                                                                                        USCA4          217
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        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               715.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               716.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               717.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Timothy Witt.

               718.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               719.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Timothy Witt was again included on this list.




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                                                                                         USCA4          218
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                720.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                721.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Timothy Witt was not among those to be furloughed.

                722.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                723.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                724.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Timothy Witt, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.




                                                          114
                                                                                            USCA4          219
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                725.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Witt from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Witt or his treatment other than what was contained on the COII.

                726.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Witt or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                727.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                728.    Dr. Heligman did not personally examine or treat Witt or any of the other

        CSX/CSXT employees.

                729.    During the disciplinary investigation, CSX/CSXT presented Witt’s personal and

        private medical records to all in attendance, including the other charged employees.

                730.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                731.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Witt.

                732.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                733.    During the disciplinary investigation, Dr. Heligman and Shogren testified that Witt,

        and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which



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                                                                                         USCA4         220
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        states: “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

               734.    Dr. Heligman and Shogren also testified that Witt, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               735.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               736.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Witt and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Witt investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               737.    By letter dated September 21, 2017, CSX/CSXT notified Witt that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               738.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               739.    During the course of Witt’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




                                                       116
                                                                                        USCA4             221
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                740.   Due to the repetitive and physical nature of Witt’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                741.   The cumulative injuries sustained by Witt during the course and scope of his/her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                742.   In the event Witt was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Bobby Akers – Carman

                743.   On or about September 12, 2016, and on dates subsequent thereto, Akers sought

        and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

                744.   Dr. Johnson evaluated Akers, including his complaints of back injuries. Dr.

        Johnson prescribed a course of treatment, ordered x-rays, and ordered Akers off work until July 6,

        2017.

                745.   On or about July 6, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Akers. Among other things, the

        form described Akers injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Akers needed to be off work until September 6, 2017.

                746.   CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                747.   As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.



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                                                                                        USCA4          222
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               748.    On or about July 28, 2017, CSX and/or CSXT issued a notice to Akers to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about August 8, 2017.

               749.    A formal disciplinary investigation was held on August 10, 2017 in Huntington,

        West Virginia. Akers was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               750.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               751.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The



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                                                                                        USCA4         223
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        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               752.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               753.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               754.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Bobby Akers.

               755.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               756.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Bobby Akers was again included on this list.

               757.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.




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                758.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Bobby Akers was not among those who were scheduled to be

        furloughed.

                759.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                760.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                761.    On or about September 8, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Bobby Akers, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                762.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Akers from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Akers or his treatment other than what was contained on the COII.




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                763.    During the disciplinary investigation, Akers produced a report from Dr. Johnson

        which detailed his diagnoses and treatment plan of Akers and which confirmed that Akers was still

        not able to return to work.

                764.    Through his testimony, Dr. Heligman confirmed that he had no proof that Akers or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

                765.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                766.    Dr. Heligman did not personally examine or treat Akers or any of the other

        CSX/CSXT employees.

                767.    During the disciplinary investigation, CSX/CSXT presented Akers’ personal and

        private medical records to all in attendance, including the other charged employees.

                768.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                769.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Akers.

                770.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                771.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Akers, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),




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        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               772.    Dr. Heligman and Shogren also testified that Akers, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               773.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               774.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Akers and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Akers investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               775.    By letter dated September 5, 2017, CSX/CSXT notified Akers that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               776.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               777.    During the course of Akers’ employment with CSX and/or CSXT, her job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




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               778.    Due to the repetitive and physical nature of Akers’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               779.    The cumulative injuries sustained by Akers during the course and scope of her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               780.    In the event Akers was suffering from some form of pre-exisiting injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Gerald Barber – Carman

               781.    On or about March 10, 2016, and on dates subsequent thereto, Barber sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               782.    Dr. Johnson evaluated Barber, including his complaints of back and hip pain. Dr.

        Johnson prescribed a course of treatment, ordered x-rays, and ordered Barber off work until July

        5, 2017.

               783.    On or about July 5, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Barber. Among other things, the

        form described Barber injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Barber needed to be off work until September 5, 2017.

               784.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




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               785.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               786.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Barber to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28, 2017 and a

        postponement notice on August 8, 2017.

               787.    A formal disciplinary investigation was held on August 9, 2017 in Russell,

        Kentucky. Barber was joined in the investigation by other CSX/CSXT employees who were being

        similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               788.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               789.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.



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                                                                                        USCA4          229
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        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               790.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               791.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               792.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Gerald Barber.

               793.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               794.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Gerald Barber was again included on this list.




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                795.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                796.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Gerald Barber was not among those who were scheduled to be

        furloughed.

                797.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Barber, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                798.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                799.    On or about September 7, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Gerald Barber, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,

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                                                                                            USCA4          231
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                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                800.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Barber from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Barber or his treatment other than what was contained on the COII.

                801.    During the disciplinary investigation, Barber produced a report from Dr. Johnson

        which detailed his diagnoses and treatment plan of Barber and which confirmed that Barber was

        still not able to return to work.

                802.    Through his testimony, Dr. Heligman confirmed that he had no proof that Barber

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                803.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                804.    Dr. Heligman did not personally examine or treat Barber or any of the other

        CSX/CSXT employees.

                805.    During the disciplinary investigation, CSX/CSXT presented Barber’s personal and

        private medical records to all in attendance, including the other charged employees.

                806.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                807.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Barber.




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               808.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               809.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Barber, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               810.    Dr. Heligman and Shogren also testified that Barber, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               811.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               812.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Barber and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Barber investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               813.    By letter dated September 15, 2017, CSX/CSXT notified Barber that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               814.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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                                                                                        USCA4         233
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               815.    During the course of Barber’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               816.    Due to the repetitive and physical nature of Barber’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               817.    The cumulative injuries sustained by Barber during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               818.    In the event Barber was suffering from some form of pre-exisiting injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        John Bills – Carman

               819.    On or about June 19, 2017, and on dates subsequent thereto, Bills sought and

        received medical treatment from Daniel J. Carey, II, D.C. (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

               820.    Dr. Carey evaluated Bills, including his complaints of back pain. Dr. Carey

        prescribed a course of treatment, ordered x-rays, and ordered Bills off work until August 27, 2017.

               821.    On or about June 26, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Bills. Among other things, the form

        described Bills injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that Bills needed

        to be off work until August 27, 2017.

               822.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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                                                                                        USCA4             234
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               823.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               824.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Bills to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 26, 2017 and

        again on July 28, 2017.

               825.    A formal disciplinary investigation was held on August 7, 2017 in Russell,

        Kentucky. Bills was joined in the investigation by other CSX/CSXT employees who were being

        similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               826.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson, D.C. (“Dr. Johnson”), had engaged

        “in a concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               827.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.



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        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               828.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               829.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               830.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included John Bills.

               831.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               832.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. John Bills was again included on this list.




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                833.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                834.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. John Bills was not among those who were scheduled to be

        furloughed.

                835.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Bills, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                836.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                837.    On or about September 7, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including John Bills, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,

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                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                838.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Bills from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Bills or his treatment other than what was contained on the COII.

                839.    During the disciplinary investigation, Bills produced a report from Dr. Carey which

        detailed his diagnoses and treatment plan of Bills and which confirmed that Bills was still not able

        to return to work.

                840.    Through his testimony, Dr. Heligman confirmed that he had no proof that Bills or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

                841.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                842.    Dr. Heligman did not personally examine or treat Bills or any of the other

        CSX/CSXT employees.

                843.    During the disciplinary investigation, CSX/CSXT presented Bills’ personal and

        private medical records to all in attendance, including the other charged employees.

                844.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                845.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Bills.




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               846.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               847.    During the disciplinary investigation, Dr. Heligman and Shogren testified that Bills,

        and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which

        states: “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

               848.    Dr. Heligman and Shogren also testified that Bills, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               849.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               850.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Bills and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Bills investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               851.    By letter dated September 6, 2017, CSX/CSXT notified Bills that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street, Jacksonville, Florida

        32202.”

               852.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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               853.    During the course of Bills’ employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               854.    Due to the repetitive and physical nature of Bills’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               855.    The cumulative injuries sustained by Bills during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               856.    In the event Bills was suffering from some form of pre-exisiting injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Michael Clark – Carman

               857.    On or about June 22, 2017, and on dates subsequent thereto, Clark sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               858.    Dr. Johnson evaluated Clark, including his complaints of back and hip pain. Dr.

        Johnson prescribed a course of treatment, ordered x-rays, and ordered Clark off work until August

        22, 2017.

               859.    On or about June 22, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Clark. Among other things, the form

        described Clark injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that Clark

        needed to be off work until August 22, 2017.

               860.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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               861.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               862.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Clark to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28, 2017 and a

        postponement notice on August 8, 2017.

               863.    A formal disciplinary investigation was held on August 21, 2017 in Russell,

        Kentucky. Clark was joined in the investigation by other CSX/CSXT employees who were being

        similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               864.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               865.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.



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        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               866.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               867.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               868.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Michael Clark.

               869.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               870.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Michael Clark was again included on this list.




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                871.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                872.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Michael Clark was not among those who were scheduled to be

        furloughed.

                873.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Clark, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                874.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                875.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Michael Clark, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,

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                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                876.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Clark from Dr. Johnson. Dr. Heligman admitted that he had no other information regarding

        the injury to Clark or his treatment other than what was contained on the COII.

                877.    During the disciplinary investigation, Clark produced a report from Dr. Johnson

        which detailed his diagnoses and treatment plan of Clark and which confirmed that Clark was still

        not able to return to work.

                878.    Through his testimony, Dr. Heligman confirmed that he had no proof that Clark or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

                879.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                880.    Dr. Heligman did not personally examine or treat Clark or any of the other

        CSX/CSXT employees.

                881.    During the disciplinary investigation, CSX/CSXT presented Clark’s personal and

        private medical records to all in attendance, including the other charged employees.

                882.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                883.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Clark.




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               884.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               885.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Clark, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               886.    Dr. Heligman and Shogren also testified that Clark, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               887.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               888.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Clark and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Clark investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               889.    By letter dated September 15, 2017, CSX/CSXT notified Clark that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               890.    Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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                891.   During the course of Calerk’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                892.   Due to the repetitive and physical nature of Clark’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                893.   The cumulative injuries sustained by Clark during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                894.   In the event Clark was suffering from some form of pre-exisiting injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Randall Craycraft – Carman

                895.   On or about June 7, 2017, and on dates subsequent thereto, Craycraft sought and

        received medical treatment from Daniel J. Carey, II, D.C. (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

                896.   Dr. Carey evaluated Craycraft, including his complaints of back pain. Dr. Carey

        prescribed a course of treatment, ordered x-rays, and ordered Craycraft off work until August 20,

        2017.

                897.   On or about June 20, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Craycraft. Among other things, the

        form described Craycraft injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Craycraft needed to be off work until August 20, 2017.




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               898.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               899.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               900.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Craycraft to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 27, 2017 and

        again on July 28, 2017.

               901.    A formal disciplinary investigation was held on August 7, 2017 in Russell,

        Kentucky. Craycraft was joined in the investigation by three other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               902.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson, D.C. (“Dr. Johnson”), had engaged

        “in a concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.



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               903.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               904.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               905.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               906.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Randall Craycraft.

               907.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               908.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter




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        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Randall Craycraft was again included on this list.

               909.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               910.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Randall Craycraft was not among those who were scheduled to be

        furloughed.

               911.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Craycraft, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

               912.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               913.    On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Randall Craycraft, to advise them that:



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                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                914.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Craycraft from Dr. Carey. Dr. Heligman admitted that he had no other information

        regarding the injury to Craycraft or his treatment other than what was contained on the COII.

                915.    During the disciplinary investigation, Craycraft produced a report from Dr. Carey

        which detailed his diagnoses and treatment plan of Craycraft and which confirmed that Craycraft

        was still not able to return to work.

                916.    Through his testimony, Dr. Heligman confirmed that he had no proof that Craycraft

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                917.    Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                918.    Dr. Heligman did not personally examine or treat Craycraft or any of the other

        CSX/CSXT employees.

                919.    During the disciplinary investigation, CSX/CSXT presented Craycraft’s personal

        and private medical records to all in attendance, including the other charged employees.

                920.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.




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               921.    Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Craycraft.

               922.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               923.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Craycraft, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               924.    Dr. Heligman and Shogren also testified that Craycraft, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               925.    As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               926.    According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Craycraft and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Craycraft investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               927.    By letter dated September 6, 2017, CSX/CSXT notified Craycraft that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                928.   Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                929.   During the course of Craycraft’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                930.   Due to the repetitive and physical nature of Craycraft’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                931.   The cumulative injuries sustained by Craycraft during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                932.   In the event Craycraft was suffering from some form of pre-exisiting injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        John Frasure – Carman

                933.   On or about May 25, 2017, Frasure sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                934.   Dr. Johnson evaluated Frasure, including his complaints of back pain rating an 8

        out of 10. Dr. Johnson ordered that he have x-rays taken of his back and ordered him off work.

                935.   On or about May 30, 2017 Frasure had back x-rays taken at Our Lady of Bellefonte

        Hospital which revealed the presence of “multilevel mild degenerative changes.”



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               936.    Frasure also followed up with his primary care physician who made the decision

        not to prescribe steroid or pain medication due to the possibility that such medications could

        adversely affect Frasure’s Crohn’s disease.

               937.    Dr. Johnson faxed to the CSX Medical Department a “Certification of Ongoing

        Illness or Injury” (“COII”) form for Frasure. Among other things, the form described Frasure’s

        injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that Frasure needed to be off

        work from May 25, 2017 until July 25, 2017.

               938.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               939.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               940.    On or about July 28, 2017, CSX and/or CSXT issued a notice to Frasure to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 20, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               941.    A formal disciplinary investigation was held on August 7, 2017 in Russell,

        Kentucky. Frasure was joined in the investigation by other CSX/CSXT employees who were being




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        similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               942.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               943.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               944.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               945.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.




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                946.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                947.    The list of employees included in Dr. Heligman’s July 21, 2017 letter to the RRB

        Inspector General included Frasure.

                948.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Frasure was again included on this list.

                949.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                950.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, Frasure was neither employed at the Huntington

        mechanical shop nor was he subject to the furloughs.

                951.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.



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                952.   On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                953.   Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

                954.   During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Frasure from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Frasure or his treatment other than what was contained on the COII.

                955.   Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Frasure or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                956.   Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                957.   Dr. Heligman did not personally examine or treat Frasure or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                958.   During the disciplinary investigation, CSX/CSXT presented Frasure’s personal and

        private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

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                959.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                960.    Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Frasure.

                961.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                962.    During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Frasure, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                963.    Dr. Heligman and Shogren also testified that Frasure, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                964.    According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Frasure and the others was to “develop the facts and place … responsibility, if any” yet nearly a

        month before Frasure’s investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                965.    By letter dated September 6, 2017, CSX/CSXT notified Frasure that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”



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                966.   Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                967.   During the course of Frasure’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                968.   Due to the repetitive and physical nature of Frasure’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                969.   The cumulative injuries sustained by Frasure during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                970.   In the event Frasure was suffering from some form of pre-exisiting injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Joshua Hall – Carman

                971.   On or about July 6, 2017, Hall sought and received medical treatment from Daniel

        J. Carey II, D.C., (“Dr. Carey”) at Carey Chiropractic in Russell, Kentucky for injuries.

                972.   Dr. Carey evaluated Hall, including his complaints of pain in his knee and

        diagnosed him with a sprain/strain. Hall was treated with therapy and exercise and ordered off

        work.

                973.   On or about June 6, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Hall. Among other things, the form

        described Hall’s injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that Hall needed

        to be off work until September 3, 2017.



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               974.    CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               975.    As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               976.    On or about July 25, 2017, CSX and/or CSXT issued a notice to Hall to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               977.    A formal disciplinary investigation was held on August 7, 2017 in Russell,

        Kentucky. Hall was joined in the investigation by three other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               978.    The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged in a

        “concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance

        providers.”




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               979.    On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               980.    Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               981.    Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               982.    The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Hall.

               983.    On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               984.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter




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        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Hall was again included on this list.

                985.    The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                986.    Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, Hall was neither employed at the Huntington mechanical

        shop nor was he subject to the furloughs.

                987.    During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                988.    On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                989.    Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,

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                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                990.    During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Hall from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Hall or his treatment other than what was contained on the COII.

                991.    Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Hall or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                992.    Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                993.    Dr. Heligman did not personally examine or treat Hall or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                994.    During the disciplinary investigation, CSX/CSXT presented Hall’s personal and

        private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                995.    During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                996.    Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Hall.




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               997.    Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               998.    During the disciplinary investigation, Dr. Heligman and Shogren testified that Hall,

        and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which

        states: “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

               999.    Dr. Heligman and Shogren also testified that Hall, and the other charged employees,

        violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims

        the Code of Ethics was violated.

               1000. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Hall and the others was to “develop the facts and place … responsibility, if any” yet nearly a month

        before Hall’s investigation, Dr. Heligman had already written to the RRB and other benefit

        providers to declare his belief that these employees had committed fraud.

               1001. By letter dated September 6, 2017, CSX/CSXT notified Hall that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street, Jacksonville, Florida

        32202.”

               1002. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1003. During the course of Hall’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




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                1004. Due to the repetitive and physical nature of Hall’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                1005. The cumulative injuries sustained by Hall during the course and scope of his/her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                1006. In the event Hall was suffering from some form of pre-exisiting injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Sammy Maddix – Carman

                1007. On or about June 19, 2017, Maddix sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1008. Dr. Johnson evaluated Maddix, including his complaints of back pain. Dr. Johnson

        ordered that Maddix have x-rays taken of his back and ordered him off work. After reviewing the

        x-ray reports, Dr. Johnson diagnosed Maddix with Lumbosacral sprain and Myospasms.

                1009. On or about June 20, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Maddix. Among other things, the

        form described Maddix’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Maddix needed to be off work until August 19, 2017.

                1010. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1011. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.



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               1012. On or about July 25, 2017, CSX and/or CSXT issued a notice to Maddix to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               1013. A formal disciplinary investigation was held on August 10, 2017 in Huntington,

        West Virginia. Maddix was joined in the investigation by four other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1014. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               1015. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,



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        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1016. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1017. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Maddix.

               1018. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1019. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1020. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Maddix was again included on this list.

               1021. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1022. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close



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        of business on June 23, 2017. However, Maddix was not among those scheduled to be abolished

        or furloughed.

               1023. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1024. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1025. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Maddix, to advise them that:

                         the CSX Medical Department is no longer accepting any medical
                         documentation completed by Shannon Johnson, DC, or Daniel
                         Carey II, DC. If you continue to have a need to be off of work for a
                         medical reason or wish to return to work from a medical leave,
                         please provide updated medical documentation from your primary
                         care or treating physician, other than the two referenced above.

               1026. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Maddix from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Maddix or his treatment other than what was contained on the COII.

               1027. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Maddix or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.




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                1028. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1029. Dr. Heligman did not personally examine or treat Maddix or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1030. During the disciplinary investigation, CSX/CSXT presented Maddix’s personal and

        private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                1031. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                1032. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Maddix.

                1033. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1034. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Maddix, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”




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                 1035. Dr. Heligman and Shogren also testified that Maddix, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                 1036. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Maddix and the others was to “develop the facts and place … responsibility, if any” yet nearly a

        month before Maddix’s investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                 1037. By letter dated September 5, 2017, CSX/CSXT notified Maddix that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                 1038. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                 1039. During the course of Maddix’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 1040. Due to the repetitive and physical nature of Maddix’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 1041. The cumulative injuries sustained by Maddix during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 1042. In the event Maddix was suffering from some form of pre-exisiting injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,



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        by one or more of the work related duties required of him during his employment with

        Defendants.

        Zack Potter – Carman

                1043. On or about July 11, 2017, Zack Potter sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1044. Dr. Johnson evaluated Potter, including his complaints of pain in his pelvis and

        back spasms. Dr. Johnson ordered x-rays and ordered Potter off work.

                1045. On or about July 11, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Potter. Among other things, the

        form described Potter injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Potter needed to be off work until September 11, 2017.

                1046. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1047. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1048. On or about July 25, 2017, CSX and/or CSXT issued a notice to Potter to attend a

        formal disciplinary investigation. The notice stated:

                The purpose of this investigation is to develop the facts and place your
                      responsibility, if any, in connection with information received on
                      July 14, 2017 from the CSXT Chief Medical Officer that you were
                      dishonest and attempted to defraud the Company and/or benefits
                      providers when you, as well as more than 50 other craft employees,
                      submitted potentially fraudulent documentation, and all
                      circumstances related thereto.



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               1049. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               1050. A formal disciplinary investigation was held on August 19, 2017. Potter was joined

        in the investigation by four other CSX/CSXT employees who were being similarly charged.

        Thoele served as the hearing officer and Shogren served as the charging manager. Dr. Heligman

        was present as a witness for the Company.

               1051. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1052. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1053. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]




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        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

                1054. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                1055. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Zach Potter.

                1056. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1057. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Potter was again included on this list.

                1058. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1059. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                1060. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did



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        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1061. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1062. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Potter, to advise them that the CSX Medical Department is no longer accepting any

        medical documentation completed by Shannon Johnson, DC, or Daniel Carey II, DC. If you

        continue to have a need to be off of work for a medical reason or wish to return to work from a

        medical leave, please provide updated medical documentation from your primary care or treating

        physician, other than the two referenced above.

               1063. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Potter from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Potter or his treatment other than what was contained on the COII.

               1064. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Potter or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               1065. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               1066. Dr. Heligman did not personally examine or treat Potter or any of the other

        CSX/CSXT employees.



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                1067. Through his testimony at the disciplinary investigation, Shogren confirmed that

        Potter was not part of the furlough/abolishment notice.

                1068. During the disciplinary investigation, CSX/CSXT presented Potter’s personal and

        private medical records to all in attendance, including the other charged employees.

                1069. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1070. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Potter.

                1071. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1072. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Potter, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                1073. Dr. Heligman and Shogren also testified that Potter, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1074. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.



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               1075. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Potter and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Potter investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1076. By letter dated September 15, 2017, CSX/CSXT notified Potter that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1077. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1078. During the course of Potter’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1079. Due to the repetitive and physical nature of Potter’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1080. The cumulative injuries sustained by Potter during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1081. In the event Potter was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        James Stinnett – Carman




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                1082. On or about June 22, 2017, Stinnett sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1083. Dr. Johnson evaluated Stinnett, including his complaints of pain in his neck,

        cervicocranial syndrome, headaches and muscle spasms. Dr. Johnson ordered x-rays and ordered

        Stinnett off work.

                1084. On or about June 22, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Stinnett. Among other things, the

        form described Stinnett injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Stinnett needed to be off work until August 22, 2017.

                1085. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1086. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1087. On or about July 26, 2017, CSX and/or CSXT issued a notice to Stinnett to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1088. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.



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               1089. A formal disciplinary investigation was held on August 10, 2017 in Huntington,

        West Virginia. Stinnett was joined in the investigation by four other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1090. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1091. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1092. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”




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                1093. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                1094. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Stinnett.

                1095. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1096. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Stinnett was again included on this list.

                1097. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1098. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                1099. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the




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        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1100. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1101. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Stinnett, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1102. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Stinnett from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Stinnett or his treatment other than what was contained on the COII.

               1103. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Stinnett or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               1104. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               1105. Dr. Heligman did not personally examine or treat Stinnett or any of the other

        CSX/CSXT employees.

               1106. Through his testimony at the disciplinary investigation, Shogren confirmed that

        Stinnett was not part of the furlough/abolishment notice.


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                1107. During the disciplinary investigation, CSX/CSXT presented Stinnett’s personal and

        private medical records to all in attendance, including the other charged employees.

                1108. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1109. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Stinnett.

                1110. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1111. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Stinnett, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                1112. Dr. Heligman and Shogren also testified that Stinnett, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1113. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                1114. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Stinnett and the others was to “develop the facts and place … responsibility, if any” yet more than



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        a month before the Stinnett investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1115. By letter dated September 5, 2017, CSX/CSXT notified Stinnett that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1116. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1117. During the course of Stinnett’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1118. Due to the repetitive and physical nature of Stinnett’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1119. The cumulative injuries sustained by Stinnett during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1120. In the event Stinnett was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Todd Thayer – Carman

               1121. On or about June 20, 2017, Thayer sought and received medical treatment from

        Daniel Carey, (“Dr. Carey”) at Carey Chiropractic and Rehabilitation for injuries.




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               1122. Dr. Carey evaluated Thayer, including his complaints of back pain. Dr. Carey

        ordered x-rays and ordered Thayer off work.

               1123. On or about June 20, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Thayer. Among other things, the

        form described Thayer injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Thayer needed to be off work until August 21, 2017.

               1124. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1125. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1126. On or about July 25, 2017, CSX and/or CSXT issued a notice to Thayer to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1127. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               1128. A formal disciplinary investigation was held on August 24, 2017 in Huntington,

        West Virginia. Thayer was joined in the investigation by four other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.



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               1129. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1130. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Carey of “removing our employees from work

        inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1131. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1132. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1133. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Justin Thayer.




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               1134. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1135. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Thayer was again included on this list.

               1136. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1137. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

               1138. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1139. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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                1140. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Thayer, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Carey, DC, or Daniel Carey
                        II, DC. If you continue to have a need to be off of work for a medical
                        reason or wish to return to work from a medical leave, please
                        provide updated medical documentation from your primary care or
                        treating physician, other than the two referenced above.

                1141. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Thayer from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Thayer or his treatment other than what was contained on the COII.

                1142. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Thayer or any of the employees went to Drs. Carey or Johnson

        for any improper purpose.

                1143. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1144. Dr. Heligman did not personally examine or treat Thayer or any of the other

        CSX/CSXT employees.

                1145. Through his testimony at the disciplinary investigation, Shogren confirmed that

        Thayer was not part of the furlough/abolishment notice.

                1146. During the disciplinary investigation, CSX/CSXT presented Thayer’s personal and

        private medical records to all in attendance, including the other charged employees.

                1147. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.


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               1148. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Thayer.

               1149. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               1150. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Thayer, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1151. Dr. Heligman and Shogren also testified that Thayer, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1152. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1153. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Thayer and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Thayer investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1154. By letter dated September 21, 2017, CSX/CSXT notified Thayer that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1155. Upon information and belief, Drs. Carey and Johnson were exonerated of any

        wrongdoing by their licensing authorities.

               1156. During the course of Thayer’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1157. Due to the repetitive and physical nature of Thayer’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1158. The cumulative injuries sustained by Thayer during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1159. In the event Thayer was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Deanna Lanham - Clerk

               1160. On or about July 7, 2017, and on dates subsequent thereto, Lanham sought and

        received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries to her back.

               1161. Dr. Carey evaluated Lanham, prescribed a course of treatment, and ordered Lanham

        off work until September 3, 2017.




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               1162. On or about July 7, 2017, Dr. Carey faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Lanham and estimated that

        Lanham needed to be off work until September 3, 2017.

               1163. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1164. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1165. On or about July 25, 2017, CSX and/or CSXT issued a notice to Lanham to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1166. The letter was signed by “B.P. Gessell, Supply Chain Manager” and issued from

        “22nd St. and 6th Ave., Huntington, WV 25702.” An amended notice was sent on or about July

        31, 2017.

               1167. A formal disciplinary investigation was conducted on August 8, 2017 in

        Huntington, West Virginia. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1168. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a



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        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1169. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1170. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1171. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1172. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Deanna Lanham.

               1173. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.




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                1174. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Deanna Lanham was again included on this list.

                1175. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1176. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Deanna Lanham was not among those who were scheduled to be

        furloughed.

                1177. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Lanham, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

                1178. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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                1179. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Deanna Lanham, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1180. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Lanham from Dr. Carey. Dr. Heligman admitted that he had no other information

        regarding the injury to Lanham or his treatment other than what was contained on the notification

        of treatment.

                1181. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Lanham attempted to commit fraud or not.

                1182. Through his testimony, Dr. Heligman confirmed that he had no proof that Lanham

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1183. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1184. Dr. Heligman did not personally examine or treat Lanham or any of the other

        CSX/CSXT employees.

                1185. During the disciplinary investigation, CSX/CSXT presented Lanham’s personal

        and private medical records to all in attendance, including the other charged employees.

                1186. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

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               1187. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Lanham.

               1188. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               1189. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Lanham, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1190. Dr. Heligman and Shogren also testified that Lanham, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1191. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1192. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Lanham and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Lanham investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1193. By letter dated August 25, 2017, CSX/CSXT notified Lanham that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “K. James, Jr., Dir Supply Chain Mgmt, P & SC

        Division, 500 Water Street, Jacksonville, Florida 32202.”

               1194. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1195. In the event Lanham was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of her during her employment with Defendants.

        Michael Campbell – Communications Maintainer

               1196. On or about May 31, 2017, and on dates subsequent thereto, Campbell sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries to his shoulder and back.

               1197. Dr. Johnson evaluated Campbell, prescribed a course of treatment, and ordered

        Campbell off work until July 26, 2017.

               1198. On or about July 26, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certification of Ongoing Illness or Injury (“COII”) that he was treating Campbell and estimated

        that Campbell needed to be off work until September 26, 2017.

               1199. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1200. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1201. On or about July 31, 2017, CSX and/or CSXT issued a notice to Campbell to attend

        a formal disciplinary investigation. The notice stated:



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                       The purpose of this formal investigation is to determine the facts and
                       place your responsibility, if any, in connection with an incident that
                       occurred … with information received from the CSXT Chief
                       Medical Officer on July 14, 2017, that you were dishonest and
                       attempted to defraud the Company and/or benefits providers when
                       you, as well as more than 50 other craft employees, submitted
                       potentially fraudulent documentation, and all circumstances related
                       thereto.

               1202. The letter was signed by “D. Jones, Manager C&S Louisville.”

               1203. A formal disciplinary investigation was held on August 15, 2017 in Russell,

        Kentucky. Milton Storm served as the hearing officer and Delando Jones served as the charging

        manager. Dr. Heligman was present by phone as a witness for the Company.

               1204. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers. It further revealed that the charging officer, Mr. Jones, did not believe that Campbell

        was being dishonest when he applied for time off.

               1205. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.


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                1206. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

                1207. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                1208. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1209. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Michael Campbell was included on this list.

                1210. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1211. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Michael Campbell was not among those who were scheduled to be

        furloughed.

                1212. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the



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        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Campbell, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

               1213. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1214. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Michael Campbell, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1215. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Campbell from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Campbell or his treatment other than what was contained on the COII.

        Campbell also produced additional documentation from Dr. Johnson and other medical providers

        to substantiate his treatment.

               1216. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Campbell attempted to commit fraud or not.

               1217. Through his testimony, Dr. Heligman confirmed that he had no proof that Campbell

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.


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                1218. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1219. Dr. Heligman did not personally examine or treat Campbell or any of the other

        CSX/CSXT employees.

                1220. During the disciplinary investigation, CSX/CSXT presented Campbell’s personal

        and private medical records to all in attendance, including the other charged employees.

                1221. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1222. Through his testimony in the disciplinary investigation, Jones admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Campbell.

                1223. Jones further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1224. During the disciplinary investigation, Dr. Heligman and Jones testified that

        Campbell, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                1225. Dr. Heligman and Jones also testified that Campbell, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.




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               1226. As the charging manager, it is Jones’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Jones testified that he

        doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or their

        treating physicians conspired to commit any wrongdoing.

               1227. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Campbell and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Campbell investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1228. By letter dated September 13, 2017, CSX/CSXT notified Campbell that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.”

               1229. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1230. During the course of Campbell’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1231. Due to the repetitive and physical nature of Campbell’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1232. The cumulative injuries sustained by Campbell during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1233. In the event Campbell was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or




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        in part, by one or more of the work-related duties required of him during his employment with

        Defendants.

        Tony Abdon – Conductor

               1234. On or about May 1, 2017, and on dates subsequent thereto, Abdon sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               1235. Dr. Johnson evaluated Abdon, prescribed a course of treatment, and ordered Abdon

        off work until July 1, 2017.

               1236. On or about May 1, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Abdon and estimated that

        Abdon needed to be off work until July 1, 2017.

               1237. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1238. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1239. On or about July 21, 2017, CSX and/or CSXT issued a notice to Abdon to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.




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        The letter was signed by “Andrew D. Daly” and issued on the letterhead of “R.F. Campbell, Chief

        Dispatcher, Florence Division, 3019 Warrington Street, Jacksonville, FL 32254.”

               1240. A formal disciplinary investigation was conducted on August 4, 2017 in Russell,

        Kentucky. DeAngelo served as the hearing officer and Lusk served as the charging manager. Dr.

        Heligman was present via telephone as a witness for the Company.

               1241. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1242. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1243. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”



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               1244. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1245. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Tony Abdon.

               1246. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1247. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Tony Abdon was again included on this list.

               1248. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1249. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Tony Abdon was not among those who were scheduled to be

        furloughed.

               1250. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the



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        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Abdon, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

               1251. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1252. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Tony Abdon, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1253. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Abdon from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Abdon or his treatment other than what was contained on the notification

        of treatment. Abdon presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis

        and treatment plan for Abdon.

               1254. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Abdon attempted to commit fraud or not.

               1255. Through his testimony, Dr. Heligman confirmed that he had no proof that Abdon

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.




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                1256. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1257. Dr. Heligman did not personally examine or treat Abdon or any of the other

        CSX/CSXT employees.

                1258. During the disciplinary investigation, CSX/CSXT presented Abdon’s personal and

        private medical records to all in attendance, including the other charged employees.

                1259. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1260. Through his testimony in the disciplinary investigation, Lusk admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Abdon.

                1261. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1262. During the disciplinary investigation, Dr. Heligman testified that Abdon, and the

        other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which states:

        “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

                1263. Dr. Heligman also testified that Abdon, and the other charged employees, violated

        the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims the Code

        of Ethics was violated.




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               1264. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Abdon and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Abdon investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1265. By letter dated August 31, 2017, CSX/CSXT notified Abdon that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “S. Kuhner, 112 South Ramsey Street, Charlotte, NC 28208.”

               1266. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1267. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1268. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1269. The cumulative injuries sustained by Plaintiff during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1270. The cumulative injuries sustained by Abdon during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1271. In the event Abdon was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.




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        Estate of Chad Little – Engineer

                1272. On or about November 9, 2016, Plaintiff first sought and received medical

        treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup,

        Kentucky for injuries.

                1273. Dr. Johnson evaluated Plaintiff and made the decision to take him off work and

        ordered x-rays to be taken to further investigate his injuries.

                1274. Plaintiff was ultimately diagnosed with sprain of the lumbar ligaments and muscle

        spasms and was provided treatment accordingly returning to Dr. Johnson approximately twice a

        week.

                1275. While under the care of Dr. Johnson for his back and unable to work, on or about

        December 25, 2016 Plaintiff suffered a heart attack requiring hospitalization and surgery.

                1276. As Plaintiff recovered from the heart attack, his experienced worsening pain in his

        back, likely as a result of the inactivity surrounding his heart condition.

                1277. Due to both his heart and back conditions, Plaintiff continued to remain off work

        while he sought regular treatment for both.

                1278. On or about July 6, 2017 Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Plaintiff. Among other things, the

        form described Plaintiff’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Plaintiff needed additional time off work until September 5, 2017.

                1279. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses. Where the underlying

        medical condition exists for a significant period of time, CSX requires medical providers to

        continuously submit updated COII forms.



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                  1280. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                  1281. On or about July 21, 2017, while still receiving regular medical treatment CSX

        and/or CSXT issued a notice to Plaintiff to attend a formal disciplinary investigation. The notice

        stated:

                         The purpose of this investigation is to develop the facts and place
                         your responsibility, if any, in connection with information received
                         on July 14, 2017 from the CSXT Chief Medical Officer that you
                         were dishonest and attempted to defraud the Company and/or
                         benefits providers when you, as well as more than 50 other craft
                         employees, submitted potentially fraudulent documentation, and all
                         circumstances related thereto.

        The letter was signed by “A.D. Daly, Supt Train Operations” and issued from “1700 167th Street

        Chicago Command Center, Calumet City, IL 60409.” An amended notice was sent on or about

        July 24, 2017.

                  1282. A formal disciplinary investigation was held on August 4, 2017 in Russell,

        Kentucky. DeAngelo served as the hearing officer and Lusk served as the charging manager. Dr.

        Heligman was present via telephone as a witness for the Company.

                  1283. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

                  1284. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically
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        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1285. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1286. The list of employees named in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Plaintiff.

               1287. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1288. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1289. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Plaintiff was again included on this list.

               1290. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order




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        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1291. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, Plaintiff was not among those who were scheduled to be

        abolished or furloughed. and had not actively worked since 2010 due to medical issues.

               1292. During the disciplinary investigation, Dr. Heligman stated that he was not aware of

        Plaintiff’s heart attack nor did he review the medical records submitted on Plaintiff’s behalf to

        CSX/CSXT for this issue.

               1293. During the investigation, Dr. Heligman, with little elaboration, merely expressed

        his belief that, although he had not reviewed Plaintiff’s medical records or examined him

        personally, that his condition did not justify the amount of time he had been ordered off work.

               1294. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1295. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1296. During the disciplinary investigation, the COII prepared for Claimant by Dr.

        Johnson was introduced as an exhibit. Dr. Heligman admitted that he had no other information

        regarding the injury to Plaintiff or his treatment other than what was contained on the COII.


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                1297. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Plaintiff or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                1298. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1299. Dr. Heligman did not personally examine or treat Plaintiff or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1300. During the disciplinary investigation, CSX/CSXT presented Plaintiff’s personal

        and private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                1301. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                1302. Through his testimony in the disciplinary investigation, Lusk admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Plaintiff.

                1303. During the disciplinary investigation, Dr. Heligman testified that Plaintiff, and the

        other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which states:

        “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”




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               1304. Dr. Heligman also testified that Plaintiff, and the other charged employees, violated

        the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims the Code

        of Ethics was violated.

               1305. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Plaintiff and the others was to “develop the facts and place … responsibility, if any” yet nearly a

        month before Plaintiff investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1306. By letter dated September 1, 2017, CSX/CSXT notified Plaintiff that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “N.M. Male, General Superintendent, 1200 Don

        Hutson Blvd., Louisville, KY 40219.”

               1307. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1308. Mr. Little committed suicide on December 13, 2017.

               1309. Brandi Little, widow and former spouse of Chad Little, has been appointed the

        adminstrator of the Estate of Chad Little.

               1310. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1311. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1312. The cumulative injuries sustained by Plaintiff during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.



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               1313. The cumulative injuries sustained by Little during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1314. In the event Little was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Brandon Adkins – Fireman/Oiler

               1315. On or about April 21, 2017, and dates subsequent thereto, Adkins sought and

        received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

               1316. Dr. Carey evaluated Adkins, prescribed a course of treatment, ordered x-rays and

        ordered Adkins off work.

               1317. On or about June 21, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Adkins. Among other things, the

        form described Adkins injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Adkins needed to be off work from April 21, 2017 to August 20, 2017.

               1318. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1319. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1320. On or about July 21, 2017, CSX and/or CSXT issued a notice to Adkins to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received

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                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        An amended notice was issued on or about July 24, 2017.

               1321. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               1322. A formal disciplinary investigation was held on August 8, 2017 in Huntington,

        West Virginia. Adkins was joined in the investigation by two other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1323. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1324. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

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               1325. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1326. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1327. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Brandon Adkins.

               1328. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1329. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Brandon Adkins was again included on this list.

               1330. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1331. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Brandon Adkins was not among those who were scheduled to be

        furloughed.



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                1332. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                1333. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1334. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Brandon Adkins, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1335. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Adkins from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Adkins or his treatment other than what was contained on the COII.

                1336. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Adkins or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                1337. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.


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                1338. Dr. Heligman did not personally examine or treat Adkins or any of the other

        CSX/CSXT employees.

                1339. During the disciplinary investigation, CSX/CSXT presented Adkins’ personal and

        private medical records to all in attendance, including the other charged employees.

                1340. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1341. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Adkins.

                1342. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1343. During the disciplinary investigation, Dr. Heligman testified that Adkins, and the

        other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which states:

        “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

                1344. Dr. Heligman also testified that Adkins, and the other charged employees, violated

        the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims the Code

        of Ethics was violated.

                1345. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.



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                 1346. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Adkins and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Adkins investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                 1347. By letter dated September 6, 2017, CSX/CSXT notified Adkins that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                 1348. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                 1349. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 1350. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 1351. The cumulative injuries sustained by Plaintiff during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                 1352. The cumulative injuries sustained by Adkins during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 1353. In the event Adkins was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,




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        by one or more of the work related duties required of him during his employment with

        Defendants.

        Jacqueline Marshall – Fireman/Oiler

               1354. On or about June 21, 2017, and on dates subsequent thereto, Marshall sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               1355. Dr. Johnson evaluated Marshall, prescribed a course of treatment, and estimated

        that she would be able to return to work unrestricted on August 21, 2017.

               1356. On or about June 21, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Marshall and estimated that

        Marshall would be able to return to work unrestricted on August 21, 2017.

               1357. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1358. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1359. On or about July 21, 2017, CSX and/or CSXT issued a notice to Marshall to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.




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        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, FL 32202.” An amended notice was issued on or about July 24, 2017.

               1360. A formal disciplinary investigation was conducted on August 8, 2017 in Russell,

        Kentucky. Thoele served as the hearing officer and Shogren served as the charging manager. Dr.

        Heligman was present as a witness for the Company.

               1361. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1362. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1363. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”



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               1364. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1365. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Jacqueline Marshall.

               1366. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1367. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Jacqueline Marshall was again included on this list.

               1368. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1369. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jacqueline Marshall was not among those who were scheduled to be

        furloughed.

               1370. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the



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        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Marshall, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

               1371. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1372. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Jacqueline Marshall, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

               1373. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Marshall from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Marshall or her treatment other than what was contained on the notification

        of treatment.

               1374. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Marshall attempted to commit fraud or not.

               1375. Through his testimony, Dr. Heligman confirmed that he had no proof that Marshall

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

               1376. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

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                1377. Dr. Heligman did not personally examine or treat Marshall or any of the other

        CSX/CSXT employees.

                1378. During the disciplinary investigation, CSX/CSXT presented Marshall’s personal

        and private medical records to all in attendance, including the other charged employees.

                1379. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1380. Through his testimony in the disciplinary investigation, Lusk admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Marshall.

                1381. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1382. During the disciplinary investigation, Dr. Heligman testified that Marshall, and the

        other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which states:

        “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

                1383. Dr. Heligman also testified that Marshall, and the other charged employees,

        violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims

        the Code of Ethics was violated.

                1384. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Marshall and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Marshall investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.



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               1385. By letter dated September 6, 2017, CSX/CSXT notified Marshall that she was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “Brian Barr, VP Mechanical” and issued from “500

        Water Street, Jacksonville, FL 32202.”

               1386. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1387. During the course of Plaintiff’s employment with CSX and/or CSXT, her job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1388. Due to the repetitive and physical nature of Plaintiff’s employment, she sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1389. The cumulative injuries sustained by Plaintiff during the course and scope of her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1390. The cumulative injuries sustained by Marshall during the course and scope of her

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1391. In the event Marshall was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Homer Maynard – Fireman/Oiler

               1392. On or about July 5, 2017, and on dates subsequent and prior thereto, Maynard

        sought and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at

        Johnson Chiropractic in Greenup, Kentucky for injuries.



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               1393. Dr. Johnson evaluated Maynard, prescribed a course of treatment, and stated that

        he should remain off work through July 5, 2017.

               1394. On or about July 5, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Maynard and estimated that

        Maynard should remain off work through July 5, 2017.

               1395. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1396. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1397. On or about July 21, 2017, CSX and/or CSXT issued a notice to Maynard to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, FL 32202.”

               1398. A formal disciplinary investigation was conducted on August 8, 2017 in Russell,

        Kentucky. Thoele served as the hearing officer and Shogren served as the charging manager. Dr.

        Heligman was present as a witness for the Company.

               1399. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson



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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1400. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1401. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1402. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1403. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Homer Maynard.

               1404. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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               1405. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Homer Maynard was again included on this list.

               1406. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1407. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Homer Maynard was not among those who were scheduled to be

        furloughed.

               1408. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Maynard, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

               1409. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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                1410. On or about August 30, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Homer Maynard, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1411. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Maynard from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Maynard or his treatment other than what was contained on the notification

        of treatment.

                1412. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Maynard attempted to commit fraud or not.

                1413. Through his testimony, Dr. Heligman confirmed that he had no proof that Maynard

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1414. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1415. Dr. Heligman did not personally examine or treat Maynard or any of the other

        CSX/CSXT employees.

                1416. During the disciplinary investigation, CSX/CSXT presented Maynard’s personal

        and private medical records to all in attendance, including the other charged employees.

                1417. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

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               1418. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Maynard.

               1419. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               1420. During the disciplinary investigation, Dr. Heligman testified that Maynard, and the

        other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a), which states:

        “Employee behavior must be respectful and courteous. Employees must not be any of the

        following: Dishonest.”

               1421. Dr. Heligman also testified that Maynard, and the other charged employees,

        violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the Company claims

        the Code of Ethics was violated.

               1422. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Maynard and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Maynard investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1423. By letter dated September 6, 2017, CSX/CSXT notified Maynard that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “Brian Barr, VP Mechanical” and issued from “500

        Water Street, Jacksonville, FL 32202.”

               1424. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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               1425. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1426. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1427. The cumulative injuries sustained by Plaintiff during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1428. The cumulative injuries sustained by Maynard during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1429. In the event Maynard was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Scott Morrison - Boilermaker

               1430. On or about July 19, 2017, and dates prior and subsequent thereto, Morrison sought

        and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries sustained while off-duty.

               1431. Dr. Johnson evaluated Morrison, prescribed a course of treatment, and ordered

        Morrison off work until September 19, 2017.

               1432. On or about July 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Morrison. Among other things, the

        form described Morrison injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Morrison needed to be off work until September 19, 2017.



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               1433. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1434. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1435. On or about July 26, 2017, CSX and/or CSXT issued a notice to Morrison to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 21, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1436. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”. An amended notice was issued on or about July

        28, 2017.

               1437. A formal disciplinary investigation was held on August 23, 2017 in Huntington,

        West Virginia. Morrison was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               1438. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.



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               1439. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1440. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1441. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1442. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Scott Morrison.

               1443. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1444. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter




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        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Morrison was again included on this list.

                1445. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1446. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Morrison was not among those who were scheduled to be furloughed.

                1447. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Napier, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                1448. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1449. On or about August 23, 2017, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Scott Morrison, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel

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                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1450. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Morrison from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Morrison or his treatment other than what was contained on the COII.

                1451. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Morrison attempted to commit fraud or not.

                1452. Through his testimony, Dr. Heligman confirmed that he had no proof that Morrison

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1453. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1454. Dr. Heligman did not personally examine or treat Morrison or any of the other

        CSX/CSXT employees.

                1455. During the disciplinary investigation, CSX/CSXT presented Morrison’s personal

        and private medical records to all in attendance, including the other charged employees.

                1456. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1457. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Morrison.




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               1458. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               1459. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Morrison, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1460. Dr. Heligman and Shogren also testified that Morrison, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1461. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1462. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Morrison and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Morrison investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1463. By letter dated September 21, 2017, CSX/CSXT notified Morrison that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1464. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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               1465. During the course of Morrison’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1466. Due to the repetitive and physical nature of Morrison’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1467. The cumulative injuries sustained by Morrison during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1468. In the event Morisson was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Jeremy Napier – Fireman/Oiler

               1469. On or about June 21, 2017, and on dates subsequent thereto, Napier sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               1470. Dr. Johnson evaluated Napier, prescribed a course of treatment, and ordered Napier

        off work until August 21, 2017.

               1471. On or about June 21, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) form that he was treating Napier and estimated

        that Napier needed to be off work until August 21, 2017.

               1472. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




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                1473. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1474. On or about July 21, 2017, CSX and/or CSXT issued a notice to Napier to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1475. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 24,

        2017.

                1476. A formal disciplinary investigation was opened on August 7, 2017 and then

        reconvened on August 8, 2017 in Huntington, West Virginia. Napier was joined in the

        investigation by six other CSX/CSXT employees who were being similarly charged. Thoele served

        as the hearing officer and Shogren served as the charging manager. Dr. Heligman was present as

        a witness for the Company.

                1477. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

                1478. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.
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        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1479. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1480. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1481. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Jeremy Napier.

               1482. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1483. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Jeremy Napier was again included on this list.




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                1484. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1485. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jeremy Napier was not among those who were scheduled to be

        furloughed.

                1486. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Napier, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                1487. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1488. On or about August 23, 2017, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Jeremy Napier, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,

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                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1489. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Napier from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Napier or his treatment other than what was contained on the COII.

                1490. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Napier attempted to commit fraud or not.

                1491. Through his testimony, Dr. Heligman confirmed that he had no proof that Napier

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1492. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1493. Dr. Heligman did not personally examine or treat Napier or any of the other

        CSX/CSXT employees.

                1494. During the disciplinary investigation, CSX/CSXT presented Napier’s personal and

        private medical records to all in attendance, including the other charged employees.

                1495. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1496. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Napier.

                1497. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.


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               1498. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Napier, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               1499. Dr. Heligman and Shogren also testified that Napier, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1500. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1501. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Napier and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Napier investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1502. By letter dated September 5, 2017, CSX/CSXT notified Napier that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1503. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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               1504. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1505. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1506. The cumulative injuries sustained by Napier during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1507. In the event Napier was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Shawn Patterson - Fireman/Oiler

               1508. On or about July 11, 2017, and on dates subsequent thereto, Patterson sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               1509. Dr. Johnson evaluated Patterson, prescribed a course of treatment, and ordered

        Patterson off work until September 11, 2017.

               1510. On or about July 11, 2017, Dr. Johnson faxed to the CSX Medical Department a

        notice that he was treating Patterson and estimated that Patterson needed to be off work until

        September 11, 2017.

               1511. CSX and/or CSXT requires that such forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




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                1512. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1513. On or about July 21, 2017, CSX and/or CSXT issued a notice to Patterson to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1514. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 24,

        2017.

                1515. A formal disciplinary investigation was held on August 8, 2017 in Huntington,

        West Virginia. Patterson was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

                1516. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

                1517. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from
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        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1518. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1519. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1520. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Shawn Patterson.

               1521. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1522. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Shawn Patterson was again included on this list.

               1523. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order



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        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1524. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Shawn Patterson was not among those who were scheduled to be

        furloughed.

                1525. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Patterson, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

                1526. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1527. On or about August 30, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Shawn Patterson, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.




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                1528. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        notification of treatment of Patterson from Dr. Johnson. Dr. Heligman admitted that he had no

        other information regarding the injury to Patterson or his treatment other than what was contained

        on the notification of treatment.

                1529. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Patterson attempted to commit fraud or not.

                1530. Through his testimony, Dr. Heligman confirmed that he had no proof that Patterson

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1531. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1532. Dr. Heligman did not personally examine or treat Patterson or any of the other

        CSX/CSXT employees.

                1533. During the disciplinary investigation, CSX/CSXT presented Patterson’ personal

        and private medical records to all in attendance, including the other charged employees.

                1534. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1535. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Patterson.

                1536. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.



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               1537. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Patterson, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1538. Dr. Heligman and Shogren also testified that Patterson, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1539. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1540. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Patterson and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Patterson investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1541. By letter dated September 5, 2017, CSX/CSXT notified Patterson that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1542. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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               1543. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1544. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1545. The cumulative injuries sustained by Patterson during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1546. In the event Patterson was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Matthew Woods – Machine Operator

               1547. On or about June 20, 2017, Woods sustained a work-related injury when his work

        vehicle was struck by a CSX/CSXT train within a CSX/CSXT yard in Greenup, Kentucky.

               1548. Woods, in good faith, notified CSX/CSXT of his work-related injury on or about

        June 20, 2017 and completed and submitted to CSX/CSXT an “Employee’s Injury and/or Illness

        Report” (“Injury Report”).

               1549. Woods sought and received medical treatment for his work-related injury and

        notified CSX/CSXT of the same in his June 20th Injury Report.

               1550. On June 20, 2017, and dates subsequent thereto, Woods followed the treatment plan

        of his treating physicians.

               1551. On or about June 20, 2017, Woods, in good faith, notified CSX and/or CSXT of a

        hazardous safety or security condition that caused by and/or contributed to his on-duty injury.



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               1552. By letter dated June 29, 2017, CSX and/or CSXT issued a notice to Woods to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this formal investigation is to determine the facts and
                       place your responsibility, if any, in connection with an incident that
                       occurred at approximately 1330 hours, on June 20, 2017 at or near
                       milepost CA 526, in the vicinity of Russell Yard. While driving
                       CSX vehicle #91257, you fouled the crossing on the lead track as
                       the Y10320 was traveling west over the crossing, resulting in the
                       CSX vehicle you were operating being struck by the Y10320, and
                       all circumstances related thereto.

               1553. By letter dated July 5, 2017, CSX and/or CSXT issued an amended notice to attend

        a formal disciplinary investigation. The notice was further amended by letter dated July 7, 2017.

               1554. On or about June 27 and 28, 2017, Woods sought and received treatment for his

        work-related injuries from chiropractor Dr. Fischer. Dr. Fischer placed Woods on restrictions and

        referred him to Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup,

        Kentucky.

               1555. On or about July 6, 2017, and dates subsequent thereto Woods sought and received

        medical treatment from Dr. Johnson.

               1556. Dr. Johnson evaluated Woods, prescribed a course of treatment, and ordered Woods

        off work until September 6, 2017.

               1557. On or about July 6, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) form that he was treating Woods and estimated

        that Woods needed to be off work until September 6, 2017.

               1558. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




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               1559. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1560. On or about July 21, 2017, CSX and/or CSXT issued a notice to Woods to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1561. A formal disciplinary investigation for the June 20, 2017 incident was opened on

        July 26, 2017 and then reconvened on August 24, 2017 (“Injury Investigation”). Elizabeth Creedon

        served as the hearing officer and Kenneth Ray Emerson served as the charging manager.

               1562. A formal disciplinary investigation for the dishonesty and fraud allegations per the

        July 21, 2017 charge letter was opened on August 10, 2017 and then reconvened on August 14,

        2017 (“Medical Treatment Investigation”). Creedon served as the hearing officer, Emerson served

        as the charging manager, Dr. Heligman testified via phone.

               1563. The Medical Treatment Investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1564. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from
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        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1565. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1566. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1567. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Matthew Woods.

               1568. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1569. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Matthew Woods was again included on this list.

               1570. The Medical Treatment Investigation further revealed that the Defendants believed

        that more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in



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        order to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1571. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Matthew Woods was not among those who were scheduled to be

        furloughed.

               1572. During the Medical Treatment Investigation, Dr. Heligman testified that it is up to

        the employees to choose their treating physicians. He further testified that it is the responsibility

        of the employees to submit COII forms to the Medical Department. And Dr. Heligman stated that

        he did not doubt the injuries claimed by the employees or the validity of the documents provided

        by the doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Woods, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

               1573. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1574. On or about August 23, 2017, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Matthew Woods, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.




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                1575. During the Medical Treatment Investigation, Dr. Heligman introduced as exhibits,

        the COII of Woods from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Woods or his treatment other than what was contained on the COII.

                1576. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Woods attempted to commit fraud or not.

                1577. Through his testimony, Dr. Heligman confirmed that he had no proof that Woods

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1578. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1579. Dr. Heligman did not personally examine or treat Woods or any of the other

        CSX/CSXT employees.

                1580. During the Medical Treatment Investigation, CSX/CSXT presented Woods’

        personal and private medical records to all in attendance, including the other charged employees.

                1581. During the Medical Treatment Investigation, CSX/CSXT presented the personal

        and private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1582. Through his testimony in the Medical Treatment Investigation, Emerson admitted

        to having been provided by Dr. Heligman some 96 pages of private medical documentation of

        CSX/CSXT employees, including Woods.

                1583. Emerson further testified that he received the July 14, 2017 letter from Heligman

        to the RRB Office of Inspector General.




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               1584. During the disciplinary investigation, Dr. Heligman and Emerson testified that

        Woods, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1585. Dr. Heligman and Emerson also testified that Woods, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1586. As the charging manager, it is Emerson’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Emerson testified that

        he did no investigation whatsoever into the alleged wrongdoing by Woods and the other charged

        employees.

               1587. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Woods and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Woods investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1588. By letter dated September 1, 2017, CSX/CSXT notified Woods that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy” as a result of the Medical Treatment Investigation.

               1589. By letter dated September 13, 2017, CSX/CSXT notified Woods that he was

        dismissed from employment for violation of “CSX Transportation Operating Rules 100.1, 700.1,

        700.3, and 706.1” as a result of the Injury Investigation.

               1590. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.



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                 1591. During the course of Woods’ employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 1592. Due to the repetitive and physical nature of Woods’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 1593. The cumulative injuries sustained by Woods during the course and scope of his

        employment with CSX and/or CSXT likely contributed, at least in part, to the injury described

        above.

                 1594. In the event Woods was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work-related duties required of him during his employment with Defendants.

        John Carpenter – Machinist

                 1595. On or about June 19, 2017, Plaintiff sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                 1596. Dr. Johnson evaluated Plaintiff, including his complaints of back pain. Dr. Johnson

        ordered that Plaintiff have x-rays taken and ordered him off work. Dr. Johnson diagnosed Plaintiff

        with sprain of the lumbar/pelvis, sprain of the right knee, and back spasms, and provided treatment

        accordingly.

                 1597. Following his initial appointment with Dr. Johnson, Plaintiff sought the care of a

        an orthopedic surgeon who opined that he could have a torn meniscus and provided a prescription

        for anti-inflammatory medication.




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               1598. On or about June 20, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Plaintiff. Among other things, the

        form described Plaintiff’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Plaintiff needed to be off work until August 19, 2017.

               1599. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1600. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1601. Through his course of treatment, Dr. Johnson sent a subsequent COII for Plaintiff

        on or about August 16, 2017 reflecting that Plaintiff’s condition required additional time off work

        and provided an estimated return to work date of September 18, 2017.

               1602. On or about July 26, 2017, CSX and/or CSXT issued a notice to Plaintiff to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”. An amended notice was sent on or about July 28, 2017.

               1603. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Plaintiff was joined in the investigation by six other CSX/CSXT employees who




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        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1604. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               1605. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1606. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1607. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Plaintiff.

               1608. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.



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                1609. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1610. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Plaintiff was again included on this list.

                1611. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1612. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, notwithstanding Plaintiff’s termination, he would have

        only been subject to furlough until January 1, 2018.

                1613. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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                1614. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1615. On or about September 22, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Plaintiff, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

                1616. During the disciplinary investigation, the COII prepared for Claimant by Dr.

        Johnson was introduced as an exhibit. Dr. Heligman admitted that he had no other information

        regarding the injury to Plaintiff or his treatment other than what was contained on the COII.

                1617. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Plaintiff or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                1618. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1619. Dr. Heligman did not personally examine or treat Plaintiff or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1620. During the disciplinary investigation, CSX/CSXT presented Plaintiff’s personal

        and private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.


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                1621. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                1622. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Plaintiff.

                1623. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1624. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Plaintiff, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                1625. Dr. Heligman and Shogren also testified that Plaintiff, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1626. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Plaintiff and the others was to “develop the facts and place … responsibility, if any” yet nearly a

        month before Plaintiff investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                1627. By letter dated September 21, 2017, CSX/CSXT notified Plaintiff that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”



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                1628. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                1629. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                1630. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                1631. The cumulative injuries sustained by Carpenter during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                1632. In the event Carpenter was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Quincy Christian – Machinist

                1633. On or about June 21, 2017, and on dates subsequent thereto, Christian sought and

        received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

                1634. Dr. Carey evaluated Christian, including his complaints of back and shoulder

        injuries. Dr. Carey prescribed a course of treatment, ordered x-rays, and ordered Christian off

        work.

                1635. On or about June 26, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Christian. Among other things, the




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        form described Christian injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Christian needed to be off work until August 21, 2017.

                1636. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1637. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1638. On or about July 26, 2017, CSX and/or CSXT issued a notice to Christian to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1639. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28,

        2017.

                1640. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Christian was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

                1641. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a



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        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1642. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1643. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1644. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1645. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Quincy Christian (though his last name was misspelled as “Chastain,”

        he was identified by his first name, middle initial, and employee number).

               1646. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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               1647. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Quincy Christian was again included on this list (though his last

        name was misspelled as “Chastain,” he was identified by his first name, middle initial, and

        employee number).

               1648. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1649. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Quincy Christian was among those who were scheduled to be

        furloughed.

               1650. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Christian, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.




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               1651. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1652. On or about August 25, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Quincy Christian, to advise them that:

                       he CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1653. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Christian from Dr. Carey. Dr. Heligman admitted that he had no other information

        regarding the injury to Christian or his treatment other than what was contained on the COII.

               1654. During the disciplinary investigation, Christian produced a report from Dr. Carey

        which detailed his diagnoses and treatment plan of Christian and which confirmed that Christian

        was still not able to return to work.

               1655. Through his testimony, Dr. Heligman confirmed that he had no proof that Christian

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

               1656. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               1657. Dr. Heligman did not personally examine or treat Christian or any of the other

        CSX/CSXT employees.

               1658. During the disciplinary investigation, CSX/CSXT presented Christian’s personal

        and private medical records to all in attendance, including the other charged employees.


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                1659. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1660. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Christian.

                1661. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1662. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Christian, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                1663. Dr. Heligman and Shogren also testified that Christian, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1664. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                1665. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Christian and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Christian investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.



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                 1666. By letter dated September 21, 2017, CSX/CSXT notified Christian that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                 1667. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                 1668. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 1669. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 1670. The cumulative injuries sustained by Christian during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 1671. In the event Christian was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Gregory Hamm – Machinist

                 1672. On or about June 19, 2017, and on dates subsequent thereto, Hamm sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.




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                1673. Dr. Johnson evaluated Hamm, including his complaints of back and knee injuries.

        Dr. Johnson prescribed a course of treatment and ordered Hamm off work.

                1674. On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Hamm. Among other things, the

        form described Hamm’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Hamm needed to be off work until August 19, 2017.

                1675. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1676. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1677. On or about July 26, 2017, CSX and/or CSXT issued a notice to Hamm to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1678. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28,

        2017.

                1679. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Hamm was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.
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               1680. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey, II, D.C. (“Dr. Carey”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1681. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1682. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1683. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1684. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Gregory Hamm.




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                1685. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1686. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Gregory Hamm was again included on this list.

                1687. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1688. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Gregory Hamm was among those who were scheduled to be

        furloughed.

                1689. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Hamm, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.



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               1690. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1691. On or about August 25, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Gregory Hamm, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1692. During the disciplinary investigation, Dr. Heligman introduced as exhibits the

        COIIs of Hamm from Dr. Johnson dated July 16, 2016 and August 16, 2017. In the August 16,

        2017 COII, Dr. Johnson estimated that Hamm needed to be off work until October 16, 2017. Dr.

        Heligman admitted that he had no other information regarding the injury to Hamm or his treatment

        other than what was contained on the COIIs.

               1693. During the disciplinary investigation, Hamm produced records of x-rays taken at

        Our Lady of Bellefonte Hospital as ordered by Dr. Johnson.

               1694. Through his testimony, Dr. Heligman confirmed that he had no proof that Hamm

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

               1695. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               1696. Dr. Heligman did not personally examine or treat Hamm or any of the other

        CSX/CSXT employees.




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                1697. During the disciplinary investigation, CSX/CSXT presented Hamm’s personal and

        private medical records to all in attendance, including the other charged employees.

                1698. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1699. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Hamm.

                1700. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1701. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Hamm, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                1702. Dr. Heligman and Shogren also testified that Hamm, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1703. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                1704. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Hamm and the others was to “develop the facts and place … responsibility, if any” yet more than



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        a month before the Hamm investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                1705. By letter dated September 21, 2017, CSX/CSXT notified Hamm that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                1706. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                1707. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                1708. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                1709. The cumulative injuries sustained by Hamm during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                1710. In the event Hamm was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Ethan Mullins – Machinist

                1711. On or about June 21, 2017, Plaintiff sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.



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               1712. Dr. Johnson evaluated Plaintiff, including his complaints of back pain. Dr. Johnson

        ordered that Plaintiff have x-rays taken of his back and ordered him off work. Dr. Johnson

        diagnosed Plaintiff with sprain of the lumbar/pelvis and muscle spasms. Dr. Johnson provided

        treatment accordingly including visits approximately twice a week.

               1713. On or about June 22, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Plaintiff. Among other things, the

        form described Plaintiff’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Plaintiff needed to be off work until August 21, 2017.

               1714. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1715. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1716. On or about July 26, 2017, CSX and/or CSXT issued a notice to Plaintiff to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”. An amended notice was sent on or about July 28, 2017.

               1717. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Plaintiff was joined in the investigation by six other CSX/CSXT employees who



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        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1718. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               1719. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1720. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1721. The list of employees named in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Plaintiff.

               1722. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.



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                1723. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1724. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Plaintiff was again included on this list.

                1725. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1726. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, notwithstanding Plaintiff’s termination, he would have

        only been subject to furlough until January 1, 2018 at which time he was scheduled to begin a five

        year period of guaranteed work.

                1727. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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                1728. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1729. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

                1730. During the disciplinary investigation, the COII prepared for Claimant by Dr.

        Johnson was introduced as an exhibit. Dr. Heligman admitted that he had no other information

        regarding the injury to Plaintiff or his treatment other than what was contained on the COII.

                1731. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Plaintiff or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                1732. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1733. Dr. Heligman did not personally examine or treat Plaintiff or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1734. During the disciplinary investigation, CSX/CSXT presented Plaintiff’s personal

        and private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.


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                1735. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                1736. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Plaintiff.

                1737. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1738. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Plaintiff, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                1739. Dr. Heligman and Shogren also testified that Plaintiff, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1740. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Plaintiff and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before Plaintiff investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                1741. By letter dated September 21, 2017, CSX/CSXT notified Plaintiff that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”



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               1742. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1743. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1744. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1745. The cumulative injuries sustained by Mullins during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1746. In the event Mullins was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Michael Owens – Machinist

               1747. On or about June 26, 2017, and on dates subsequent thereto, Owens sought and

        received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

               1748. Dr. Carey evaluated Owens, prescribed a course of treatment, and ordered Owens

        off work until October 28, 2017.

               1749. On or about June 26, 2017, Dr. Carey faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Owens. Among other things, the

        form described Owens injuries, Dr. Carey’s diagnosis and treatment plan, and estimated that

        Owens needed to be off work until October 28, 2017.



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                1750. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1751. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1752. On or about July 26, 2017, CSX and/or CSXT issued a notice to Owens to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                1753. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28,

        2017.

                1754. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Owens was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

                1755. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.



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               1756. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1757. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1758. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1759. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Michael Owens.

               1760. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1761. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter




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        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Michael Owens was again included on this list.

                1762. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1763. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Michael Owens was not among those who were scheduled to be

        furloughed.

                1764. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Owens, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                1765. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1766. On or about August 25, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Michael Owens, to advise them that:



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                        he CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1767. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Owens from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Owens or his treatment other than what was contained on the COII.

                1768. During the disciplinary investigation, Owens produced a report from Dr. Carey

        which detailed his diagnoses and treatment plan of Owens and which confirmed that Owens was

        still not able to return to work.

                1769. Through his testimony, Dr. Heligman confirmed that he had no proof that Owens

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1770. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1771. Dr. Heligman did not personally examine or treat Owens or any of the other

        CSX/CSXT employees.

                1772. During the disciplinary investigation, CSX/CSXT presented Owens’s personal and

        private medical records to all in attendance, including the other charged employees.

                1773. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.




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               1774. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Owens.

               1775. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               1776. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Owens, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1777. Dr. Heligman and Shogren also testified that Owens, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1778. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1779. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Owens and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Owens investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1780. By letter dated September 21, 2017, CSX/CSXT notified Owens that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics




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        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1781. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1782. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1783. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1784. The cumulative injuries sustained by Owens during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1785. In the event Owens was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Jonathan Rowe - Machinist

               1786. On or about July 14, 2017, and on dates subsequent thereto, Rowe sought and

        received medical treatment from Daniel J. Carey, II, D.C., (“Dr. Carey”) at Carey Chiropractic in

        Proctorville, Ohio for injuries.

               1787. Dr. Carey evaluated Rowe, prescribed a course of treatment, and ordered Rowe off

        work until September 18, 2017.




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               1788. On or about July 14, 2017, Dr. Carey faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Rowe and estimated that

        Rowe needed to be off work until September 18, 2017.

               1789. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1790. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1791. On or about September 25, 2017, CSX and/or CSXT issued a notice to Rowe to

        attend a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on September 20, 2017 from the CSXT Chief Medical Officer that
                       you were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, FL 32202.”

               1792. A formal disciplinary investigation was conducted on October 5, 2017 in

        Huntington, West Virginia. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1793. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Carey

        or another chiropractor in the area, Dr. Shannon M. Johnson (“Dr. Johnson”), had engaged “in a




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        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1794. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1795. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1796. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1797. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1798. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter




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        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters.

               1799. On or about September 20, 2017, Dr. Heligman sent yet another letter to the RRB

        Inspector General in which he requested that the Inspector General add Jonathan Rowe “to the list

        of of your cases to be investigated” based on Rowe having treated with Dr. Carey.

               1800. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1801. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jonathan Rowe was not among those who were scheduled to be

        furloughed.

               1802. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Rowe, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.




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               1803. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1804. On or about September 26, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Jonathan Rowe, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1805. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Rowe from Dr. Carey. Dr. Heligman admitted that he had no other information regarding

        the injury to Rowe or his treatment other than what was contained on the notification of treatment.

               1806. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Rowe attempted to commit fraud or not.

               1807. Through his testimony, Dr. Heligman confirmed that he had no proof that Rowe or

        any of the employees went to Drs. Johnson or Carey for any improper purpose.

               1808. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               1809. Dr. Heligman did not personally examine or treat Rowe or any of the other

        CSX/CSXT employees.

               1810. During the disciplinary investigation, CSX/CSXT presented Rowe’s personal and

        private medical records to all in attendance, including the other charged employees.




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                                                                                        USCA4         387
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                1811. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1812. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Rowe.

                1813. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1814. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Rowe, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                1815. Dr. Heligman and Shogren also testified that Rowe, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                1816. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                1817. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Rowe and the others was to “develop the facts and place … responsibility, if any” yet more than a

        month before the Rowe investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.



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                1818. By letter dated October 27, 2017, CSX/CSXT notified Rowe that he was dismissed

        from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics Policy.” The

        letter was signed and issued by “Brian Barr, VP Mechanical, 500 Water Street, Jacksonville,

        Florida 32202.”

                1819. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                1820. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                1821. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                1822. The cumulative injuries sustained by Rowe during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                1823. In the event Rowe was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work related duties required of him during his employment with Defendants.

        Danny Stewart – Machinist

                1824. On or about July 10, 2017, Stewart sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1825. Dr. Johnson evaluated Stewart, including his complaints of lumbar pain and back

        spasms. Dr. Johnson ordered x-rays and ordered Stewart off work.




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                                                                                        USCA4          389
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               1826. On or about July 10, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Stewart. Among other things, the

        form described Stewart injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Stewart needed to be off work until September 12, 2017.

               1827. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               1828. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1829. On or about July 26, 2017, CSX and/or CSXT issued a notice to Stewart to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1830. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               1831. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Stewart was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1832. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted
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                                                                                        USCA4          390
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        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1833. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1834. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1835. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1836. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Stewart.

               1837. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.




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                1838. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Stewart was again included on this list.

                1839. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1840. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                1841. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                1842. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1843. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Stewart, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel

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                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                1844. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Stewart from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Stewart or his treatment other than what was contained on the COII.

                1845. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Stewart or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                1846. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1847. Dr. Heligman did not personally examine or treat Stewart or any of the other

        CSX/CSXT employees.

                1848. During the disciplinary investigation, CSX/CSXT presented Stewart’s personal and

        private medical records to all in attendance, including the other charged employees.

                1849. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1850. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Stewart.

                1851. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.


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               1852. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Stewart, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1853. Dr. Heligman and Shogren also testified that Stewart, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1854. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1855. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Stewart and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Stewart investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               1856. By letter dated September 21, 2017, CSX/CSXT notified Stewart that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1857. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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               1858. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1859. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1860. The cumulative injuries sustained by Stewart during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1861. In the event Stewart was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Lloyd Williams – Machinist

               1862. On or about July 5, 2017, and on dates prior and subsequent thereto, Williams

        sought and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at

        Johnson Chiropractic in Greenup, Kentucky for injuries.

               1863. Dr. Johnson evaluated Williams, prescribed a course of treatment, and ordered

        Williams off work until September 5, 2017.

               1864. On or about July 5, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Williams. Among other things, the

        form described Williams injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Williams needed to be off work until September 5, 2017.

               1865. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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               1866. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1867. On or about July 26, 2017, CSX and/or CSXT issued a notice to Williams to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1868. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about August

        9, 2017.

               1869. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Williams was joined in the investigation by other CSX/CSXT employees who were

        being similarly charged. Thoele served as the hearing officer and Shogren served as the charging

        manager. Dr. Heligman was present as a witness for the Company.

               1870. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey, II (“Dr. Carey”), had engaged “in a

        concerted effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental

        insurance providers.

               1871. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from
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        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1872. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1873. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1874. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Lloyd Williams.

               1875. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1876. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Lloyd Williams was again included on this list.

               1877. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order



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        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1878. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Lloyd Williams was not among those who were scheduled to be

        furloughed.

                1879. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Williams, was not sufficient to “prove or disprove that an injury was present” yet he still claimed

        to have sufficient evidence to accuse the workers of committing fraud.

                1880. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                1881. On or about August 25, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Lloyd Williams, to advise them that:

                        he CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.




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                1882. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Williams from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Williams or his treatment other than what was contained on the COII.

                1883. Through his testimony, Dr. Heligman confirmed that he had no proof that Williams

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                1884. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                1885. Dr. Heligman did not personally examine or treat Williams or any of the other

        CSX/CSXT employees.

                1886. During the disciplinary investigation, CSX/CSXT presented Williams’s personal

        and private medical records to all in attendance, including the other charged employees.

                1887. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1888. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Williams.

                1889. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1890. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Williams, and the other charged employees, violated CSX/CSXT Employee Operating Rule




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        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               1891. Dr. Heligman and Shogren also testified that Williams, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1892. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               1893. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Williams and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Williams investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1894. By letter dated September 21, 2017, CSX/CSXT notified Williams that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1895. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1896. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




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                1897. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                1898. The cumulative injuries sustained by Williams during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                1899. In the event Williams was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        David Manis – Painter

                1900. On or about July 11, 2017, David Manis sought and received medical treatment

        from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky

        for injuries to his back.

                1901. Dr. Johnson evaluated Manis, including his complaints of back pain. Dr. Johnson

        ordered that Manis have x-rays taken of his back and ordered him off work. The x-ray reports

        revealed “multilevel mild borderline moderate degenerative disc disease and mild to moderate

        lower lumbar spine facet DJD present.” Dr. Johnson diagnosed Manis with Lumbosacral sprain,

        thoracic sprain, and Myospasms and provided treatment accordingly.

                1902. On or about July 12, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Manis. Among other things, the

        form described his injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that he

        needed to be off work until September 11, 2017.

                1903. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.



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                                                                                         USCA4         401
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               1904. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               1905. On or about July 25, 2017, CSX and/or CSXT issued a notice to Manis to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               1906. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               1907. A formal disciplinary investigation was held on August 10, 2017 in Huntington,

        West Virginia. Manis was joined in the investigation by four other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1908. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               1909. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious
                                                        297
                                                                                        USCA4          402
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        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1910. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1911. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1912. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               1913. The list of employees included in Dr. Heligman’s July 21, 2017 letter to the RRB

        Inspector General included David Manis.

               1914. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Manis was again included on this list.

               1915. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.



                                                        298
                                                                                         USCA4          403
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               1916. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, notwithstanding Manis’ medical leave, he was otherwise

        qualified to work and would not have been furloughed.

               1917. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1918. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1919. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1920. During the disciplinary investigation, the COII prepared for Manis by Dr. Johnson

        was introduced as an exhibit. Dr. Heligman admitted that he had no other information regarding

        the injury to Manis or his treatment other than what was contained on the COII.




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                                                                                            USCA4          404
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                1921. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Manis or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                1922. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1923. Dr. Heligman did not personally examine or treat Manis or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1924. During the disciplinary investigation, CSX/CSXT presented Manis’ personal and

        private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                1925. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.

                1926. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Manis.

                1927. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1928. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Manis, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),




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                                                                                         USCA4         405
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        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               1929. Dr. Heligman and Shogren also testified that Manis, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1930. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Manis and the others was to “develop the facts and place … responsibility, if any” yet nearly a

        month before Manis’ investigation, Dr. Heligman had already written to the RRB and other benefit

        providers to declare his belief that these employees had committed fraud.

               1931. By letter dated September 5, 2017, CSX/CSXT notified Manis that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1932. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1933. During the course of Manis’ employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1934. Due to the repetitive and physical nature of Manis’ employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1935. The cumulative injuries sustained by Manis during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.




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                                                                                        USCA4             406
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                1936. In the event Manis was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work-related duties required of him during his employment with Defendants.

        Joshua Ferguson – Sheet Metal Worker

                1937. On or about July 12 , 2017, Ferguson sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1938. Dr. Johnson evaluated Ferguson, including his complaints of pain in his neck and

        back. Dr. Johnson diagnosed Ferguson with cervical sprain, cervicobrachial syndrome, sprain of

        the right shoulder, and muscle spasms.        Ferguson was treated with spinal manipulations,

        therapeutic exercise, and passive modalities was ordered off work.

                1939. On or about July 13, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Ferguson. Among other things, the

        form described Ferguson’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Ferguson needed to be off work until September 12, 2017.

                1940. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1941. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1942. On or about July 21, 2017, CSX and/or CSXT issued a notice to Ferguson to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received

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                                                                                        USCA4          407
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                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

        The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from “500 Water

        Street, Jacksonville, Florida 32202”.

               1943. A formal disciplinary investigation was held on August 9, 2017 in Huntington,

        West Virginia. Ferguson was joined in the investigation by three other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1944. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               1945. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.




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                                                                                        USCA4         408
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               1946. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               1947. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               1948. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees including Joshua Ferguson.

               1949. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Ferguson was again included on this list.

               1950. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

               1951. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Ferguson was not among those who were scheduled to be abolished

        or furloughed.




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                                                                                         USCA4          409
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               1952. Furthermore, at the time the furloughs were announced, Ferguson was part of a

        four-year contractual guarantee whereby he was guaranteed active employment and thus not

        subject to furlough through October 2017.

               1953. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1954. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1955. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

               1956. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Ferguson from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Ferguson or his treatment other than what was contained on the COII.

               1957. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Ferguson or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

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                                                                                            USCA4          410
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                1958. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                1959. Dr. Heligman did not personally examine or treat Ferguson or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                1960. During the disciplinary investigation, CSX/CSXT presented Ferguson’s personal

        and private medical information contained on his COII to all in attendance, including the other

        charged employees.

                1961. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                1962. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Ferguson.

                1963. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                1964. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Ferguson, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”




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                                                                                         USCA4         411
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               1965. Dr. Heligman and Shogren also testified that Ferguson, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               1966. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Ferguson and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before Ferguson’s investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.

               1967. By letter dated September 6, 2017, CSX/CSXT notified Ferguson that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               1968. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               1969. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               1970. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               1971. The cumulative injuries sustained by Ferguson during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               1972. In the event Ferguson was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or




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                                                                                        USCA4          412
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        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Eric Speaks – Sheet Metal Worker

                1973. On or about July 10, 2017, Speaks sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                1974. Dr. Johnson evaluated Speaks, including his complaints of pain in his shoulder,

        spine and pelvis. Dr. Johnson ordered x-rays and ordered Speaks off work.

                1975. On or about July 10, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Speaks. Among other things, the

        form described Speaks injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Speaks needed to be off work until September 11, 2017.

                1976. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                1977. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                1978. On or about July 21, 2017, CSX and/or CSXT issued a notice to Speaks to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.



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               1979. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.


               1980. A formal disciplinary investigation was held on August 9, 2017 in Huntington,

        West Virginia. Speaks was joined in the investigation by four other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               1981. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               1982. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               1983. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]




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        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

                1984. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

                1985. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Justin Speaks.

                1986. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                1987.   On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Speaks was again included on this list.

                1988. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                1989. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                1990. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did



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        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

               1991. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               1992. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Speaks, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               1993. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Speaks from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Speaks or his treatment other than what was contained on the COII.

               1994. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Speaks or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

               1995. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               1996. Dr. Heligman did not personally examine or treat Speaks or any of the other

        CSX/CSXT employees.




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                                                                                        USCA4          416
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                1997. Through his testimony at the disciplinary investigation, Shogren confirmed that

        Speaks was not part of the furlough/abolishment notice.

                1998. During the disciplinary investigation, CSX/CSXT presented Speaks’ personal and

        private medical records to all in attendance, including the other charged employees.

                1999. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2000. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Speaks.

                2001. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2002. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Speaks, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                2003. Dr. Heligman and Shogren also testified that Speaks, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                2004. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.



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                                                                                       USCA4         417
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               2005. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Speaks and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Speaks investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               2006. By letter dated September 6, 2017, CSX/CSXT notified Speaks that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               2007. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               2008. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               2009. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               2010. The cumulative injuries sustained by Speaks during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               2011. In the event Speaks was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Donald Stephens – Sheet Metal Worker




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                                                                                        USCA4          418
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                2012. On or about June 19, 2017, Stephens sought and received medical treatment from

        Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky for

        injuries.

                2013. Dr. Johnson evaluated Stephens, including his complaints of pain. Dr. Johnson

        ordered x-rays and ordered Stephens off work.

                2014. On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Stephens. Among other things, the

        form described Stephens injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Stephens needed to be off work until August 19, 2017.

                2015. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                2016. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                2017. On or about July 24, 2017, CSX and/or CSXT issued a notice to Stephens to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                2018. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

                2019. A formal disciplinary investigation was held on August 9, 2017 in Huntington,

        West Virginia. Stephens was joined in the investigation by six other CSX/CSXT employees who
                                                        314
                                                                                        USCA4          419
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        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               2020. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               2021. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2022. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRb Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2023. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.




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                                                                                        USCA4         420
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                2024. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Stephens.

                2025. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                2026. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Justin Stephens was again included on this list.

                2027. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2028. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017.

                2029. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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                                                                                            USCA4          421
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               2030. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               2031. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Justin Stephens, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               2032. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Stephens from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Stephens or his treatment other than what was contained on the COII.

               2033. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Stephens or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

               2034. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

               2035. Dr. Heligman did not personally examine or treat Stephens or any of the other

        CSX/CSXT employees.

               2036. Through his testimony at the disciplinary investigation, Shogren confirmed that

        Stephens was not part of the furlough/abolishment notice.

               2037. During the disciplinary investigation, CSX/CSXT presented Stephens’ personal

        and private medical records to all in attendance, including the other charged employees.


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                                                                                        USCA4          422
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                2038. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2039. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Stephens.

                2040. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2041. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Stephens, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                2042. Dr. Heligman and Shogren also testified that Stephens, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                2043. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                2044. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Stephens and the others was to “develop the facts and place … responsibility, if any” yet more

        than a month before the Stephens investigation, Dr. Heligman had already written to the RRB and

        other benefit providers to declare his belief that these employees had committed fraud.



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                 2045. By letter dated September 6, 2017, CSX/CSXT notified Stephens that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                 2046. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                 2047. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                 2048. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                 2049. The cumulative injuries sustained by Stephens during the course and scope of

        his/her employment with CSX and/or CSXT contributed, at least in part, to the injury described

        above.

                 2050. In the event Stephens was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work related duties required of him during his employment with

        Defendants.

        Jason Barker – Utility Worker

                 2051. On or about June 19, 2017, and on dates subsequent thereto, Barker sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.




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                                                                                        USCA4          424
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                2052. Dr. Johnson evaluated Barker, prescribed a course of treatment, and ordered Barker

        off work until August 19, 2017.

                2053. On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        notice that he was treating Barker and estimated that Barker needed to be off work until August

        19, 2017.

                2054. CSX and/or CSXT requires that such forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                2055. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                2056. On or about July 21, 2017, CSX and/or CSXT issued a notice to Barker to attend a

        formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                2057. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 24,

        2017.

                2058. A formal disciplinary investigation was held on August 8, 2017 in Huntington,

        West Virginia. Barker was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.



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                                                                                         USCA4         425
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               2059. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               2060. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2061. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2062. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2063. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Jason Barker.




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                                                                                        USCA4         426
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                2064. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                2065. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Jason Barker was again included on this list.

                2066. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2067. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Jason Barker was not among those who were scheduled to be

        furloughed.

                2068. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Barker, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.



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                                                                                            USCA4          427
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               2069. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

               2070. On or about September 8, 2017, Dr. Heligman sent letters to CSX/CSXT

        employees, including Jason Barker, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               2071. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        notification of treatment of Barker from Dr. Johnson. Dr. Heligman admitted that he had no other

        information regarding the injury to Barker or his treatment other than what was contained on the

        notification of treatment.

               2072. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Barker attempted to commit fraud or not.

               2073. Through his testimony, Dr. Heligman confirmed that he had no proof that Barker

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

               2074. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               2075. Dr. Heligman did not personally examine or treat Barker or any of the other

        CSX/CSXT employees.

               2076. During the disciplinary investigation, CSX/CSXT presented Barker’ personal and

        private medical records to all in attendance, including the other charged employees.


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                                                                                       USCA4        428
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                2077. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2078. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Barker.

                2079. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2080. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Barker, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

                2081. Dr. Heligman and Shogren also testified that Barker, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                2082. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                2083. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Barker and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Barker investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.



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                                                                                       USCA4         429
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               2084. By letter dated September 5, 2017, CSX/CSXT notified Barker that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               2085. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               2086. During the course of Plaintiff’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               2087. Due to the repetitive and physical nature of Plaintiff’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               2088. The cumulative injuries sustained by Barker during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               2089. In the event Barker was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work related duties required of him during his employment with

        Defendants.

        Chad Dowdy – Utility Worker

               2090. On or about June 19, 2017, and on dates subsequent thereto, Dowdy sought and

        received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson

        Chiropractic in Greenup, Kentucky for injuries.

               2091. Dr. Johnson evaluated Dowdy, prescribed a course of treatment, and ordered

        Dowdy off work until August 19, 2017.



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                2092. On or about June 19, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Dowdy and estimated that

        Dowdy needed to be off work until August 19, 2017.

                2093. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

                2094. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                2095. On or about July 21, 2017, CSX and/or CSXT issued a notice to Dowdy to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                2096. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 24,

        2017.

                2097. A formal disciplinary investigation opened on August 7, 2017 and then reconvened

        on August 8, 2017 in Huntington, West Virginia. Dowdy was joined in the investigation by six

        other CSX/CSXT employees who were being similarly charged. Thoele served as the hearing

        officer and Shogren served as the charging manager. Dr. Heligman was present as a witness for

        the Company.

                2098. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson
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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

               2099. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2100. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2101. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2102. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Chad Dowdy.

               2103. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.



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                2104. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Chad Dowdy was again included on this list.

                2105. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2106. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Chad Dowdy was not among those who were scheduled to be

        furloughed.

                2107. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Dowdy, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                2108. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”



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               2109. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Chad Dowdy, to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

               2110. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Dowdy from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Dowdy or his treatment other than what was contained on the notification

        of treatment. Dowdy presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis

        and treatment plan for Dowdy.

               2111. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Dowdy attempted to commit fraud or not.

               2112. Through his testimony, Dr. Heligman confirmed that he had no proof that Dowdy

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

               2113. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

               2114. Dr. Heligman did not personally examine or treat Dowdy or any of the other

        CSX/CSXT employees.

               2115. During the disciplinary investigation, CSX/CSXT presented Dowdy’s personal and

        private medical records to all in attendance, including the other charged employees.




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                2116. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2117. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Dowdy.

                2118. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2119. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Dowdy, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                2120. Dr. Heligman and Shogren also testified that Dowdy, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                2121. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

                2122. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Dowdy and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Dowdy investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.



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                2123. By letter dated September 5, 2017, CSX/CSXT notified Dowdy that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

                2124. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                2125. During the course of Dowdy’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                2126. Due to the repetitive and physical nature of Dowdy’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                2127. The cumulative injuries sustained by Dowdy during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                2128. In the event Dowdy was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Jerry Flocker – Utility Worker

                2129. On or about June 19, 2017, Jerry Flocker sought and received medical treatment

        from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky

        for injuries.




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               2130. Dr. Johnson evaluated Flocker, including his complaints of pain in his back and

        knee. Dr. Johnson diagnosed Flocker with lumbar/pelvis sprain, knee sprain, and muscle spasms.

        Flocker was treated by Dr. Johnson and ordered off work.

               2131. On or about June 20, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Flocker. Among other things, the

        form described Flocker’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Flocker needed to be off work until August 19, 2017.

               2132. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               2133. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               2134. On or about July 21, 2017, CSX and/or CSXT issued a notice to Flocker to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               2135. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               2136. A formal disciplinary investigation was held on August 8, 2017 in Huntington,

        West Virginia. Flocker was joined in the investigation by six other CSX/CSXT employees who




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        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               2137. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               2138. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2139. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2140. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2141. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Flocker.



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                2142. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

                2143. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Flocker was again included on this list.

                2144. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2145. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Flocker was not among those who were scheduled to be abolished

        or furloughed.

                2146. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.




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                2147. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                2148. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                       the CSX Medical Department is no longer accepting any medical
                       documentation completed by Shannon Johnson, DC, or Daniel
                       Carey II, DC. If you continue to have a need to be off of work for a
                       medical reason or wish to return to work from a medical leave,
                       please provide updated medical documentation from your primary
                       care or treating physician, other than the two referenced above.

                2149. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Flocker from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Flocker or his treatment other than what was contained on the COII.

                2150. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Flocker or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                2151. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                2152. Dr. Heligman did not personally examine or treat Flocker or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                2153. During the disciplinary investigation, CSX/CSXT presented Flocker’s personal and

        private medical information contained on his COII to all in attendance, including the other charged

        employees.

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                2154. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2155. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Flocker.

                2156. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2157. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Flocker, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

                2158. Dr. Heligman and Shogren also testified that Flocker, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

                2159. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Flocker and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before Flocker’s investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

                2160. By letter dated September 5, 2017, CSX/CSXT notified Flocker that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”



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                2161. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

                2162. During the course of Flocker’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                2163. Due to the repetitive and physical nature of Flocker’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                2164. The cumulative injuries sustained by Flocker during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                2165. In the event Flocker was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with

        Defendants.

        Grover Kelley – Utility Worker

                2166. On or about June 21, 2017, Grover Kelley sought and received medical treatment

        from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup, Kentucky

        for injuries.

                2167. Dr. Johnson evaluated Kelley, including his complaints of pain in his neck and

        back. Dr. Johnson diagnosed Kelley with cervicocranial syndrome, thoracic sprain, and muscle

        spasms. Kelley was treated by Dr. Johnson and ordered off work.

                2168. On or about June 22, 2017, Dr. Johnson faxed to the CSX Medical Department a

        “Certification of Ongoing Illness or Injury” (“COII”) form for Kelley. Among other things, the




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        form described Kelley’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that

        Kelley needed to be off work until August 21, 2017.

               2169. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               2170. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               2171. On or about July 19, 2017, Kelley returned to see Dr. Johnson and, upon being

        examined, was released to return to return to work with no restrictions effective immediately.

               2172. However, only two days later, on or about July 21, 2017, CSX and/or CSXT issued

        a notice to Kelley to attend a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               2173. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”.

               2174. A formal disciplinary investigation was held on August 8, 2017 in Huntington,

        West Virginia. Kelley was joined in the investigation by six other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               2175. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson



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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               2176. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2177. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2178. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2179. The list of employees included in Dr. Heligman’s July 14, 2017 letter to the RRB

        Inspector General included Kelley.

               2180. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.




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                2181. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Kelley was again included on this list.

                2182. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2183. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. While Kelley was among those scheduled to be furloughed, his

        return to work authorization signed by Dr. Johnson effectively restricted him from receiving any

        benefit from the furlough whatsoever.

                2184. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                2185. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”




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                2186. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                2187. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Kelley from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Kelley or his treatment other than what was contained on the COII.

                2188. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Kelley or any of the employees went to Drs. Johnson or Carey

        for any improper purpose.

                2189. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                2190. Dr. Heligman did not personally examine or treat Kelley or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                2191. During the disciplinary investigation, CSX/CSXT presented Kelley’s personal and

        private medical information contained on his COII to all in attendance, including the other charged

        employees.

                2192. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

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               2193. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Kelley.

               2194. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               2195. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Kelley, and the other charged employees, violated CSX/CSXT Employee Operating Rule 104.2(a),

        which states: “Employee behavior must be respectful and courteous. Employees must not be any

        of the following: Dishonest.”

               2196. Dr. Heligman and Shogren also testified that Kelley, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               2197. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Kelley and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before Kelley’s investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               2198. By letter dated September 5, 2017, CSX/CSXT notified Kelley that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               2199. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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               2200. During the course of Kelly’s employment with CSX and/or CSXT, his job duties

        frequently required repetitive and heavy lifting, standing for long periods of time, working in

        cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

               2201. Due to the repetitive and physical nature of Kelly’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               2202. The cumulative injuries sustained by Kelly during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               2203. In the event Kelley was suffering from some form of pre-existing injury, illness, or

        physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part, by

        one or more of the work-related duties required of him during his employment with Defendants.

        Christopher Clay Stiltner – Utility Worker

               2204. On or about May 24, 2017, and on dates subsequent thereto, Christopher Stiltner

        sought and received medical treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at

        Johnson Chiropractic in Greenup, Kentucky for injuries to his back.

               2205. Dr. Johnson evaluated Stiltner, prescribed a course of treatment, and ordered

        Stiltner off work until September 19, 2017.

               2206. On or about May 24, 2017, Dr. Johnson faxed to the CSX Medical Department a

        Certificate of Ongoing Illness or Injury (“COII”) that he was treating Stiltner and estimated that

        Stiltner needed to be off work until July 19, 2017.

               2207. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.




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                2208. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

                2209. On or about July 26, 2017, CSX and/or CSXT issued a notice to Stiltner to attend

        a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 21, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

                2210. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202. An Amended Notice was sent on or about July 28,

        2017.

                2211. A formal disciplinary investigation was held on August 22, 2017 in Huntington,

        West Virginia. Thoele served as the hearing officer and Shogren served as the charging manager.

        Dr. Heligman was present as a witness for the Company.

                2212. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson

        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged “in a concerted

        effort to defraud” CSX/CSXT, the Railroad Retirement Board, and supplemental insurance

        providers.

                2213. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Johnson and Carey of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically
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        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2214. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2215. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2216. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees, including Christopher Stiltner.

               2217.    On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Christopher Stiltner was again included on this list.

               2218. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.




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                2219. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. Christopher Stiltner was not among those who were scheduled to be

        furloughed.

                2220. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation. He further testified that the documentation provided by the employees, including

        Stiltner, was not sufficient to “prove or disprove that an injury was present” yet he still claimed to

        have sufficient evidence to accuse the workers of committing fraud.

                2221. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                2222. On or about August 23, 2017, Dr. Heligman sent letters to CSX/CSXT employees,

        including Christopher Stiltner, to advise them that:

                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                2223. During the disciplinary investigation, Dr. Heligman introduced as exhibits, the

        COII of Stiltner from Dr. Johnson. Dr. Heligman admitted that he had no other information

        regarding the injury to Stiltner or his treatment other than what was contained on the notification


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        of treatment. Stiltner presented a report from Dr. Johnson which included Dr. Johnson’s diagnosis

        and treatment plan for Stiltner.

                2224. During the disciplinary investigation, Dr. Heligman stated that he had no idea

        whether Stiltner attempted to commit fraud or not.

                2225. Through his testimony, Dr. Heligman confirmed that he had no proof that Stiltner

        or any of the employees went to Drs. Johnson or Carey for any improper purpose.

                2226. Through his testimony, Dr. Heligman testified that the decision for an employee to

        be held out of service for an illness or an injury is one to be made between the employee-patient

        and the treating physician.

                2227. Dr. Heligman did not personally examine or treat Stiltner or any of the other

        CSX/CSXT employees.

                2228. During the disciplinary investigation, CSX/CSXT presented Stiltner’s personal and

        private medical records to all in attendance, including the other charged employees.

                2229. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical records of dozens of other employees, including those not charged in the

        investigation, to all in attendance.

                2230. Through his testimony in the disciplinary investigation, Shogren admitted to having

        been provided by Dr. Heligman some 96 pages of private medical documentation of CSX/CSXT

        employees, including Stiltner.

                2231. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

                2232. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Stiltner, and the other charged employees, violated CSX/CSXT Employee Operating Rule



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        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               2233. Dr. Heligman and Shogren also testified that Stiltner, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               2234. As the charging manager, it is Shogren’s responsibility to bring the charges against

        the charged employees and provide evidence to support such charges. But Shogren testified that

        he doesn’t know the definition of conspiracy and that he doesn’t know if the employees and/or

        their treating physicians conspired to commit any wrongdoing.

               2235. According the CSX/CSXT, the purpose of the formal disciplinary investigation of

        Stiltner and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before the Stiltner investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               2236. By letter dated September 21, 2017, CSX/CSXT notified Stiltner that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               2237. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.

               2238. During the course of Stiltner’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.




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               2239. Due to the repetitive and physical nature of Stiltner’s employment, he sustained

        cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

               2240. The cumulative injuries sustained by Stiltner during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

               2241. In the event Stiltner was suffering from some form of pre-existing injury, illness,

        or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or in part,

        by one or more of the work-related duties required of him during his employment with Defendants.

        Dennis Hutchinson – Welder

               2242. On or about February 25, 2016, Dennis Hutchinson sought and received medical

        treatment from Shannon M. Johnson, D.C., (“Dr. Johnson”) at Johnson Chiropractic in Greenup,

        Kentucky for injuries to his back.

               2243. Dr. Johnson evaluated Plaintiff and made the decision to take him off work and

        ordered x-rays to be taken to further investigate his injuries. Due, however, to concerns with

        radiation exposure, Dr. Johnson subsequently rescinded the x-ray order.

               2244. Plaintiff was ultimately diagnosed with sprain of the lumbar/pelvis and muscle

        spasms and was provided treatment accordingly during weekly visits. Dr. Johnson also referred

        Hutchinson to a different doctor for assistance with pain management in addition to his own course

        of treatment.

               2245. Due to Hutchinson’s age, condition, and vocational requirements, Dr. Johnson

        further recommended that he apply for occupational disability.

               2246. Dr. Johnson faxed to the CSX Medical Department a “Certification of Ongoing

        Illness or Injury” (“COII”) form for Hutchinson. Among other things, the form described




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        Plaintiff’s injuries, Dr. Johnson’s diagnosis and treatment plan, and estimated that Plaintiff needed

        to be off work until September 13, 2017.

               2247. CSX and/or CSXT requires that COII forms be submitted by treating physicians on

        behalf of employees who need to be off work due to injuries or illnesses.

               2248. As a general rule, CSX and/or CSXT does not allow employees to work “light duty”

        or “restricted duty.” Therefore, if an employee is physically impaired, his or her only option is to

        remain completely off work.

               2249. On or about July 25, 2017, CSX and/or CSXT issued a notice to Hutchinson to

        attend a formal disciplinary investigation. The notice stated:

                       The purpose of this investigation is to develop the facts and place
                       your responsibility, if any, in connection with information received
                       on July 14, 2017 from the CSXT Chief Medical Officer that you
                       were dishonest and attempted to defraud the Company and/or
                       benefits providers when you, as well as more than 50 other craft
                       employees, submitted potentially fraudulent documentation, and all
                       circumstances related thereto.

               2250. The letter was signed by “J. Yates, CMO Engineering & Strategy” and issued from

        “500 Water Street, Jacksonville, Florida 32202”. Amended notices were sent on or about July 28,

        2017 and August 8, 2017.

               2251. A formal disciplinary investigation was held on August 21, 2017 in Russell,

        Kentucky. Hutchinson was joined in the investigation by three other CSX/CSXT employees who

        were being similarly charged. Thoele served as the hearing officer and Shogren served as the

        charging manager. Dr. Heligman was present as a witness for the Company.

               2252. The formal disciplinary investigation revealed that Dr. Heligman had decided,

        without any evidence, that any and all CSX/CSXT employees who had been treated by Dr. Johnson




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        or another chiropractor in the area, Dr. Daniel J. Carey (“Dr. Carey”), had engaged in a “concerted

        effort to defraud CSX/CSXT, the Railroad Retirement Board, and the insurance providers.”

               2253. On or about July 14, 2017, Dr. Heligman sent a letter entitled “Potential Conspiracy

        to Defraud RRB Benefit Programs” to the Railroad Retirement Board Officer of Inspector General.

        In the letter, Dr. Heligman accused Drs. Carey and Johnson of “removing our employees from

        work inappropriately” and keeping such employees of work for “much longer than is medically

        appropriate.” He further stated that “the timing of these alleged injuries … is highly suspicious

        and suggestive of fraudulent practices on the part of both employees and these two providers.” The

        letter was also sent to employee benefit providers Aetna, Inc., Highmark Blue Cross Blue Shield,

        United Health Care, the Ohio State Chiropractic Board and the Kentucky Board of Chiropractic

        Examiners.

               2254. Attached to the letter, Dr. Heligman included a list of some 52 employees he

        claimed to have committed fraud and he “strongly urge[d] [the RRB Office of Inspector General]

        to fully investigate all of these cases for potential conspiracy to defraud RRB sickness and

        disability benefit programs by our employees and their chiropractors.”

               2255. Defrauding the RRB could lead to, among other things, criminal charges against

        the employees named by Dr. Heligman and/or a denial or forfeiture of their benefits.

               2256. On or about July 21, 2017, Dr. Heligman sent another letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This list

        contained 11 more names of CSX/CSXT employees.

               2257. The list of employees named in Dr. Heligman’s July 21, 2017 letter to the RRB

        Inspector General included Hutchinson.




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                2258. On or about July 28, 2017, Dr. Heligman sent a third letter to the RRB Inspector

        General with a list of “additional employees” to be investigated for potential fraud. This letter

        included a list of four new employees as well as a list of all employees previously identified in the

        July 14th and July 21st letters. Hutchinson was again included on this list.

                2259. The disciplinary investigation further revealed that the Defendants believed that

        more than 60 CSX/CSXT employees submitted COII forms from Drs. Johnson and Carey in order

        to obtain extended benefits because they were due to be furloughed and/or have their jobs

        abolished.

                2260. Job abolishment and furlough notices were issued by CSX/CSXT at the

        Huntington, WV mechanical shop on or about June 16, 2017 and were to take effect at the close

        of business on June 23, 2017. However, Hutchinson was not among those who were scheduled to

        be abolished or furloughed and had not actively worked since 2010 due to medical issues.

                2261. During the disciplinary investigation, Dr. Heligman testified that it is up to the

        employees to choose their treating physicians. He further testified that it is the responsibility of the

        employees to submit COII forms to the Medical Department. And Dr. Heligman stated that he did

        not doubt the injuries claimed by the employees or the validity of the documents provided by the

        doctors, but without evidence, that he doubted the motivation behind the submitted medical

        documentation.

                2262. On or about August 23, 2017, Dr. Heligman sent letters to Drs. Johnson and Carey

        to advise them that “CSX will no longer accept any medical documentation completed by your

        office on behalf of any CSX employee.”

                2263. Dr. Heligman sent letters to those CSX/CSXT employees who had received, or

        were receiving treatment from Drs. Johnson or Carey to advise them that:



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                        the CSX Medical Department is no longer accepting any medical
                        documentation completed by Shannon Johnson, DC, or Daniel
                        Carey II, DC. If you continue to have a need to be off of work for a
                        medical reason or wish to return to work from a medical leave,
                        please provide updated medical documentation from your primary
                        care or treating physician, other than the two referenced above.

                2264. During the disciplinary investigation, the COII prepared for Hutchinson by Dr.

        Johnson was introduced as an exhibit. Dr. Heligman admitted that he had no other information

        regarding the injury to Plaintiff or his treatment other than what was contained on the COII.

                2265. Through his testimony during the disciplinary investigation, Dr. Heligman

        confirmed that he had no proof that Hutchinson or any of the employees went to Drs. Johnson or

        Carey for any improper purpose.

                2266. Through his testimony during the disciplinary investigation, Dr. Heligman testified

        that the decision for an employee to be held out of service for an illness or an injury is one to be

        made between the employee-patient and the treating physician.

                2267. Dr. Heligman did not personally examine or treat Hutchinson or any of the other

        CSX/CSXT employees nor did he engage in any meaningful review of the employees’ medical

        histories.

                2268. During the disciplinary investigation, CSX/CSXT presented Hutchinson’s personal

        and private medical information contained on his COII and other documents to all in attendance,

        including the other charged employees.

                2269. During the disciplinary investigation, CSX/CSXT presented the personal and

        private medical information of dozens of other employees, including those not charged in this

        specific investigation, to all in attendance.




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               2270. Through his testimony in the disciplinary investigation, Shogren admitted that Dr.

        Heligman had provided him with some 96 pages of private medical documentation of CSX/CSXT

        employees, including Plaintiff.

               2271. Shogren further testified that he received the July 14, 2017 letter from Heligman to

        the RRB Office of Inspector General on or about July 14, 2017.

               2272. During the disciplinary investigation, Dr. Heligman and Shogren testified that

        Hutchinson, and the other charged employees, violated CSX/CSXT Employee Operating Rule

        104.2(a), which states: “Employee behavior must be respectful and courteous. Employees must

        not be any of the following: Dishonest.”

               2273. Dr. Heligman and Shogren also testified that Hutchinson, and the other charged

        employees, violated the CSX/CSXT Code of Ethics, though it is not clear exactly how the

        Company claims the Code of Ethics was violated.

               2274. According to CSX/CSXT, the purpose of the formal disciplinary investigation of

        Plaintiff and the others was to “develop the facts and place … responsibility, if any” yet more than

        a month before Hutchinson’s investigation, Dr. Heligman had already written to the RRB and other

        benefit providers to declare his belief that these employees had committed fraud.

               2275. By letter dated September 15, 2017, CSX/CSXT notified Hutchinson that he was

        dismissed from employment for violation of “CSX Operating Rule 104.2.a, and Code of Ethics

        Policy.” The letter was signed and issued by “B. Barr, VP Mechanical, 500 Water Street,

        Jacksonville, Florida 32202.”

               2276. Upon information and belief, Drs. Johnson and Carey were exonerated of any

        wrongdoing by their licensing authorities.




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                2277. During the course of Hutchinson’s employment with CSX and/or CSXT, his job

        duties frequently required repetitive and heavy lifting, standing for long periods of time, working

        in cramped or confined areas, and/or completing tasks requiring awkward posture or positioning.

                2278. Due to the repetitive and physical nature of Hutchinson’s employment, he

        sustained cumulative and/or degenerative injuries to various joints, muscles, and ligaments.

                2279. The cumulative injuries sustained by Hutchinson during the course and scope of his

        employment with CSX and/or CSXT contributed, at least in part, to the injury described above.

                2280. In the event Hutchinson was suffering from some form of pre-existing injury,

        illness, or physical defect, such condition, if any, was aggravated and/or accelerated, in whole or

        in part, by one or more of the work-related duties required of him during his employment with

        Defendants.

                                                COUNT I:
                        ERISA Section 510 Retaliation (29 U.S.C. Section 1001 et seq.)

                2281. Paragraphs (1)-(2280) are repeated and realleged the same as though pleaded in

        full.

                2282. Section 510 states that it shall be unlawful for any person to discharge, fine,

        suspend, expel, discipline, or discriminate against any participant or beneficiary for exercising any

        right to which he or she is entitled under the provisions of an employee benefit plan for the purpose

        interfering with the attainment of any right to which the participant may become entitled under the

        plan. ERISA authorizes enforcement of Section 510 under Section 502.

                2283. Defendants’ termination of Plaintiffs was pretextual and purposefully interfered

        with the Plaintiffs’ right to continued health benefits under defendants’ employee benefit plan,

        sickness and/or disability and retirement under defendant’s insurance and retirement plans, thereby




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        causing Plaintiffs to lose substantial health insurance benefits, life insurance benefits, retirement

        benefits, wages and other fringe benefits of employment.

                                               COUNT II:
       Defendants’ Violation Of Section 504 Of The Rehabilitation Act, 29 U.S.C. 794 et seq.:
                          Disability Discrimination And Medical Inquiry

                2284. Paragraphs (1)-(2283) are repeated and realleged the same as though pleaded in

        full.

                2285. At all relevant times, Defendants have received federal financial assistance, thereby

        rendering Section 504 of the Rehabilitation Act applicable to its employment programs and

        activities.

                2286. The Rehabilitation Act incorporates Title I of the ADA which prohibits

        discrimination against a qualified individual with a disability because of the disability of such

        individual in regard to job application procedures, the hiring, advancement or discharge of

        employees, employee compensation, job training, and other terms, conditions, and privileges of

        employment. 42 U.S.C. § 12112(a). The ban on discrimination expressly includes “fringe benefits

        available by virtue of employment, whether or not administered" by the employer. 42 U.S.C. §

        121 12(b); 29 C.F.R. § 1630.4(f).

                2287. Defendants’ conduct as described in this Complaint constitutes discrimination on

        the basis of disability in violation of the Rehabilitation Act and its implementing regulations by

        terminating employment based upon treatment for statutory disabilities and by disclosing

        Plaintiffs’ overbroad medical history and/or medical records (including information wholly

        unrelated to the medical issues for which Defendants were purportedly evaluating medical

        treatment), 42 U.S.C. Section 12112(d)(3) and 29 C.F.R. Section 1630.14(b).

                2288. As a result of this conduct, Defendants have violated the Rehabilitation Act and

        caused Plaintiffs the loss of wages and other job benefits and emotional and other harm.
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                                               COUNT III:
        Defendants’ Violation of the West Virginia Human Relations Act, Title 5-11-1 et seq.:
               Disability Discrimination, Medical Inquiry and Aiding and Abetting

                2289. Paragraphs (1)-(2288) are repeated and realleged the same as though pleaded in

        full.

                2290. The West Virginia Human Relations Act prohibits an employer including

        individual liability of supervisors from discriminating against an individual with respect to

        compensation, hire, tenure, terms, conditions, and privileges of employment. Section 5-11-9.

                2291. Defendants’ conduct as described in this Complaint constitutes discrimination on

        the basis of disability in violation of the West Virginia Human Relations Act, Sections 5-11-1 et

        seq. by terminating employment based upon treatment for statutory disabilities and by disclosing

        Plaintiffs’ overbroad medical history and/or medical records (including information wholly

        unrelated to the medical issues for which Defendants were purportedly evaluating medical

        treatment).

                2292. Defendants, and each of them, together violated the West Virginia Human

        Relations Act by conspiring with others to commit acts and activities the purpose of which was to

        harass, degrade, embarrass or to cause economic loss or to aid, abet persons to engage in unlawful

        discriminatory acts in violation of Section 5-11-9.

                2293. As a result of this conduct, Defendants have violated the West Virginia Human

        Relations Act and caused Plaintiffs the loss of wages and other job benefits and emotional and

        other harm.

                                               COUNT IV:
                        Family and Medical Leave Act of 1993, 29 U.S.C. 2601 et seq.:
                                    Denial of Benefits and Interference

                2294. Paragraphs (1)-(2293) are repeated and realleged the same as though pleaded in

        full.

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                2295. Plaintiffs were eligible employees under the FMLA and had a serious medical

        condition as defined by the FMLA and implementing regulations. A serious health condition is

        defined as an illness, injury, impairment, or physical or mental condition that involves a period of

        incapacity requiring absence of more than three calendar days from work, school or other regular

        daily activities that also involves continuing treatment by a healthcare provide or any period of

        incapacity due to a chronic health condition.

                2296. Defendants were on notice of Plaintiffs’ need for leave under the FMLA for their

        absences.

                2297. Defendants were aware of Plaintiffs’ serious health condition before and after their

        need for medical leave of absence.

                2298. Defendants violated Plaintiffs’ rights under the FMLA and willfully interfered

        with, restrained and denied their exercise of rights by denying benefits as provided by the FMLA

        and regulations.

                2299. As a result of this conduct, Defendants have caused Plaintiffs the loss of wages and

        other job benefits and out-of-pocket expenses.

                2300. Defendants both denied Plaintiffs the benefits of protection under the FMLA and

        interfered with their rights under the FMLA.

                2301. Defendants violated Plaintiffs’ rights under the FMLA and willfully interfered

        with, restrained and denied their exercise of rights provided by the FMLA and its implementing

        regulations.

                                                   COUNT V:
                                                   Defamation

                2302. Paragraphs (1)-(2301) are repeated and realleged the same as though pleaded in

        full.


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               2303. Defendants acting in the course and scope of his employment with CSX, published

        certain defamatory written statements, of and concerning Plaintiffs, to various third-parties. Such

        defamatory statements include, but are not limited to, false accusations that:

                       a.      Plaintiffs “were reporting injuries while off duty and seeking out [medical]
                               providers for the purpose of inappropriately seeking benefits to offset
                               potential wage loss;”

                       b.      Plaintiffs’ conduct was “highly suspicious and suggestive of fraudulent
                               practices;” and

                       c.      Plaintiffs engaged in a “potential conspiracy to defraud RRB sickness and
                               disability benefit programs.”

               2304. The aforementioned statements, in addition to other statements made by

        Defendants, accuse Plaintiffs of federal crimes, tend to injure Plaintiffs in their personal and

        professional reputations, and are defamatory per se.

               2305. As stated hereinabove, Defendants’ defamatory statements were published by CSX

        employees who, at all times relevant, were acting within the course and scope of their employment

        and agency relationships. As such, the wrongful conduct of such employees and agents is imputed

        to their principals and/or employer by the doctrines of agency and/or respondeat superior.

               2306. Defendants published these defamatory statements, of and concerning Plaintiffs, in

        written correspondence to, among others, the Railroad Retirement Board, Aetna Inc., Highmark

        Blue Cross Blue Shield, United Health Care, the Ohio State Chiropractic Board, and the Kentucky

        Board of Chiropractic Examiners.

               2307. By publishing the aforementioned statements, Defendants knew, or reasonably

        should have known, that the statements would cause harm to Plaintiffs.

               2308. The aforementioned statements are, and at all times material were, false and

        Defendants knew, or reasonably should have known, of the falsity.



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                2309. Defendants made the aforementioned statements with actual malice or reckless

        disregard for Plaintiffs’ rights and reputations and with the willful intent to injure Plaintiffs.

                2310. As a direct and proximate result of Defendants’ publication of defamatory

        statements, Plaintiffs have suffered damages in an amount to be proven at trial.

                2311. Defendants conspired among themselves in publishing the false and defamatory

        statements and are jointly and severally liable to Plaintiffs for the damages sustained.

                2312. Defendants’ defamatory statements were conscious, deliberate, intentional and/or

        reckless, justifying an award of punitive damages.

                                                  COUNT VI:
                            Invasion of Privacy – Public Disclosure of Private Facts

                2313. Paragraphs (1)-(2312) are repeated and realleged the same as though pleaded in

        full.

                2314. By its conduct, Defendants have knowingly and intentionally caused the public

        disclosure of private facts concerning Plaintiffs.

                2315. Defendants’ public disclosure of Plaintiffs’ social security numbers, private

        medical information, and other personal information constitute private, personal, and sensitive

        information, the disclosure of which was highly offensive and objectionable to reasonable persons

        of reasonable sensibilities.

                2316. Plaintiffs’ private information published by Defendants did not constitute

        information of legitimate public concern nor was their disclosure protected by any privilege.

                2317. Defendants knew or reasonably should have known that Plaintiffs had a reasonable

        expectation of privacy and that disclosing personal and private information to other CSX

        employees, the Railroad Retirement Board, Aetna Inc., Highmark Blue Cross Blue Shield, United

        Health Care, the Ohio State Chiropractic Board, and the Kentucky Board of Chiropractic


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        Examiners, and others, without Plaintiffs’ knowledge or consent, constituted a violation of

        Plaintiffs’ right to privacy.

                2318. As stated hereinabove, Plaintiffs’ private information was publically disclosed by

        CSX employees who, at all times relevant, were acting within the course and scope of their

        employment and agency relationships. As such, the wrongful conduct of such employees and

        agents is imputed to their principals and/or employer by the doctrines of agency and/or respondeat

        superior.

                2319. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs have

        suffered damages in an amount to be proven at trial.

                2320. Defendants conspired among themselves in publishing Plaintiffs’ private

        information and are jointly and severally liable to Plaintiffs for the damages sustained

                2321. Defendants’ conduct as described herein was conscious, deliberate, intentional

        and/or reckless, justifying an award of punitive damages.

                                                 COUNT VII:
                                              Tortious Interference

                2322. Paragraphs (1)-(2321) are repeated and realleged the same as though pleaded in

        full.

                2323. Plaintiffs had a contractual or business relationship or expectancy with their

        medical providers.

                2324. Plaintiffs had a contractual or business relationship or expectancy with their benefit

        providers.

                2325. Defendants intentionally acted to interfere with Plaintiffs’ relationship or

        expectancy with their medical providers and/or benefits providers.

                2326. Defendants’ interference caused harm to the Plaintiffs as alleged herein.


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                2327. Plaintiffs suffered damages as a result.

                2328. Defendants conspired amongst themselves to commit tortious interference as

        alleged herein.

                2329. Defendants are jointly and severally liable to Plaintiffs for the damages caused their

        tortious interference.

                                                  COUNT VIII:
                                   Intentional Infliction of Emotional Distress

                2330. Paragraphs (1)-(2329) are repeated and realleged the same as though pleaded in

        full.

                2331. Defendants actions, as alleged herein, are atrocious, utterly intolerable in a civilized

        community, and are so extreme and outrageous as to exceed all possible bounds of decency.

                2332. Defendants acted with intent to inflict emotional distress on Plaintiffs or acted

        recklessly when it was certain or substantially certain such distress would result from Defendants

        conduct.

                2333. The actions of defendants caused the Plaintiffs to suffer emotional distress.

                2334. The emotional distress suffered by the Plaintiffs was so severe that no reasonable

        person could be expected to endure it.

                2335. Defendants conspired amongst themselves to commit intentional interference of

        emotional distress as alleged herein.

                2336. Defendants are jointly and severally liable to Plaintiffs for the damages caused their

        intentional interference of emotional distress.

                                                   COUNT IX:
                                                Wrongful Discharge

                2337. Paragraphs (1)-(2336) are repeated and realleged the same as though pleaded in

        full.

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                2338. Under West Virginia law an employee has a cause of action for wrongful discharge

        in violation of public policy.

                2339. Railroad companies, and CSX in particular, conduct substantial business in West

        Virginia, employing its citizens and entitling them to certain rights under state and federal laws,

        rules and regulations as set forth in this Complaint.

                2340. Such federal and state laws, rules and regulations set forth clear public policies.

        Additionally, the following state and federal laws, rules, and regulations set forth clear public

        policies: 49 U.S.C. §§ 20101, 20109; 29 C.F.R. Part 1982 et seq.; 45 U.S.C. § 351 et seq.; 45

        U.S.C. § 231 et seq.; 31 U.S.C. § 3801 et seq.; 20 C.F.R. Part 355 et seq.; W. Va. C.S.R. § 150-8-

        8; W. Va. Code § 21-3-1 et seq.

                2341. The dismissals of the Plaintiffs here jeopardizes the public policies set forth in the

        federal and state laws, rules and regulations cited herein.

                2342. The dismissals of the Plaintiffs here was motivated by conduct related to the public

        policies set forth in the federal and state laws, rules and regulations cited herein.

                2343. Defendants lacked overriding legitimate business justification for the dismissals of

        the Plaintiffs.

                2344. Defendants conspired amongst themselves to terminate the employment of the

        Plaintiffs in violation of West Virginia law.

                2345. Defendants are jointly and severally liable to Plaintiffs for the damages caused their

        wrongful discharge.

                                                 COUNT X:
                                Federal Railroad Safety Act (49 U.S.C. § 20109)

                2346. Paragraphs (1)-(2345) are repeated and realleged the same as though pleaded in

        full.


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                2347. The whistleblower protection provisions of the Federal Railroad Safety Act (FRSA)

        at 49 U.S.C. §§ 20109 and its implementing regulations at 29 C.F.R. § 1982 et seq., prohibit a

        railroad from, among other things, disciplining, threatening, coercing, restraining, and intimidating

        employees who notify, or attempt to notify, the railroad carrier of a work related personal injury

        or illness.

                2348. The FRSA also prohibits rail carriers from discharging, demoting, suspending,

        reprimanding, or in any way discriminating against any employee for making a good faith report

        of a hazardous safety or security condition.

                2349.     The FRSA further prohibits a railroad employer from denying, delaying, or

        interfering with the medical or first aid treatment of an employee injured during the course of

        employment, as well as from disciplining or threatening discipline to an employee for requesting

        medical or first aid treatment, or for following orders or a treatment of a treating physician.

                2350. Plaintiffs engaged in multiple protected acts, as alleged in the foregoing paragraphs,

        which are hereby incorporated by reference as if fully set forth herein, including notifying or

        attempting to notify CSX and/or CSXT of personal injuries, reporting hazardous safety or security

        conditions, and requesting medical treatment from his or her chosen medical provider and/or for

        following the orders of a treating physician.

                2351. With knowledge of these protected acts, Defendants took adverse actions against

        Plaintiffs as alleged in the foregoing paragraphs above, including but not limited to, the following:

                      a. Accusing Plaintiffs of engaging in fraud and other unfounded wrongdoing in a letter

                         to the Railroad Retirement Board, medical benefit providers, and others;

                      b. Notifying Plaintiffs’ medical providers that the Company would no longer accept

                         medical documentation such providers;



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                    c. Restricting Plaintiffs from seeking treatment, and refusing to accept medical

                        documentation, from duly licensed medical providers;

                    d. Issuing Plaintiffs notices to attend formal disciplinary investigations;

                    e. Subjecting Plaintiffs to formal disciplinary investigations;

                    f. Discriminating against Plaintiffs for seeking medical treatment;

                    g. Sharing Plaintiffs’ private and confidential medical information with, among

                        others, CSX and CSXT management, other CSX and CSXT employees, and other

                        attendees at the formal investigations;

                    h. Terminating Plaintiffs from employment; and

                    i. Such other related adverse actions that may be discovered.

                2352. The adverse actions of Defendants were due in whole or in part to Plaintiffs’

        engaging in statutorily protected acts under the FRSA. Any and all additional adverse actions

        taken by Defendants against Plaintiffs were due in whole or in part to Plaintiffs having engaged in

        statutorily protected activities.

                2353. The actions taken by Defendants against Plaintiffs as described in the paragraphs

        above were in willful and/or reckless disregard for Plaintiffs’ rights under the FRSA.

                2354. Plaintiffs previously filed complaints under 49 U.S.C. § 20109 with the U.S.

        Department of Labor Occupational Health and Safety Administration (OSHA). Since the filing of

        the OSHA complaints, more than 210 days has elapsed with no final decision from the secretary

        of labor. Accordingly, Plaintiffs hereby exercise their right to file a de novo action in this district

        court pursuant to 49 U.S.C. § 20109(d)(3).




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                                         PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs demand: (1) judgment against defendants jointly and severally

        in an amount to make them whole for all damages suffered by them as a result of defendants’

        violations of ERISA, the Rehabilitation Act, WVHRA, FMLA, FRSA, and state causes of action

        including, but not limited to, damages for back pay and benefits, front pay, compensatory damages,

        punitive damages, out of pocket expenses, liquidated damages, contributions to fringe benefits

        including pension and retirement, offset for tax consequences of a judgment and all other damages

        recoverable under the above laws plus prejudgment and other interest; (2) that this Court enjoin

        defendants from further violating the above laws; (3) that this Court order defendants to reinstate

        Plaintiffs to the positions they had been awarded when defendant unlawfully terminated their

        employment with all seniority and benefits they would have otherwise accrued had defendants not

        violated the above laws; (4) that this Court award Plaintiffs expert witness fees, attorneys' fees and

        the cost of bringing this action and, (5) that this Court grant all other relief to Plaintiffs for

        injunctive and declaratory relief under law and equity.


        A JURY TRIAL IS DEMANDED.


        Respectfully submitted this 6th day of December 2019.




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                                IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                                HUNTINGTON DIVISION

            JUSTIN ADKINS, et al.,                                           1.

                                                    Plaintiffs,

            v.                                                         Civil Action No. 3:18-CV-0321

            CSX CORPORATION, et al.,

                                                 Defendants.


                     CONSOLIDATED ANSWER TO THIRD AMENDED COMPLAINT

                 COME NOW, Defendants, CSX Transportation, Inc. (“CSXT”), CSX Corporation

        (“CSXC”),1 Craig D. Heligman, M.D., Kenneth Emerson, Elizabeth Creedon, Shawn Lusk,

        Tom Deangelo, Delando Jones, Curt Shogren, Milton Storm and Gus Thoele (collectively, the

        “Defendants”), and pursuant to the Court’s January 13, 2020 Order (ECF Doc. No. 92), 2 hereby

        submit their Consolidated Answer to Plaintiffs’ Third Amended Complaint and state as follows:

                                                      FIRST DEFENSE

                 The Third Amended Complaint filed herein fails to state a claim against Defendants upon

        which relief can be granted.




        1
                 “[M]any circuits agree that defendants can waive objections to personal jurisdiction by indicating a
        willingness to defend the suit” and submit to the personal jurisdiction of the court. In re: Ethicon, Inc., 2:12-CV-
        05719, 2016 WL 1718826, at *2 (S.D. W. Va. Apr. 27, 2016). Therefore, out of an abundance of caution,
        Defendant CSX Corporation expressly states that, by joining in this Consolidated Answer, Defendant CSX
        Corporation does not waive its defense that the Court lacks personal jurisdiction over this Defendant.

        2
                 Therein the Court expressly allowed Defendants to incorporate their previous answers and objections by
        reference and to jointly respond to the new allegations only, ordering that Defendants “may file a consolidated
        answer that only addresses the new party and claims, and the Court will deem Defendants’ prior answers as
        responsive to the Third Amended Complaint.” See id. at 2.

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                                              SECOND DEFENSE

                                    INCORPORATION BY REFERENCE

               Defendants expressly incorporate herein by reference their prior answers, including the

        affirmative defenses asserted therein, pursuant to the Court’s January 13, 2020 Order (ECF

        Doc. No. 92). With respect to the claims asserted by the Estate of Chad Little in substitution

        for Plaintiff Chad Little, who is deceased, Defendants expressly incorporate herein by reference

        their prior answers to the claims asserted by Chad Little. Likewise, with respect to the claims

        newly asserted by Plaintiff Scott Morrison, Defendants expressly incorporate herein by reference

        their prior answers to the claims asserted by the original Plaintiffs.

               Every allegation in Plaintiffs’ Third Amended Complaint that is not expressly admitted

        by Defendants herein is denied.

                                               THIRD DEFENSE

                                    NEWLY-ASSERTED ALLEGATIONS

               1.      Answering Paragraph 49 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Adkins, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 49 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 49, and therefore deny those allegations.

               2.      Answering Paragraph 50 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Adkins, Defendants deny those allegations.

               3.      Answering Paragraph 51 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Adkins, Defendants deny those allegations.

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               4.      Answering Paragraph 52 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Adkins, Defendants deny those allegations.

               5.      Answering Paragraph 87 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Blake, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 87 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 87, and therefore deny those allegations.

               6.      Answering Paragraph 88 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Blake, Defendants deny those allegations.

               7.      Answering Paragraph 89 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Blake, Defendants deny those allegations.

               8.      Answering Paragraph 90 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Justin Blake, Defendants deny those allegations.

               9.      Answering Paragraph 127 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Edwin Glowacki, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 127 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 127, and therefore deny those allegations.

               10.     Answering Paragraph 128 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Edwin Glowacki, Defendants deny those allegations.




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               11.    Answering Paragraph 129 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Edwin Glowacki, Defendants deny those allegations.

               12.    Answering Paragraph 130 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Edwin Glowacki, Defendants deny those allegations.

               13.    Answering Paragraph 166 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Jordan, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 166 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 166, and therefore deny those allegations.

               14.    Answering Paragraph 167 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Jordan, Defendants deny those allegations.

               15.    Answering Paragraph 168 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Jordan, Defendants deny those allegations.

               16.    Answering Paragraph 169 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Jordan, Defendants deny those allegations.

               17.    Answering Paragraph 207 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Kevin Palmer, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 207 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 207, and therefore deny those allegations.




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               18.    Answering Paragraph 208 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Kevin Palmer, Defendants deny those allegations.

               19.    Answering Paragraph 209 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Kevin Palmer, Defendants deny those allegations.

               20.    Answering Paragraph 210 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Kevin Palmer, Defendants deny those allegations.

               21.    Answering Paragraph 246 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Samuel Preston, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 246 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 246, and therefore deny those allegations.

               22.    Answering Paragraph 247 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Samuel Preston, Defendants deny those allegations.

               23.    Answering Paragraph 248 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Samuel Preston, Defendants deny those allegations.

               24.    Answering Paragraph 249 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Samuel Preston, Defendants deny those allegations.

               25.    Answering Paragraph 285 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Sargent, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 285 contains allegations against the remaining Defendants, the remaining




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        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 285, and therefore deny those allegations.

               26.    Answering Paragraph 286 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Sargent, Defendants deny those allegations.

               27.    Answering Paragraph 287 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Sargent, Defendants deny those allegations.

               28.    Answering Paragraph 288 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Sargent, Defendants deny those allegations.

               29.    Answering Paragraph 325 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Travis Thornsberry, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 325 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 325, and therefore deny those allegations.

               30.    Answering Paragraph 326 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Travis Thornsberry, Defendants deny those allegations.

               31.    Answering Paragraph 327 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Travis Thornsberry, Defendants deny those allegations.

               32.    Answering Paragraph 328 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Travis Thornsberry, Defendants deny those allegations.

               33.    Answering Paragraph 363 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Williams, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent


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        that Paragraph 363 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 363, and therefore deny those allegations.

               34.    Answering Paragraph 364 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Williams, Defendants deny those allegations.

               35.    Answering Paragraph 365 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Williams, Defendants deny those allegations.

               36.    Answering Paragraph 366 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Williams, Defendants deny those allegations.

               37.    Answering Paragraph 401 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Baker, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 401 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 401, and therefore deny those allegations.

               38.    Answering Paragraph 402 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Baker, Defendants deny those allegations.

               39.    Answering Paragraph 403 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Baker, Defendants deny those allegations.

               40.    Answering Paragraph 404 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Baker, Defendants deny those allegations.

               41.    Answering Paragraph 439 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Blain, Defendant CSXT denies those allegations.


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        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 439 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 439, and therefore deny those allegations.

               42.    Answering Paragraph 440 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Blain, Defendants deny those allegations.

               43.    Answering Paragraph 441 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Blain, Defendants deny those allegations.

               44.    Answering Paragraph 442 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Blain, Defendants deny those allegations.

               45.    Answering Paragraph 476 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Devery Brown, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 476 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 476, and therefore deny those allegations.

               46.    Answering Paragraph 477 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Devery Brown, Defendants deny those allegations.

               47.    Answering Paragraph 478 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Devery Brown, Defendants deny those allegations.

               48.    Answering Paragraph 479 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Devery Brown, Defendants deny those allegations.




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               49.    Answering Paragraph 514 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Deal, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 514 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 514, and therefore deny those allegations.

               50.    Answering Paragraph 515 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Deal, Defendants deny those allegations.

               51.    Answering Paragraph 516 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Deal, Defendants deny those allegations.

               52.    Answering Paragraph 517 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Deal, Defendants deny those allegations.

               53.    Answering Paragraph 552 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Jeffers, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 552 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 552, and therefore deny those allegations.

               54.    Answering Paragraph 553 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Jeffers, Defendants deny those allegations.

               55.    Answering Paragraph 554 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Jeffers, Defendants deny those allegations.




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               56.    Answering Paragraph 555 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Jeffers, Defendants deny those allegations.

               57.    Answering Paragraph 589 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Robert Mosteller, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 589 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 589, and therefore deny those allegations.

               58.    Answering Paragraph 590 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Robert Mosteller, Defendants deny those allegations.

               59.    Answering Paragraph 591 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Robert Mosteller, Defendants deny those allegations.

               60.    Answering Paragraph 592 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Robert Mosteller, Defendants deny those allegations.

               61.    Answering Paragraph 626 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael L. Potter, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 626 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 626, and therefore deny those allegations.

               62.    Answering Paragraph 627 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael L. Potter, Defendants deny those allegations.




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               63.    Answering Paragraph 628 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael L. Potter, Defendants deny those allegations.

               64.    Answering Paragraph 629 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael L. Potter, Defendants deny those allegations.

               65.    Answering Paragraph 664 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael D. Potter, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 664 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 664, and therefore deny those allegations.

               66.    Answering Paragraph 665 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael D. Potter, Defendants deny those allegations.

               67.    Answering Paragraph 666 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael D. Potter, Defendants deny those allegations.

               68.    Answering Paragraph 667 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael D. Potter, Defendants deny those allegations.

               69.    Answering Paragraph 702 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jesse Wallace, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 702 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 702, and therefore deny those allegations.




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               70.    Answering Paragraph 703 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jesse Wallace, Defendants deny those allegations.

               71.    Answering Paragraph 704 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jesse Wallace, Defendants deny those allegations.

               72.    Answering Paragraph 705 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jesse Wallace, Defendants deny those allegations.

               73.    Answering Paragraph 739 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Timothy Witt, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 739 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 739, and therefore deny those allegations.

               74.    Answering Paragraph 740 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Timothy Witt, Defendants deny those allegations.

               75.    Answering Paragraph 741 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Timothy Witt, Defendants deny those allegations.

               76.    Answering Paragraph 742 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Timothy Witt, Defendants deny those allegations.

               77.    Answering Paragraph 777 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Bobby Akers, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 777 contains allegations against the remaining Defendants, the remaining




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        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 777, and therefore deny those allegations.

               78.    Answering Paragraph 778 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Bobby Akers, Defendants deny those allegations.

               79.    Answering Paragraph 779 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Bobby Akers, Defendants deny those allegations.

               80.    Answering Paragraph 780 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Bobby Akers, Defendants deny those allegations.

               81.    Answering Paragraph 815 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gerald Barber, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 815 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 815, and therefore deny those allegations.

               82.    Answering Paragraph 816 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gerald Barber, Defendants deny those allegations.

               83.    Answering Paragraph 817 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gerald Barber, Defendants deny those allegations.

               84.    Answering Paragraph 818 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gerald Barber, Defendants deny those allegations.

               85.    Answering Paragraph 853 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Bills, Defendant CSXT denies those allegations. Defendant

        CSX Corporation specifically denies that it employed any Plaintiff. To the extent that


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        Paragraph 853 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 853, and therefore deny those allegations.

               86.     Answering Paragraph 854 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Bills, Defendants deny those allegations.

               87.     Answering Paragraph 855 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Bills, Defendants deny those allegations.

               88.     Answering Paragraph 856 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Bills, Defendants deny those allegations.

               89.     Answering Paragraph 891 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Clark, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 891 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 891, and therefore deny those allegations.

               90.     Answering Paragraph 892 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Clark, Defendants deny those allegations.

               91.     Answering Paragraph 893 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Clark, Defendants deny those allegations.

               92.     Answering Paragraph 894 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Clark, Defendants deny those allegations.

               93.     Answering Paragraph 929 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Randall Craycraft, Defendant CSXT denies those allegations.


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        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 929 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 929, and therefore deny those allegations.

               94.    Answering Paragraph 930 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Randall Craycraft, Defendants deny those allegations.

               95.    Answering Paragraph 931 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Randall Craycraft, Defendants deny those allegations.

               96.    Answering Paragraph 932 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Randall Craycraft, Defendants deny those allegations.

               97.    Answering Paragraph 967 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Frasure, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 967 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 967, and therefore deny those allegations.

               98.    Answering Paragraph 968 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Frasure, Defendants deny those allegations.

               99.    Answering Paragraph 969 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Frasure, Defendants deny those allegations.

               100.   Answering Paragraph 970 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Frasure, Defendants deny those allegations.




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               101.   Answering Paragraph 1003 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Hall, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1003 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1003, and therefore deny those allegations.

               102.   Answering Paragraph 1004 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Hall, Defendants deny those allegations.

               103.   Answering Paragraph 1005 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Hall, Defendants deny those allegations.

               104.   Answering Paragraph 1006 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Hall, Defendants deny those allegations.

               105.   Answering Paragraph 1039 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Sammy Maddix, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1039 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1039, and therefore deny those allegations.

               106.   Answering Paragraph 1040 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Sammy Maddix, Defendants deny those allegations.

               107.   Answering Paragraph 1041 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Sammy Maddix, Defendants deny those allegations.




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               108.   Answering Paragraph 1042 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Sammy Maddix, Defendants deny those allegations.

               109.   Answering Paragraph 1078 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Zack Potter, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1078 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1078, and therefore deny those allegations.

               110.   Answering Paragraph 1079 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Zack Potter, Defendants deny those allegations.

               111.   Answering Paragraph 1080 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Zack Potter, Defendants deny those allegations.

               112.   Answering Paragraph 1081 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Zack Potter, Defendants deny those allegations.

               113.   Answering Paragraph 1117 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Stinnett, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1117 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1117, and therefore deny those allegations.

               114.   Answering Paragraph 1118 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Stinnett, Defendants deny those allegations.




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               115.    Answering Paragraph 1119 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Stinnett, Defendants deny those allegations.

               116.    Answering Paragraph 1120 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff James Stinnett, Defendants deny those allegations.

               117.    Answering Paragraph 1156 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Todd Thayer, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1156 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1156, and therefore deny those allegations.

               118.    Answering Paragraph 1157 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Todd Thayer, Defendants deny those allegations.

               119.    Answering Paragraph 1158 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Todd Thayer, Defendants deny those allegations.

               120.    Answering Paragraph 1159 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Todd Thayer, Defendants deny those allegations.

               121.    Answering Paragraph 1160 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Deanna Lanham, Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1160, and therefore deny those allegations.

               122.    Answering Paragraph 1195 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Deanna Lanham, Defendants deny those allegations.




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               123.   Answering Paragraph 1230 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Campbell, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1230 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1230, and therefore denies those allegations.

               124.   Answering Paragraph 1231 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Campbell, Defendants deny those allegations.

               125.   Answering Paragraph 1232 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Campbell, Defendants deny those allegations.

               126.   Answering Paragraph 1233 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Campbell, Defendants deny those allegations.

               127.   Answering Paragraph 1267 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Tony Abdon, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1267 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1267, and therefore denies those allegations.

               128.   Answering Paragraph 1268 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Tony Abdon, Defendants deny those allegations.

               129.   Answering Paragraph 1269 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Tony Abdon, Defendants deny those allegations.




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               130.    Answering Paragraph 1270 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Tony Abdon, Defendants deny those allegations.

               131.    Answering Paragraph 1271 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Tony Abdon, Defendants deny those allegations.

               132.    Answering Paragraph 1308 of the Third Amended Complaint, which sets forth

        new allegations as to Chad Little—for whom the Estate of Chad Little has been substituted as a

        party—Defendants are without knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 1308, and therefore deny those allegations.

               133.    Answering Paragraph 1309 of the Third Amended Complaint, which sets forth

        new allegations as to Chad Little—for whom the Estate of Chad Little has been substituted as a

        party—Defendants are without knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 1309, and therefore deny those allegations.

               134.    Answering Paragraph 1310 of the Third Amended Complaint, which sets forth

        new allegations as to Chad Little—for whom the Estate of Chad Little has been substituted as a

        party—Defendant CSXT denies those allegations. Defendant CSX Corporation specifically

        denies that it employed any Plaintiff. To the extent that Paragraph 1310 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1310, and therefore deny those allegations.

               135.    Answering Paragraph 1311 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Little—for whom the Estate of Chad Little has been

        substituted as a party—Defendants deny those allegations.




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               136.   Answering Paragraph 1312 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Little—for whom the Estate of Chad Little has been

        substituted as a party—Defendants deny those allegations.

               137.   Answering Paragraph 1313 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Little—for whom the Estate of Chad Little has been

        substituted as a party—Defendants deny those allegations.

               138.   Answering Paragraph 1314 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Little—for whom the Estate of Chad Little has been

        substituted as a party—Defendants deny those allegations.

               139.   Answering Paragraph 1349 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Brandon Adkins, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1349 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1349, and therefore deny those allegations.

               140.   Answering Paragraph 1350 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Brandon Adkins, Defendants deny those allegations.

               141.   Answering Paragraph 1351 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Brandon Adkins, Defendants deny those allegations.

               142.   Answering Paragraph 1352 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Brandon Adkins, Defendants deny those allegations.

               143.   Answering Paragraph 1353 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Brandon Adkins, Defendants deny those allegations.


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               144.   Answering Paragraph 1387 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jacqueline Marshall, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1387 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1387, and therefore deny those allegations.

               145.   Answering Paragraph 1388 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jacqueline Marshall, Defendants deny those allegations.

               146.   Answering Paragraph 1389 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jacqueline Marshall, Defendants deny those allegations.

               147.   Answering Paragraph 1390 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jacqueline Marshall, Defendants deny those allegations.

               148.   Answering Paragraph 1391 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jacqueline Marshall, Defendants deny those allegations.

               149.   Answering Paragraph 1425 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Homer Maynard, Defendant CSXT denies those allegations.

        Defendant CSX Corporation specifically denies that it employed any Plaintiff. To the extent

        that Paragraph 1425 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1425, and therefore deny those allegations.

               150.   Answering Paragraph 1426 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Homer Maynard, Defendants deny those allegations.




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               151.    Answering Paragraph 1427 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Homer Maynard, Defendants deny those allegations.

               152.    Answering Paragraph 1428 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Homer Maynard, Defendants deny those allegations.

               153.    Answering Paragraph 1429 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Homer Maynard, Defendants deny those allegations.

               154.    Answering Paragraph 1430 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1430, and therefore deny those allegations.

               155.    Answering Paragraph 1431 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1431, and therefore deny those allegations.

               156.    Answering Paragraph 1432 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendant CSXT and Defendant Heligman

        admit that a certificate of ongoing illness or injury was submitted, but deny the remainder of

        the allegations in Paragraph 1432. To the extent that Paragraph 1432 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1432, and therefore deny those allegations.

               157.    Answering Paragraph 1433 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX


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        Corporation, the allegations are specifically denied. The remaining Defendants admit the

        allegations contained therein.

               158.    Answering Paragraph 1434 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendant CSXT and Defendant

        Heligman admit the allegations in the first sentence of Paragraph 1434 of the Third Amended

        Complaint, but deny the allegations in the second sentence of that Paragraph. To the extent

        that Paragraph 1434 contains allegations against the remaining Defendants, the remaining

        Defendants are without knowledge or information sufficient to form a belief as to the truth of

        the allegations contained in Paragraph 1434, and therefore deny those allegations.

               159.    Answering Paragraph 1435 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit the allegations contained therein. The remaining Defendants are without

        knowledge or information sufficient to form a belief as to the truth of the allegations contained

        in Paragraph 1435, and therefore deny those allegations.

               160.    Answering Paragraph 1436 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit the allegations contained therein. To the extent that Paragraph 1436 contains

        allegations against the remaining Defendants, the remaining Defendants are without knowledge

        or information sufficient to form a belief as to the truth of the allegations contained in

        Paragraph 1436, and therefore deny those allegations. Defendant CSX Corporation

        specifically denies that it employed any Plaintiff.


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               161.    Answering Paragraph 1437 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit the allegations contained therein. To the extent that Paragraph 1437 contains

        allegations against the remaining Defendants, the remaining Defendants are without knowledge

        or information sufficient to form a belief as to the truth of the allegations contained in

        Paragraph 1437, and therefore deny those allegations.

               162.    Answering Paragraph 1438 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               163.    Answering Paragraph 1439 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit the allegations contained therein, except denies that Defendant Heligman

        “accused” Drs. Johnson and Carey. To the extent that Paragraph 1439 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1439, and therefore deny those allegations.

               164.    Answering Paragraph 1440 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit that a list of employees was attached to the referenced letter, but deny how the

        Third Amended Complaint characterizes the list. To the extent that Paragraph 1440 contains

        allegations against the remaining Defendants, the remaining Defendants are without knowledge

        or information sufficient to form a belief as to the truth of the allegations contained in

        Paragraph 1440, and therefore deny those allegations.


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               165.    Answering Paragraph 1441 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants state that this Paragraph contains

        legal conclusions and a hypothetical statement to which no response is required. Otherwise,

        the allegations of Paragraph 1441 of the Third Amended Complaint are hereby denied.

               166.    Answering Paragraph 1442 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit those allegations. To the extent that Paragraph 1442 contains allegations against

        the remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the remaining allegations contained in Paragraph

        1442, and therefore deny those allegations.

               167.    Answering Paragraph 1443 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit those allegations. To the extent that Paragraph 1443 contains allegations against

        the remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 1443, and

        therefore deny those allegations.

               168.    Answering Paragraph 1444 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit those allegations. To the extent that Paragraph 1444 contains allegations against

        the remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 1444, and

        therefore deny those allegations.




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               169.    Answering Paragraph 1445 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit those allegations. To the extent that Paragraph 1445 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1445, and therefore deny those allegations.

               170.    Answering Paragraph 1446 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit those allegations. To the extent that Paragraph 1446 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1446, and therefore deny those allegations.

               171.    Answering Paragraph 1447 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations and state that

        the hearing transcript speaks for itself.

               172.    Answering Paragraph 1448 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants Heligman and CSXT admit those

        allegations. To the extent that Paragraph 1448 contains allegations against the remaining

        Defendants, the remaining Defendants are without knowledge or information sufficient to form

        a belief as to the truth of the allegations contained in Paragraph 1448, and therefore deny those

        allegations.


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               173.    Answering Paragraph 1449 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit those allegations. To the extent that Paragraph 1449 contains allegations against

        the remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 1449, and

        therefore deny those allegations.

               174.    Answering Paragraph 1450 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit the allegations in the first sentence of Paragraph 1450 of the Third Amended

        Complaint, but deny the allegations in the second sentence. To the extent that Paragraph 1450

        contains allegations against the remaining Defendants, the remaining Defendants are without

        knowledge or information sufficient to form a belief as to the truth of the allegations contained

        in Paragraph 1450, and therefore deny those allegations.

               175.    Answering Paragraph 1451 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele deny Plaintiffs’ characterization of the hearing testimony, and state that the hearing

        transcript speaks for itself. To the extent that Paragraph 1451 contains allegations against the

        remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 1451, and

        therefore deny those allegations.

               176.    Answering Paragraph 1452 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.


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               177.    Answering Paragraph 1453 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               178.    Answering Paragraph 1454 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants Heligman and CSXT admits

        he did not personally examine this Plaintiff. To the extent that Paragraph 1454 contains

        allegations against the remaining Defendants, the remaining Defendants are without knowledge

        or information sufficient to form a belief as to the truth of the remaining allegations contained

        in Paragraph 1454, and therefore deny those allegations.

               179.    Answering Paragraph 1455 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendants CSXT, Heligman, Shogren,

        and Thoele admit those allegations. To the extent that Paragraph 1455 contains allegations

        against the remaining Defendants, the remaining Defendants are without knowledge or

        information sufficient to form a belief as to the truth of the allegations contained in Paragraph

        1455, and therefore deny those allegations.

               180.    Answering Paragraph 1456 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               181.    Answering Paragraph 1457 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               182.    Answering Paragraph 1458 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants CSXT, Heligman, Shogren, and

        Thoele admit those allegations. To the extent that Paragraph 1458 contains allegations against


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        the remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 1458, and

        therefore deny those allegations.

               183.    Answering Paragraph 1459 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               184.    Answering Paragraph 1460 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               185.    Answering Paragraph 1461 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               186.    Answering Paragraph 1462 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               187.    Answering Paragraph 1463 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. CSXT admits those allegations. To the

        extent that Paragraph 1463 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1463, and therefore deny those allegations.

               188.    Answering Paragraph 1464 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               189.    Answering Paragraph 1465 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, to the extent that the allegations include CSX

        Corporation, the allegations are specifically denied. Defendant CSXT denies those allegations.

        To the extent that Paragraph 1465 contains allegations against the remaining Defendants, the


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        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1465, and therefore deny those allegations.

               190.    Answering Paragraph 1466 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               191.    Answering Paragraph 1467 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               192.    Answering Paragraph 1468 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Scott Morrison, Defendants deny those allegations.

               193.    Answering Paragraph 1469 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jeremy Napier, Defendants deny those allegations.

               194.    Answering Paragraph 1504 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jeremy Napier, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1504 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1504, and therefore deny those allegations.

               195.    Answering Paragraph 1505 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jeremy Napier, Defendants deny those allegations.

               196.    Answering Paragraph 1506 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jeremy Napier, Defendants deny those allegations.

               197.    Answering Paragraph 1507 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jeremy Napier, Defendants deny those allegations.




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               198.    Answering Paragraph 1543 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Shawn Patterson, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1543 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1543, and therefore deny those allegations.

               199.    Answering Paragraph 1544 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Shawn Patterson, Defendants deny those allegations.

               200.    Answering Paragraph 1545 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Shawn Patterson, Defendants deny those allegations.

               201.    Answering Paragraph 1546 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Shawn Patterson, Defendants deny those allegations.

               202.    Answering Paragraph 1591 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Matthew Woods, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1591 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1591, and therefore deny those allegations.

               203.    Answering Paragraph 1592 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Matthew Woods, Defendants deny those allegations.

               204.    Answering Paragraph 1593 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Matthew Woods, Defendants deny those allegations.




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               205.    Answering Paragraph 1594 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Matthew Woods, Defendants deny those allegations.

               206.    Answering Paragraph 1629 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Carpenter, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1629 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1629, and therefore deny those allegations.

               207.    Answering Paragraph 1630 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Carpenter, Defendants deny those allegations.

               208.    Answering Paragraph 1631 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Carpenter, Defendants deny those allegations.

               209.    Answering Paragraph 1632 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff John Carpenter, Defendants deny those allegations.

               210.    Answering Paragraph 1668 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Quincy Christian, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1668 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1668, and therefore deny those allegations.

               211.    Answering Paragraph 1669 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Quincy Christian, Defendants deny those allegations.




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               212.    Answering Paragraph 1670 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Quincy Christian, Defendants deny those allegations.

               213.    Answering Paragraph 1671 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Quincy Christian, Defendants deny those allegations.

               214.    Answering Paragraph 1707 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gregory Hamm, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1707 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1707, and therefore deny those allegations.

               215.    Answering Paragraph 1708 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gregory Hamm, Defendants deny those allegations.

               216.    Answering Paragraph 1709 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gregory Hamm, Defendants deny those allegations.

               217.    Answering Paragraph 1710 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Gregory Hamm, Defendants deny those allegations.

               218.    Answering Paragraph 1743 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Ethan Mullins, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1743 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1743, and therefore deny those allegations.




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               219.    Answering Paragraph 1744 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Ethan Mullins, Defendants deny those allegations.

               220.    Answering Paragraph 1745 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Ethan Mullins, Defendants deny those allegations.

               221.    Answering Paragraph 1746 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Ethan Mullins, Defendants deny those allegations.

               222.    Answering Paragraph 1782 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Owens, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1782 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1782, and therefore deny those allegations.

               223.    Answering Paragraph 1783 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Owens, Defendants deny those allegations.

               224.    Answering Paragraph 1784 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Owens, Defendants deny those allegations.

               225.    Answering Paragraph 1785 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Michael Owens, Defendants deny those allegations.

               226.    Answering Paragraph 1820 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Rowe, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1820 contains allegations against the remaining Defendants, the




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        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1820, and therefore deny those allegations.

               227.    Answering Paragraph 1821 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Rowe, Defendants deny those allegations.

               228.    Answering Paragraph 1822 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Rowe, Defendants deny those allegations.

               229.    Answering Paragraph 1823 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jonathan Rowe, Defendants deny those allegations.

               230.    Answering Paragraph 1858 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Danny Stewart, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1858 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1858, and therefore deny those allegations.

               231.    Answering Paragraph 1859 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Danny Stewart, Defendants deny those allegations.

               232.    Answering Paragraph 1860 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Danny Stewart, Defendants deny those allegations.

               233.    Answering Paragraph 1861 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Danny Stewart, Defendants deny those allegations.

               234.    Answering Paragraph 1896 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Lloyd Williams, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.


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        To the extent that Paragraph 1896 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1896, and therefore deny those allegations.

               235.   Answering Paragraph 1897 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Lloyd Williams, Defendants deny those allegations.

               236.   Answering Paragraph 1898 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Lloyd Williams, Defendants deny those allegations.

               237.   Answering Paragraph 1899 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Lloyd Williams, Defendants deny those allegations.

               238.   Answering Paragraph 1933 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff David Manis, Defendant CSXT denies those allegations. To the

        extent that the allegations include CSX Corporation, the allegations are specifically denied. To

        the extent that Paragraph 1933 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1933, and therefore deny those allegations.

               239.   Answering Paragraph 1934 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff David Manis, Defendants deny those allegations.

               240.   Answering Paragraph 1935 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff David Manis, Defendants deny those allegations.

               241.   Answering Paragraph 1936 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff David Manis, Defendants deny those allegations.

               242.   Answering Paragraph 1969 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Ferguson, Defendant CSXT denies those allegations. To


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        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 1969 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 1969, and therefore deny those allegations.

               243.    Answering Paragraph 1970 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Ferguson, Defendants deny those allegations.

               244.    Answering Paragraph 1971 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Ferguson, Defendants deny those allegations.

               245.    Answering Paragraph 1972 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Joshua Ferguson, Defendants deny those allegations.

               246.    Answering Paragraph 2008 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Speaks, Defendant CSXT denies those allegations. To the

        extent that the allegations include CSX Corporation, the allegations are specifically denied. To

        the extent that Paragraph 2008 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2008, and therefore deny those allegations.

               247.    Answering Paragraph 2009 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Speaks, Defendants deny those allegations.

               248.    Answering Paragraph 2010 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Speaks, Defendants deny those allegations.

               249.    Answering Paragraph 2011 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Eric Speaks, Defendants deny those allegations.




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               250.    Answering Paragraph 2047 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Donald Stephens, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 2047 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2047, and therefore deny those allegations.

               251.    Answering Paragraph 2048 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Donald Stephens, Defendants deny those allegations.

               252.    Answering Paragraph 2049 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Donald Stephens, Defendants deny those allegations.

               253.    Answering Paragraph 2050 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Donald Stephens, Defendants deny those allegations.

               254.    Answering Paragraph 2086 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jason Barker, Defendant CSXT denies those allegations. To the

        extent that the allegations include CSX Corporation, the allegations are specifically denied. To

        the extent that Paragraph 2086 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2086, and therefore deny those allegations.

               255.    Answering Paragraph 2087 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jason Barker, Defendants deny those allegations.

               256.    Answering Paragraph 2088 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jason Barker, Defendants deny those allegations.




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               257.   Answering Paragraph 2089 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jason Barker, Defendants deny those allegations.

               258.   Answering Paragraph 2125 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Dowdy, Defendant CSXT denies those allegations. To the

        extent that the allegations include CSX Corporation, the allegations are specifically denied. To

        the extent that Paragraph 2125 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2125, and therefore deny those allegations.

               259.   Answering Paragraph 2126 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Dowdy, Defendants deny those allegations.

               260.   Answering Paragraph 2127 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Dowdy, Defendants deny those allegations.

               261.   Answering Paragraph 2128 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Chad Dowdy, Defendants deny those allegations.

               262.   Answering Paragraph 2162 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jerry Flocker, Defendant CSXT denies those allegations. To the

        extent that the allegations include CSX Corporation, the allegations are specifically denied. To

        the extent that Paragraph 2162 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2162, and therefore deny those allegations.

               263.   Answering Paragraph 2163 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jerry Flocker, Defendants deny those allegations.




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               264.    Answering Paragraph 2164 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jerry Flocker, Defendants deny those allegations.

               265.    Answering Paragraph 2165 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Jerry Flocker, Defendants deny those allegations.

               266.    Answering Paragraph 2200 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Grover Kelley, Defendant CSXT denies those allegations. To

        the extent that the allegations include CSX Corporation, the allegations are specifically denied.

        To the extent that Paragraph 2200 contains allegations against the remaining Defendants, the

        remaining Defendants are without knowledge or information sufficient to form a belief as to

        the truth of the allegations contained in Paragraph 2200, and therefore deny those allegations.

               267.    Answering Paragraph 2201 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Grover Kelley, Defendants deny those allegations.

               268.    Answering Paragraph 2202 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Grover Kelley, Defendants deny those allegations.

               269.    Answering Paragraph 2203 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Grover Kelley, Defendants deny those allegations.

               270.    Answering Paragraph 2238 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Christopher Clay Stiltner, Defendant CSXT denies those

        allegations. To the extent that the allegations include CSX Corporation, the allegations are

        specifically denied. To the extent that Paragraph 2238 contains allegations against the

        remaining Defendants, the remaining Defendants are without knowledge or information

        sufficient to form a belief as to the truth of the allegations contained in Paragraph 2238, and

        therefore deny those allegations.


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               271.    Answering Paragraph 2239 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Christopher Clay Stiltner, Defendants deny those allegations.

               272.    Answering Paragraph 2240 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Christopher Clay Stiltner, Defendants deny those allegations.

               273.    Answering Paragraph 2241 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Christopher Clay Stiltner, Defendants deny those allegations.

               274.    Answering Paragraph 2242 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Hutchinson, Defendants deny those allegations.

               275.    Answering Paragraph 2277 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Hutchinson, Defendant CSXT denies those allegations.

        To the extent that the allegations include CSX Corporation, the allegations are specifically

        denied. To the extent that Paragraph 2277 contains allegations against the remaining

        Defendants, the remaining Defendants are without knowledge or information sufficient to form

        a belief as to the truth of the allegations contained in Paragraph 2277, and therefore deny those

        allegations.

               276.    Answering Paragraph 2278 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Hutchinson, Defendants deny those allegations.

               277.    Answering Paragraph 2279 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Hutchinson, Defendants deny those allegations.

               278.    Answering Paragraph 2280 of the Third Amended Complaint, which sets forth

        new allegations as to Plaintiff Dennis Hutchinson, Defendants deny those allegations.




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                                         NEWLY-ASSERTED CLAIM

               279.    Paragraph 2346 of the Third Amended Complaint merely incorporates the

        previous Paragraphs into Plaintiffs’ newly-asserted claim under the Federal Railroad Safety

        Act (“FRSA”), 49 U.S.C. § 20109 (Count X), and does not require a response. To the extent

        a response is required, Defendants expressly deny all liability pursuant to the FRSA.

               280.    Answering Paragraph 2347 of the Third Amended Complaint, Defendants deny

        Plaintiffs’ characterization of the statutory language and state that the text of the FRSA speaks

        for itself. Defendants deny they engaged in the conduct described in Paragraph 2347 of the

        Third Amended Complaint and expressly deny all liability pursuant to the FRSA.

               281.    Answering Paragraph 2348 of the Third Amended Complaint, Defendants deny

        Plaintiffs’ characterization of the statutory language and state that the text of the FRSA speaks

        for itself. Defendants deny they engaged in the conduct described in Paragraph 2348 of the

        Third Amended Complaint and expressly deny all liability pursuant to the FRSA.

               282.    Answering Paragraph 2349 of the Third Amended Complaint, Defendants deny

        Plaintiffs’ characterization of the statutory language and state that the text of the FRSA speaks

        for itself. Defendants deny they engaged in the conduct described in Paragraph 2349 of the

        Third Amended Complaint and expressly deny all liability pursuant to the FRSA.

               283.    Answering Paragraph 2350 of the Third Amended Complaint, Defendants deny

        those allegations.

               284.    Answering Paragraph 2351 of the Third Amended Complaint, Defendants deny

        those allegations, including the allegations set forth in each subpart (a) through (i).

               285.    Answering Paragraph 2352 of the Third Amended Complaint, Defendants deny

        those allegations.


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                286.    Answering Paragraph 2353 of the Third Amended Complaint, Defendants deny

        those allegations.

                287.    Answering Paragraph 2354 of the Third Amended Complaint, Defendants admit

        that some of the Plaintiffs previously filed complaints under 49 U.S.C. § 20109 with the U.S.

        Department of Labor Occupational Safety and Health Administration (“OSHA”), and that

        more than 210 days have elapsed with no final decision from the Secretary of Labor on some

        of those claims. Defendants are without knowledge or information sufficient to form a belief

        as to whether other of the Plaintiffs have filed complaints under 49 U.S.C. § 20109 with

        OSHA, and/or whether 210 days have elapsed with no final decision from the Secretary of

        Labor on some of the Plaintiffs’ claims, and therefore deny those allegations. Plaintiffs’

        allegation that they are exercising their right to file a de novo action in this district court

        pursuant to 49 U.S.C. § 20109(d)(3) is a legal conclusion to which no response is required.

        To the extent any response is required, Defendants deny that allegation.

                288.    Answering the unnumbered Paragraph of the Third Amended Complaint entitled

        “Prayer for Relief,” Defendants expressly deny any liability and expressly deny that Plaintiffs

        are entitled to relief in this civil action.

                289.    Every allegation in Plaintiffs’ Third Amended Complaint that is not expressly

        admitted by Defendants herein is denied.

                                                 FOURTH DEFENSE

                                   ADDITIONAL AFFIRMATIVE DEFENSES

                1.      Defendants deny that they violated the Federal Rail Safety Act (“FRSA”), or any

        other law or laws and further deny that they were negligent or breached any duty owing to the

        Plaintiffs.


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               2.      Defendants state that the alleged injuries and damages, if any, of which Plaintiffs

        complain were exacerbated by Plaintiffs’ failure to mitigate their damages. Because Plaintiffs

        failed to mitigate their damages, should Defendants be found liable under the FRSA, or

        otherwise, Plaintiffs’ recovery of monetary damages, if any, should be diminished or barred.

               3.      Defendants deny that any impermissible motive played a role in any employment

        decisions relating to Plaintiffs. In addition, Plaintiffs have failed to establish a prima facie case

        under the FRSA because Defendants acted reasonably at all times and in good faith and on the

        basis of legitimate, non-discriminatory reasons.        Plaintiffs have not alleged circumstances

        sufficient to raise the inference that Plaintiffs’ alleged protected activity was a contributing factor

        in any alleged adverse employment actions.

               4.      Although Defendants deny taking any action based upon any alleged protected

        activity by Plaintiffs, should a finder of fact determine otherwise, Defendants can establish their

        affirmative defense and prove that they would have taken the same action absent Plaintiffs’

        allegedly protected conduct.

               5.      To the extent any Plaintiff failed to timely file a formal complaint with OSHA,

        his or her FRSA claims must be dismissed for failure to exhaust administrative remedies.

               6.      To the extent the causes of action seeking relief under the FRSA raise claims or

        are premised on allegations beyond those asserted in complaints timely filed with OSHA, they

        must be dismissed for failure to exhaust administrative remedies.

               7.      Any FRSA claims asserted against an individual Defendant that were not asserted

        against that Defendant in a complaint timely filed with OSHA must be dismissed for failure to

        exhaust administrative remedies with respect to that Defendant.




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               8.      To the extent any Plaintiff otherwise failed to exhaust administrative remedies,

        his or her FRSA claims must be dismissed.

               9.      Some of Plaintiffs’ FRSA claims are time-barred due either to the individual

        Plaintiff’s failure to timely file a complaint with OSHA and/or his failure to object and request

        a hearing within 30 days of receiving notice of OSHA’s dismissal of his claim.

               10.     Plaintiffs’ FRSA claims must be dismissed with respect to any Plaintiff who

        cannot show that he or she met all of the conditions set forth in 49 U.S.C. § 20109(d)(3) for

        bringing suit in federal court.

               11.     To the extent the Claims asserted by the Estate of Chad Little do not survive the

        death of Mr. Chad Little under one or more applicable survival statute(s), the Estate’s claims

        are barred and must be dismissed.

               12.     Plaintiffs’ claims against CSX Corporation are barred because this Court lacks

        personal jurisdiction. By joining in this Consolidated Answer, CSX Corporation does not waive,

        and expressly reserves, its right to contest jurisdiction pursuant to the Court’s Scheduling Order.

               13.     Defendants reserve the right to amend this Answer and to add any additional

        defenses as discovery may warrant.

               WHEREFORE, Defendants hereby deny any liability for damages and having fully

        answered the allegations in Plaintiffs’ Third Amended Complaint, state that the Plaintiffs are not

        entitled to the relief prayed for in the Third Amended Complaint, and pray that the Plaintiffs’

        Third Amended Complaint in this action be dismissed, and that Defendants be awarded

        reasonable attorneys’ fees, costs in defending this action, and such other and further relief as this

        Court may deem just and appropriate.




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                                           Respectfully submitted,




                                           By /s/Melissa Foster Bird
                                                                Of Counsel


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                                        CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on the 27th day of January, 2020, a copy of the

        foregoing “Consolidated Answer to Third Amended Complaint” was served upon counsel of

        record by electronically filing the foregoing with the Clerk of Court using the CM/ECF system,

        which will send notification of such filing to the following:

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  Activity in Case 3:18-cv-00321 Adkins et al v. CSX Transportation, Inc. et al Sealed
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                                                United States District Court

                                             Southern District of West Virginia

   Notice of Electronic Filing
   The following transaction was entered on 5/5/2020 at 3:28 PM EDT and filed on 5/5/2020
   Case Name:           Adkins et al v. CSX Transportation, Inc. et al
   Case Number:         3:18-cv-00321
   Filer:               CSX Corporation
   Document Number: 163

   Docket Text:
   SEALED EXHIBITS filed by CSX Corporation in support of their [158] RENEWED MOTION to
   Dismiss [18] Second Amended Complaint; filed under seal pursuant to the [162] Order.
   (Attachments: # (1) Exhibit C, # (2) Exhibit D, # (3) Exhibit 5) (jsa)

   3:18-cv-00321 Notice has been electronically mailed to:

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   3:18-cv-00321 Notice has been delivered by other means to:

   Kenneth R. Reed                                                                             USCA4           521
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   241 Elm Street
   Ludlow, KY 41016

   The following document(s) are associated with this transaction:

    Document description:Main Document
    Original filename:n/a
    Electronic document Stamp:
    [STAMP dcecfStamp_ID=1060112543 [Date=5/5/2020] [FileNumber=9781831-0]
    [6f4f94cc48b0e8d1eb8aa1adae686042ac6074c01be9ad75a930838135d109bc8b3d
    cea9966216bb7c1efb23100a8f6e96d0660488875b00adf5feffb84e626e]]
    Document description:Exhibit C
    Original filename:n/a
    Electronic document Stamp:
    [STAMP dcecfStamp_ID=1060112543 [Date=5/5/2020] [FileNumber=9781831-1]
    [5fee1aa149934985d7f96753a7bc19b386cefe764c3dd64132ccef924c8bf94a9391
    ba31fda8b23d88cd3466a77ee98d4b0da023911a1a2a666662ecc0f59233]]
    Document description:Exhibit D
    Original filename:n/a
    Electronic document Stamp:
    [STAMP dcecfStamp_ID=1060112543 [Date=5/5/2020] [FileNumber=9781831-2]
    [a79431f05e118816031b64efe5b69326c590d66ae50d18f1cf06e9fd00574c36dd2b
    4438d800092e7cfce86016a68297bd4933a4abc2aa3c9a68d0a3645d6bf0]]
    Document description:Exhibit 5
    Original filename:n/a
    Electronic document Stamp:
    [STAMP dcecfStamp_ID=1060112543 [Date=5/5/2020] [FileNumber=9781831-3]
    [a92f3c477bc8c4be15b1e7028f383854edc4db5eb882e7db92d54c17355cff02f097
    a93d7b7d33b1d7d6cc08c9921a989f1e4d0ee1b85d9f7651bca891b53b9b]]




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                            IN THE UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                           HUNTINGTON DIVISION


        JUSTIN ADKINS, et al.,

                                      Plaintiffs,

        v.                                                    CIVIL ACTION NO. 3:18-0321

        CSX TRANSPORTATION, INC., et al.,

                                      Defendants.


                                 MEMORANDUM OPINION AND ORDER

               Pending is defendant CSX Corporation’s (“CSX”) Renewed Motion to Dismiss for Lack

        of Personal Jurisdiction, ECF No. 158. CSX argues its status as the parent company of defendant

        CSX Transportation, Inc. (“CSXT”) is insufficient for the Court to exercise jurisdiction over it.

        The Court agrees and finds no basis for asserting personal jurisdiction over CSX. The Renewed

        Motion is therefore GRANTED.

                                                I. BACKGROUND

               The plaintiffs assert a series of claims arising out of their termination with rail carrier CSXT

        in Huntington, West Virginia. See ECF No. 93. The plaintiffs also name CSXT’s parent company,

        CSX, as a defendant. In August 2018, CSX filed a motion to dismiss for lack of personal

        jurisdiction on the basis that CSX is separate from CSXT and does not have sufficient contacts

        with West Virginia. ECF No. 20. The Court denied the motion because the plaintiffs made a prima

        facie case for personal jurisdiction. ECF No. 48, at 5. The Court then entered a scheduling order

        that permitted CSX to raise its jurisdictional defense again after the completion of jurisdictional




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        discovery. ECF No. 53, at 1–2. Having completed jurisdictional discovery, CSX now moves again

        for dismissal for lack of personal jurisdiction. ECF No. 158.

                                             II. LEGAL STANDARD

               A federal court sitting in diversity “has personal jurisdiction over a non-resident defendant

        if (1) an applicable state long-arm statute confers jurisdiction and (2) the assertion of that

        jurisdiction is consistent with constitutional due process.” Perdue Foods LLC v. BRF S.A., 814

        F.3d 185, 188 (4th Cir. 2016) (citation omitted). “Because the West Virginia long-arm statute is

        coextensive with the full reach of due process,” these questions merge into one inquiry. In re

        Celotex Corp., 124 F.3d 619, 627–28 (4th Cir. 1997). “A court’s exercise of jurisdiction over a

        nonresident defendant comports with due process if the defendant has ‘minimum contacts’ with

        the forum, such that to require the defendant to defend its interests in that state ‘does not offend

        traditional notions of fair play and substantial justice.’” Carefirst of Md., Inc. v. Carefirst

        Pregnancy Ctrs., Inc., 334 F.3d 390, 397 (4th Cir. 2003) (quoting Int’l Shoe Co. v. Wash., 326

        U.S. 310, 316 (1945)).

               In this case, the plaintiffs seek to pierce the corporate veil between CSX and CSXT to

        impute the subsidiary’s West Virginia contacts to its parent. The Court must therefore look to the

        substantive requirements for piercing the corporate veil under West Virginia law. See Byard v.

        Verizon W. Va., Inc., No. 1:11CV132, 2012 WL 1085775, at *10 (N.D.W. Va. Mar. 30, 2012)

        (analyzing West Virginia’s alter ego doctrine in the context of determining personal jurisdiction

        over a parent corporation). The law presumes that two separately incorporated businesses are

        separate entities. Syl. pt. 3, S. Elec. Supply Co. v. Raleigh Cty. Nat. Bank, 320 S.E.2d 515 (W. Va.

        1984). However, a plaintiff may overcome this presumption and pierce the corporate veil “when

        the corporate form is interposed to perpetrate an intentional wrong, fraud or illegality.” Id. at 521–



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        22. The Court may then disregard the corporate structure in order to “make a corporation liable for

        behavior of another corporation within its total control.” Id. at 522 (emphasis added). In addition

        to evidence concerning the organizational relationship between the parent and subsidiary, courts

        must consider evidence “that a corporation attempted to use its corporate structure to perpetrate a

        fraud or do grave injustice on an innocent third party.” Id. at 523. West Virginia courts apply this

        “complicated” doctrine “gingerly” on a “case-by-case” basis “with particular attention to factual

        details.” Id. at 522–23.

               The Supreme Court of Appeals of West Virginia has outlined eleven factors for courts to

        consider “in determining whether to assert personal jurisdiction over the parent company of a

        subsidiary doing business in West Virginia.” Bowers v. Wurzburg, 501 S.E.2d 479, 490 (W. Va.

        1998). These factors include:

               1. Whether the parent corporation owns all or most of the capital stock of the
                   subsidiary;
               2. Whether the parent and subsidiary corporations have common directors and
                   officers;
               3. Whether the parent corporation finances the subsidiary;
               4. Whether the parent corporation subscribes to all the capital stock of the
                   subsidiary or otherwise causes its incorporation;
               5. Whether the subsidiary has grossly inadequate capital;
               6. Whether the parent corporation pays the salaries and other expenses or losses
                   of the subsidiary;
               7. Whether the subsidiary has substantially no business except with the parent
                   corporation or no assets except those conveyed to it by the parent corporation;
               8. Whether in the papers of the parent corporation or in the statement of its
                   officers, the subsidiary is described as a department or division of the parent
                   corporation, or its business or financial responsibility is referred to as the parent
                   corporation’s own;
               9. Whether the parent corporation uses the property of the subsidiary as its own;
               10. Whether the directors or executives of the subsidiary do not act independently
                   in the interest of the subsidiary but take their orders from the parent corporation
                   in the latter’s interest; and
               11. Whether the formal legal requirements of the subsidiary are not observed.




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        Id. (citation omitted). Now that jurisdictional discovery has occurred and the parties had the

        opportunity to present relevant evidence and argument, the plaintiffs bear the burden of

        establishing personal jurisdiction by a preponderance of the evidence. See Sneha Media & Entm’t,

        LLC v. Associated Broad. Co. P Ltd., 911 F.3d 192, 197 (4th Cir. 2018); James v. Subaru of Am.,

        Inc., No. 1:19CV00021, 2020 WL 220093, at *3 (W.D. Va. Jan. 15, 2020).

                                                 III. DISCUSSION

               The plaintiffs argue several facts show CSX exercised total control over CSXT. ECF No.

        164, at 7–11. They point out that CSXT is a wholly-owned subsidiary of CSX and the two entities

        share some common officers who are compensated by CSX. Id. at 8. The plaintiffs also argue CSX

        guarantees the debt of its subsidiary and CSXT provides extensive services to CSX under a

        Specialized Services Agreement. Id. at 5, 8–9. In addition, CSX uses some of CSXT’s property,

        assets, and workforce. Id. at 9. This includes use of CSXT’s private aircraft and the leasing of

        office space from CSXT for a submarket rate. Id. at 9–10. The plaintiffs further argue that a

        Strategic Management Services Agreement obligates CSXT to comply with business strategies

        developed by CSX. Id. Finally, the plaintiffs argue CSX and CSXT represent themselves as a

        consolidated entity, including on their websites for the public and investors. Id. at 10–11.

               These facts fall far short of showing anything more than a typical parent-subsidiary

        relationship. As considered by the second Bowers factor, CSX and CSXT shared some common

        officers and directors during the relevant period. The two entities’ 2018 Secretary of State filings

        show six individuals served as officers for both CSX and CSXT (assuming these officers did not

        change in between the two filings). ECF Nos. 25-1, 25-2; see also ECF No. 164-4. Even so, “it is

        entirely appropriate for directors of a parent corporation to serve as directors of its subsidiary, and

        that fact alone may not serve to expose the parent corporation to liability for its subsidiary’s acts.”



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        W. Va. Highlands Conservancy, Inc. v. Pub. Serv. Comm’n of W. Va., 527 S.E.2d 495, 502 (1998)

        (quoting U.S. v. Bestfoods, 524 U.S. 51, 69 (1998)). In other words, having common officers and

        directors is often necessary for piercing the corporate veil, but it is far from sufficient to invoke

        the doctrine. See C M Corp. v. Oberer Dev. Co., 631 F.2d 536, 539 (7th Cir. 1980) (“Stock control

        and common officers and directors . . . are not sufficient by themselves . . . for such factors are

        common business practice and exist in most parent and subsidiary relationships.”); Haas v. Antero

        Res. Corp., No. 1:17CV108, 2018 WL 6596869, at *9 (N.D.W. Va. Dec. 14, 2018) (holding that

        wholly owning a subsidiary, some shared officers and directors, and the allegation of “significant

        overlap in corporate control” fall “woefully short” of plausibly supporting alter ego liability).

               The plaintiffs also failed to show CSXT’s directors and executives “[took] their orders

        from the parent corporation” instead of “act[ing] independently in the interest of the subsidiary”

        as considered under the tenth Bowers factor. 501 S.E.2d at 490. The simple fact that some directors

        and officers split their time between the two companies does not support alter ego liability, for it

        is a “well established principle of corporate law that directors and officers holding positions with

        a parent and its subsidiary can and do ‘change hats’ to represent the two corporations separately,

        despite their common ownership.” Bestfoods, 524 U.S. at 69 (citations omitted). Thus, courts

        “generally presume that the directors are wearing their ‘subsidiary hats’ and not their ‘parent hats’

        when acting for the subsidiary.” Id. (internal quotation marks and citations omitted). The plaintiffs

        produced no evidence to rebut this presumption.

               Per the ninth Bowers factor, the plaintiffs argue CSX uses some of CSXT’s property. ECF

        No. 164, at 9. However, the only examples the plaintiffs provide are that CSX leases office space

        from CSXT and that CSXT permits CSX to use its aircraft under the companies’ Specialized

        Services Agreement. Id. This use of CSXT’s property is negligible, especially considering that



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        CSXT holds billions of dollars in assets, including real estate, bridges, locomotives, and freight

        cars. ECF No. 163-1 ¶ 13. Shared office space does not show a subsidiary is an alter ego of the

        parent. See, e.g., Tucker v. Thomas, 853 F. Supp. 2d 576, 591 (N.D.W. Va. 2012) (holding that an

        overlap in ownership and management and a shared office space and telephone number did not

        plausibly support alter ego liability); EEOC v. Bass Pro Outdoor World, LLC, No. 4:11-CV-3425,

        2012 WL 13040407, at *3 (S.D. Tex. Oct. 23, 2012) (holding that common ownership, a shared

        corporate headquarters, and shared officers and directors did not establish an alter ego

        relationship). And, CSX does not freely use CSXT’s aircraft as if CSX owned the aircraft. Rather,

        access is provided for in the companies’ Strategic Management Services Agreement to “enable

        [CSX] to discharge its obligation in providing Strategic Management Services to [CSXT] without

        incurring greater cost.” ECF No. 164-2, at 3. CSX’s use of the aircraft is therefore part of an

        exchange of services typical of a parent and subsidiary, not indicative of a parent unconditionally

        controlling its subsidiary’s assets.

                As the plaintiffs argue, CSXT provides many services to CSX. See ECF No. 164, at 4–5.

        The companies’ Specialized Services Agreement describes the provision of accounting,

        environmental, financial, human resources, legal, and other services. ECF No. 164-3. However,

        the provision of some services by a subsidiary to a parent is not unique and does not necessarily

        support piercing the corporate veil. Rather, according the seventh Bowers factor, the question is

        whether the subsidiary “has substantially no business except with the parent corporation or no

        assets except those conveyed to it by the parent corporation.” 501 S.E.2d at 490. Here, CSXT has

        significant business beyond CSX. ECF No. 158-1 ¶ 11. In 2018, CSXT had approximately $12.2

        billion in revenue, while CSX paid only $5.57 million under the Specialized Services Agreement.

        Id.; ECF No. 163-1 ¶ 6. CSXT also holds considerable assets independent of CSX, including real



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        estate, bridges, locomotives, and freight cars. ECF No. 158-1 ¶ 13. Thus, the receipt of some

        business from the companies’ Specialized Services Agreement does not support holding CSX

        liable here.

                The plaintiffs’ main argument is that a Strategic Management Services Agreement permits

        CSX to set CSXT’s strategy and prohibits CSXT from deviating from that strategy. ECF No. 164,

        at 9–10. However, this Agreement does not evidence the kind of “total control” that would justify

        holding CSX liable. As the United States Supreme Court and the Supreme Court of Appeals of

        West Virginia have explained, “activities which are consistent with the parent’s investor status,

        such as monitoring of the subsidiary’s performance, supervision of the subsidiary’s finance and

        capital budget decisions, and articulation of general policies and procedures do not indicate that

        the parent corporation is in fact controlling the subsidiary.” W. Va. Highlands Conservancy, Inc.,

        527 S.E.2d at 502 (quoting Bestfoods, 524 U.S. at 72) (internal quotation marks omitted). Thus,

        parent companies can set the corporate strategy of their subsidiaries without giving rise to alter

        ego liability when the subsidiary maintains control of day-to-day operations. E.g., Anwar v. Dow

        Chem. Co., 876 F.3d 841, 850 (6th Cir. 2017) (holding that parent’s “macromanagement” of

        subsidiary is insufficient for alter ego liability); Ranza v. Nike, Inc., 793 F.3d 1059, 1074–75 (9th

        Cir. 2015) (rejecting alter ego liability where subsidiary handled its day-to-day operations even

        though the parent company controlled the subsidiary’s budget, approved large purchases, and set

        general human resource policies); Byard, 2012 WL 1085775, at *10–11 (holding that a parent

        company’s “Code of Conduct” outlining general corporate policy for its subsidiary could not

        justify piercing the corporate veil); see also Company, BLACK’S LAW DICTIONARY (11th ed. 2019)

        (defining “holding company” as one that generally “confin[es] its role to owning stock and

        supervising management” without “participat[ing] in making day-to-day business decisions”).



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               The companies’ Strategic Management Services Agreement evidences only the kind of

        “macromanagement” typical of a parent-subsidiary relationship. The agreement is only fourteen

        pages long and describes CSX’s provision of management services to CSXT in the broadest of

        terms. See ECF No. 164-2. For example, CSX agrees to “create long-term value and growth by

        identifying [CSXT’s] longterm needs; establishing one or more plans to address those needs; and

        work with [CSXT’s] management to execute those plans.” Id. at 6. In another portion, CSX agrees

        to the “coordination of human resource policies; overseeing compliance with labor laws;

        evaluating managerial restructuring; creation of longterm incentive plans; and strategizing

        collective bargaining.” Id. Nothing in the agreement indicates CSX goes beyond the development

        of strategy to control the day-to-day operations of CSXT. To the contrary, this intercompany

        contract shows CSXT and CSX closely adhered to the formalities of corporate separateness when

        establishing this provision of management services. See Special Indus., Inc. v. Zamil Grp. Holding

        Co., 578 F. App’x 325, 333 (5th Cir. 2014) (“[F]ormal contractual relationships in the form of

        service, patent, trademark, licensing, and interest-bearing loan agreements, like the ones [the

        parent] has here with its subsidiaries, could be more indicative of separateness than unity.”); In re

        Joseph Walker & Co., Inc., 522 B.R. 165, 192 (Bankr. D.S.C. 2014) (“[F]ar from suggesting any

        domination or control of a corporate subsidiary, intercompany transactions may establish the

        independence of corporate entities.”). Without additional evidence showing CSX exercised control

        over CSXT’s operations, the Strategic Management Services Agreement fails to support holding

        CSX liable.

               Finally, the plaintiffs’ argument that CSX and CSXT represent themselves as a

        consolidated entity also does not support alter ego liability. See ECF No. 164, at 10–11.

        Specifically, the plaintiffs argue CSX’s main website and investors website do not distinguish



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        between the two companies. Id. This is false. Both websites link to a “corporate structure” page

        that explains: “CSX Corporation is the parent company of several direct and indirect wholly-

        owned subsidiaries, including: [CSXT]. Each subsidiary is a separate and distinct company.”

        Corporate Structure, CSX, https://www.csx.com/index.cfm/about-the-site/corporate-structure/

        (last visited June 9, 2020). The plaintiffs provided no evidence that earlier versions of the websites

        did not make this distinction. CSX’s investors website also includes copies of CSX’s annual Form

        10-Ks and CSXT’s Class 1 Railroad Annual Reports, each of which distinguish between the

        companies. See Annual Reports, CSX, https://investors.csx.com/financials/annual-reports/

        default.aspx (last visited June 9, 2020). The plaintiffs contend that CSX’s first quarter financial

        report for 2020 fails to distinguish between CSX and its subsidiaries. See ECF No. 164-5.

        However, the report is meant to provide a concise summary and clearly instructs readers on the

        first page to read the report “in conjunction with the Company’s most recent Annual Report on

        Form 10-K” among other public filings. Id. at 3. The report also refers readers to CSX’s website

        for “[m]ore information about CSX Corporation and its subsidiaries.” Id. at 4 (emphasis added).

        Given these statements, it cannot be said that CSX describes CSXT as a division of itself or that

        CSX refers to CSXT’s business responsibility as its own as considered by the eighth Bowers factor.

        See 501 S.E.2d at 490.

               In sum, the plaintiffs have failed to offer any significant evidence that CSX exercised total

        control over CSXT and did so to “perpetrate an intentional wrong, fraud or illegality.” S. Elec.

        Supply Co., 320 S.E.2d at 521–22. The companies’ corporate and financial structure, shared

        officers and directors, exchange of services, setting of strategy, and public presentation show

        nothing more than a typical parent-subsidiary relationship. West Virginia law mandates that the

        corporate form should “never be disregarded lightly,” and this case does not present exceptional



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        circumstances. Dallas Nat’l Ins. Co. v. Owner’s Sol., Inc., No. 2:13-CV-10780, 2014 WL

        12744644, at *2 (S.D.W. Va. Mar. 10, 2014). The plaintiffs’ attempt to pierce the corporate veil

        and impute CSXT’s West Virginia contacts to CSX is unfounded.

                                             IV. CONCLUSION

               The Court therefore GRANTS CSX’s Renewed Motion to Dismiss for Lack of Personal

        Jurisdiction, ECF No. 158, and DISMISSES CSX as a party to this suit. The Court DIRECTS the

        Clerk to send a copy of this Memorandum Opinion and Order to counsel of record and any

        unrepresented parties.

                                                    ENTER:         June 11, 2020




                                                    ROBERT C. CHAMBERS
                                                    UNITED STATES DISTRICT JUDGE




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